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 9    IMMIGRANTS
10

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13                           UNITED STATES DISTRICT COURT
14                          EASTERN DISTRICT OF CALIFORNIA
15    IMMIGRANT LEGAL RESOURCE                Case No: 20-at-489
      CENTER; FREEDOM FOR
16    IMMIGRANTS,                             DECLARATION OF ALEXANDER
17                                            WESTERFIELD IN SUPPORT OF
                    Petitioners,              EX PARTE MOTION FOR
18                                            TEMPORARY RESTRAINING
             vs.                              ORDER & ORDER TO SHOW
19                                            CAUSE
      CITY OF MCFARLAND;
      MCFARLAND PLANNING
20    COMMISSION,
21                  Respondents,
22    THE GEO GROUP, INC.,
23                  Real Party in Interest.
24

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                                                                       Case No. 20-at-489
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 1    I, Alexander Westerfield, declare as follows:
 2    1.     I am over the age of eighteen and competent to provide testimony, and I am
 3    a resident of San Francisco, California. I have personal knowledge of all
 4    information provided herein, except as to those matters stated upon my information
 5    or belief, and as to those matters I believe it to be true. If called upon to testify, I
 6    could and would testify as sworn in this declaration.
 7    2.     I am an associate with the law firm of Nossaman LLP, and I am counsel to
 8    Petitioners Immigrant Legal Resource Center and Freedom for Immigrants in this
 9    action.
10    3.     I am providing this declaration in support of Petitioners’ Ex Parte Motion for
11    a Temporary Restraining Order and Order to Show Cause (the “Motion”).
12    4.     This action was originally filed in Kern County Superior Court as Immigrant
13    Legal Resource Center, et al. v. City of McFarland, et al., No. BCV-20-101507-
14    JEB (the “State Case”), on June 30, 2020, and was subsequently assigned to Judge
15    Eric Bradshaw.
16    5.     Based on my experience in other matters, I am informed and believe that, as
17    a result of the ongoing COVID-19 pandemic, there is a days- to weeks-long delay
18    between the filing of an action and the return of a summons to initiate service of
19    process.
20    6.     Petitioners served Respondents City of McFarland and McFarland Planning
21    Commission (“Respondents”) and Real Party in Interest Geo Group, Inc. (“GEO”)
22    on Monday, July 6, 2020, the first day that service of process was possible. See
23    ECF no. 1 ¶ 2.
24    7.     On Wednesday, July 8, Petitioners, following the rules and procedures of
25    Kern County Superior Court, requested a hearing date on an Ex Parte Application
26    for a Temporary Restraining Order and an Order to Show Cause from Judge
27    Bradshaw, requesting substantially similar relief to the instant Motion. Petitioners
28
                                                   1                              Case No. 20-at-489
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 1    were told that the earliest available date was Monday, July 13, at 8:30 a.m., which
 2    Petitioners reserved.
 3    8.     On Friday, July 10, Petitioners, again following the rules and procedures of
 4    Kern County Superior Court, provided notice to GEO’s counsel of record in related
 5    actions before 10:00 a.m. Donovan Collier, who represented GEO in the municipal
 6    permitting process underlying this litigation, responded within minutes that GEO
 7    and Respondents planned to oppose Petitioners’ application.
 8    9.     Following the rules and procedures of Kern County Superior Court,
 9    Petitioners’ Ex Parte Application for a Temporary Restraining Order and Order to
10    Show Cause and all supporting documents thereto were filed before 12:00 p.m.,
11    and thereafter served via email on attorneys for GEO in this action and on the
12    McFarland City Attorney.
13    10.    At 10:54 p.m., I received an email from Viola R. Fennell, a legal assistant to
14    GEO’s counsel in this action, notifying me that GEO had removed the State Case
15    to this Court. Accompanying documents identified Bob Joyce of the law firm
16    Lebeau Thelan LLP as counsel for Respondents. See ECF no. 1-16.
17    11.    The Notice of Removal, sent by GEO’s attorneys, attached Petitioners’
18    Petition for a Writ of Mandate—the equivalent of a complaint—in the State Case,
19    and was emailed to Bob Joyce. All parties to this action have therefore been
20    provided with the complaint in this action.
21    12.    The Notice of Removal further contained a Notice of Related Case, ECF no.
22    1-15, relating this action to The GEO Group, Inc. v. Gavin C. Newsom, et al., No.
23    2:20-cv-00533-TLN-AC (E.D. Cal.) (the “Related Case”).
24    13.    On Sunday, July 12, 2020, at 10:41 a.m., I emailed counsel for GEO and
25    Respondents as identified in the Notice of Removal: Michael Shonafelt, Kendie
26    Schlect, Charles Cooper (all counsel for GEO), and Bob Joyce (counsel for
27    Respondents), indicating that Petitioners would renew their request for a temporary
28    restraining order before this Court by way of the Motion.
                                                2                             Case No. 20-at-489
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 1    14.    At 11:10 a.m., Mr. Cooper acknowledged his receipt and understanding of
 2    that email.
 3    15.    Based on the date of the State Action’s filing, the delays in state court
 4    related to COVID-19, Judge Bradshaw’s calendar, and GEO’s removal of the State
 5    Action to this Court, Petitioners could not possibly have sought relief from this
 6    Court by way of noticed motion before July 15, 2020.
 7    16.    As detailed further in the accompanying Memorandum of Points and
 8    Authorities, Petitioners require injunctive relief before July 15, 2020. On that date,
 9    Respondents will be able to issue, make effective, and/or execute modifications to
10    McFarland Conditional Use Permits 01-96 and 02-96 that would allow GEO to
11    house federal detainees, including immigration detainees, at the Golden State and
12    Central Valley Modified Community Correctional Facilities.
13    17.    Based on GEO’s Complaint in the Related Case, Related Case ECF No. 1, I
14    am informed and believe that GEO will begin to house immigration detainees at
15    both facilities on or shortly after July 15, 2020, and that this would necessitate the
16    transfer of detainees to both facilities.
17    18.    To expedite the Court’s consideration of the Motion, I have attached to this
18    Declaration all supporting declarations that accompanied Petitioners’ Ex Parte
19    Application for a Temporary Restraining Order and Order to Show Cause in the
20    State Case.
21    19.    Attached as Exhibit 1 is a true and correct copy of the Declaration of
22    Christina Fialho In Support of Petitioners’ Ex Parte Application for a Temporary
23    Restraining Order and Order to Show Cause in the State Case, and all exhibits
24    thereto.
25    20.    Attached as Exhibit 2 is a true and correct copy of the Declaration of Jan
26    Meslin In Support of Petitioners’ Ex Parte Application for a Temporary
27    Restraining Order and Order to Show Cause in the State Case.
28
                                                  3                            Case No. 20-at-489
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 1    21.    Attached as Exhibit 3 is a true and correct copy of the Declaration of Alex
 2    Gonzalez In Support of Petitioners’ Ex Parte Application for a Temporary
 3    Restraining Order and Order to Show Cause in the State Case.
 4    22.    Attached as Exhibit 4 is a true and correct copy of the Declaration of Jim
 5    Grant In Support of Petitioners’ Ex Parte Application for a Temporary Restraining
 6    Order and Order to Show Cause in the State Case.
 7    23.    Attached as Exhibit 5 is a true and correct copy of the Declaration of Ivan
 8    Sandoval In Support of Petitioners’ Ex Parte Application for a Temporary
 9    Restraining Order and Order to Show Cause in the State Case.
10    24.    Attached as Exhibit 6 is a true and correct copy of the Declaration of Dr.
11    Eric Lofgren In Support of Petitioners’ Ex Parte Application for a Temporary
12    Restraining Order and Order to Show Cause in the State Case, and all exhibits
13    thereto.
14           I declare under penalty of perjury that the foregoing is true and correct.
15    Executed on this 12th day of July, 2020 at San Francisco, California.
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17                                                   /s/ Alexander Westerfield
18                                                   Alexander Westerfield
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                                                 4                             Case No. 20-at-489
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 7    Attorneys for Petitioners IMMIGRANT LEGAL RESOURCE
      CENTER and FREEDOM FOR IMMIGRANTS
 8

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11                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                                    FOR THE COUNTY OF KERN
13

14    IMMIGRANT LEGAL RESOURCE CENTER, Case No:    BCV-20-101507-JEB
      FREEDOM FOR IMMIGRANTS,
15                                     Assigned for all purposes to:
                Petitioners,           Honorable Eric J. Bradshaw
16
             vs.                                    DECLARATION OF CHRISTINA
17                                                  FIALHO IN SUPPORT OF
      CITY OF MCFARLAND, CITY OF                    PETITIONERS’ APPLICATION FOR
18    MCFARLAND PLANNING COMMISSION,                TEMPORARY RESTRAINING ORDER
                                                    AND ORDER TO SHOW CAUSE
19                  Respondents,
                                                    Date Action Filed: July 1, 2020
20    GEO GROUP, INC.,
                                                    Date: Monday, July 13, 2020
21                  Real party in interest.         Time: 8:30 a.m.
                                                    Dept.: T-2
22                                                  Judge: Eric J. Bradshaw
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                           FIALHO DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
      57533750.v1
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 1           I, Christina Fialho, declare as follows:
 2    1.     I am over the age of eighteen and competent to provide testimony, and I am a resident of
 3    Santa Monica, California. I have personal knowledge of all information provided herein, except
 4    as to those matters stated upon my information or belief, and as to those matters I believe it to be
 5    true. If called upon to testify, I could and would testify as sworn in this declaration.
 6    2.     I am providing this declaration in support of Petitioners’ Application for a Temporary
 7    Restraining Order and Order to Show Cause.
 8    3.     I am the Co-Executive Director of Petitioner Freedom for Immigrants.
 9    4.     Real Party in Interest the GEO Group, Inc. (“GEO”) sought modifications to McFarland
10    Conditional Use Permits 01-96 and 02-96 (the “Proposed Modifications”), which respectively
11    concern the Golden State and Central Valley Modified Community Correctional Facilities, to
12    operate an immigration detention facility pursuant to contracts with the United States
13    Immigrations and Customs Enforcement (“ICE”). Paragraph 56 of GEO’s complaint in Geo
14    Group, Inc., v. Newsom, No. 20-cv-533-TLN-AC (E.D. Cal.), a true and correct copy of which is
15    attached hereto as Exhibit A, states: “On December 30, 2019, having signed its new contract on
16    December 19, 2019 with the Federal Government to convert the Central Valley and Golden State
17    facilities into dedicated ICE detention facilities, GEO applied to the McFarland Planning
18    Commission for modifications to its CUPs to allow the Federal Government to house detainees
19    at Central Valley and Golden State.”
20    5.     The McFarland City Council approved those modifications in a regular meeting on April
21    23, 2020 by voting to adopt the Proposed Modifications through Resolutions 2020-13 and 2020-
22    14. A true and correct copy of the minutes of this City Council meeting are attached hereto as
23    Exhibit B, and true and correct copies of Resolutions 2020-13 and 2020-14, as considered and
24    approved by the City Council, are attached as Exhibits C and D, respectively.
25    6.     The McFarland City Council considered the Proposed Modifications only after the
26    McFarland Planning Commission rejected them on February 18, 2020. True and correct copies
27    of GEO’s appeals of the Proposed Modifications to City Council are attached hereto as Exhibit
28    E.
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                             FIALHO DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
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 1    7.     The Planning Commission held two public meetings to discuss the Proposed
 2    Modifications, on January 21, 2020 and on February 18, 2020. True and correct copies of the
 3    notices of and agendas for those meetings are attached hereto as Exhibits F and G.
 4    8.     Resolutions 2020-13 and 2020-14 (Exhibits C and D) both state that the Proposed
 5    Modifications “shall not be considered issued, executed or effective until July 15, 2020, which is
 6    more than 180 days from January 10, 2020, the date of notice to the public of the proposed
 7    permitting action.”
 8    9.     GEO has begun to modify both Golden State and Central Valley for use as immigration
 9    detention facilities. Paragraph 39 of its complaint in Geo Group v. Newsom (Exhibit A) reads:
10    “Under the [ICE] contract, GEO is obligated to immediately begin “Pre-Transition/Mobilization”
11    activity at Central Valley, with a period of performance beginning on December 20, 2019, during
12    which it must begin preparing the facility to receive ICE detainees. GEO began that process as
13    soon as the contract became effective. Paragraph 43 of the same document reads: “Under the
14    contract, GEO is obligated to immediately begin “Pre-Transition/Mobilization” activity at
15    Golden State, with a period of performance beginning on December 20, 2019, during which it
16    must begin preparing the facility to receive ICE detainees. GEO began that process as soon as
17    the contract became effective.”
18    10.    In light of the complaint in Geo Group v. Newsom, and of Resolutions 2020-13 and 2020-
19    14 (Exhibits A, C, and D), I am informed and believe that GEO plans to transfer immigration
20    detainees to Central Valley and Golden State in McFarland beginning on July 15, 2020.
21    11.    The COVID-19 pandemic is ongoing and worsening in the United States and in
22    California. In a July 8, 2020 press release, a true and correct copy of which is attached hereto as
23    Exhibit H, the California Department of Public Health announced that “California's positivity
24    rate – a key indicator of community spread – is trending upward in the 14-day average.” Data
25    from the United States Center for Disease Control, a true and correct copy of which is attached
26    hereto as Exhibit I, indicates that daily infections remain near record highs as of July 8, 2020.
27    12.    ICE data indicates that there are 45 COVID-19 cases in ICE detention facilities among
28    staff and 871 among detainees, including 11 detainee cases and 1 staff case in the GEO-run
                                                      -3-
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 1    Adelanto ICE Processing Center. A true and correct copy of ICE data as of July 8, 2019, is
 2    attached hereto as Exhibit J, and a true and correct copy of GEO’s Adelanto ICE Processing
 3    Center website is attached hereto as Exhibit K. Exhibit J also states that there have been two
 4    detainee deaths attributed to COVID-19, one of them in a California facility run by private
 5    detention contractor CoreCivic.
 6    13.    The California and federal governments acknowledge that detention facilities and
 7    detainee transfers enhance the risks of the COVID-19 Pandemic. The United States Center for
 8    Disease Control states in guidance that “[t]here are many opportunities for COVID-19 to be
 9    introduced into a correctional or detention facility, including daily staff ingress and egress;
10    transfer of incarcerated/detained persons between facilities and systems, to court appearances,
11    and to outside medical visits; and visits from family, legal representatives, and other community
12    members.” A true and correct copy of this guidance is attached hereto as Exhibit L. And in
13    Executive Order No. N-36-20, a true and correct copy of which is attached hereto as Exhibit M,
14    Governor Newsom acknowledged the risks posed by detainee transfers and temporarily
15    suspended them.
16    14.    Prisoner transfers have driven an enormous spike in COVID-19 infections at the San
17    Quentin State Prison. According to data from the California Department of Corrections and
18    Rehabilitation, a true and correct copy of which is attached hereto as Exhibit N, cases at San
19    Quentin increased approximately thirtyfold—from approximately 50 to 1,500—between mid-
20    June and mid-July. This outbreak is attributed to a detainee transfer from the Chino Institution
21    for Men on May 30, 2020, as reported by the New York Times. A true and correct copy of the
22    New York Times article is attached hereto as Exhibit O.
23    15.    According to the California Department of Public Health, Kern County, as of July 8,
24    2020, is already “experiencing elevated disease transmission and increasing hospitalization.
25    Drivers of this include . . . outbreaks at SNFs and state/federal prisons.” A true and correct copy
26    of this document is attached hereto as Exhibit P.
27    16.    Based on the foregoing, transferring immigration detainees into Central Valley and
28    Golden State would immediately and irreparably increase the risks of COVID-19 for the
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 1    individuals detained there, the individuals employed there, and the surrounding community of
 2    McFarland.
 3    17.    If the Proposed Modifications are later invalidated while the COVID-19 pandemic
 4    remains ongoing, transfer of detainees out of Central Valley and Golden State will further
 5    increase the risks of COVID-19 in transferee facilities and the surrounding communities.
 6           I declare under penalty of perjury that the foregoing is true and correct and executed this
 7    9th day of July, 2020 at Santa Monica, California.
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 9                                                         __________________________________
10                                                         Christina Fialho
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      Attorneys for Plaintiff The GEO Group, Inc.
 9
10                             UNITED STATES DISTRICT COURT
11                            EASTERN DISTRICT OF CALIFORNIA
12
13    THE GEO GROUP, INC.,                         CIVIL ACTION NO:
14                       Plaintiff,                COMPLAINT
15    v.
16    GAVIN C. NEWSOM, in his official
      capacity as Governor of the State of
17    California; XAVIER BECERRA, in his
      official capacity as Attorney General of
18    the State of California
19                       Defendants.
20
21          1.     Plaintiff The GEO Group, Inc. (GEO) brings this action for declaratory
22    and injunctive relief against Defendants Governor Gavin C. Newsom and Attorney
23    General Xavier Becerra, striking down California Senate Bill 29 (SB-29), codified in
24    relevant part at CAL. CIV. CODE § 1670.9(d), as an unconstitutional attempt by the
25    State of California to regulate and discriminate against the Federal Government and
26    its contractors.
27          2.     Just last term, in Dawson v. Steager, the Supreme Court reiterated a
28    constitutional principle “almost as old as the Nation” itself: the State must “treat those

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 1    who deal with the federal government as well as it treats those with whom [the State]
 2    deals itself.” 139 S. Ct. 698,703, 704 (2019) (quotation marks and alterations
 3    omitted). That venerable principle, “which so entirely pervades the constitution, is so
 4    intermixed with the materials which compose it, so interwoven with its web, [and] so
 5    blended with its texture,” McCulloch v. Maryland, 4 Wheat. (17 U.S.) 316, 426
 6    (1819), is under attack by the State of California.
 7          3.     SB-29, via Section 1670.9(d), purports to require contractors operating
 8    federal immigration detention facilities to submit to special requirements for
 9    obtaining local zoning permits. Specifically, the statute mandates that the public
10    receive 180 days’ notice of a proposed conveyance or permitting action allowing a
11    private corporation to house or detain noncitizens for purpose of civil immigration
12    custody. Further, the public must be allowed to provide comments at two public
13    hearings before a permit may issue.
14          4.     Because California has now—via another statute called Assembly Bill
15    32—purported to prohibit the Federal Government from using private detention
16    facilities in California once the current contracts with those facilities expire, there
17    does not appear to be any realistic prospect that SB-29 will ever be applied to another
18    federal contractor other than GEO, since only GEO is obligated under its current
19    contracts with the Federal Government to convert buildings formerly used for other
20    purposes into federal immigration detention facilities.
21          5.     There is no doubt that California generally has the power to modify the
22    procedures governing the issuance of constitutionally valid zoning permits within the
23    State. But what California may not do is “target the federal government alone” for
24    disfavored treatment, United States v. City of Arcata, 629 F.3d 986, 991 (9th Cir.
25    2010), imposing “a specialized burden on federal activity” with the obvious intent
26    and design of delaying and thwarting federal immigration detention, United States v.
27    California, 921 F.3d 865, 882 (9th Cir. 2019). Yet, that is precisely what SB-29 does:
28    it singles out contractors who operate federal immigration detention facilities for

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 1    burdens that it refuses to impose on California’s own detention facilities. In so doing,
 2    SB-29 asserts the authority to discriminate against, and directly regulate, the Federal
 3    Government, flouting the Supreme Court’s two-centuries-old teaching about the
 4    nature of federal-state relations under the Constitution.
 5           6.     The GEO Group, as the owner and operator of federal immigration
 6    detention facilities burdened by SB-29, brings this action to defend the principles
 7    first articulated by the Supreme Court two hundred years ago and reiterated just last
 8    year. This Court should declare Section 1670.9(d) unconstitutional and enter a
 9    preliminary and permanent injunction restraining Defendants from enforcing the
10    statute against GEO.
11                                 JURISDICTION & VENUE
12           7.     This Court has jurisdiction under 28 U.S.C. § 1331 because the question
13    whether CAL. CIV. CODe § 1670.9(d) violates the Supremacy Clause of the United
14    States Constitution is a federal question.
15           8.     Venue is proper in this District under 28 U.S.C. § 1391(b) because a
16    substantial part of the events or omissions giving rise to this claim occurred, or a
17    substantial part of the property that is the subject of this action is situated, in this
18    District. GEO’s Central Valley Modified Community Correctional Facility (MCCF)
19    and Golden State MCCF—two of the immigration detention facilities regulated by
20    Section 1670.9(d)—are located in this District, and the effects of Section 1670.9(d)
21    are felt in this District.
22                                       THE PARTIES
23           9.     Plaintiff The GEO Group, Inc. is a corporation organized and existing
24    under the laws of the State of Florida, with its principal place of business in Boca
25    Raton, Florida.
26           10.    Defendant Gavin C. Newsom is the Governor of the State of California.
27    He has “[t]he supreme executive power” of the State of California (the “State”) and
28    is charged with “see[ing] that the law is faithfully executed.” CAL. CONST. art. V, § 1.

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 1    As     head     of     the     Executive      Branch,      he     has     a    duty     to
 2    “supervise the official conduct of all executive and ministerial officers,” including
 3    the Attorney General. CAL. GOV’T CODE § 12010. In light of these duties, Governor
 4    Newsom has responsibility for enforcing Section 1670.9(d). He is sued in his official
 5    capacity.
 6          11.     Defendant Xavier Becerra is the Attorney General of the State of
 7    California. He is “the chief law officer of the State” with “the duty . . . to see that the
 8    laws of the State are uniformly and adequately enforced.” CAL. CONST. art. V, § 13.
 9    In light of these duties, Attorney General Becerra has responsibility for enforcing
10    Section 1670.9(d). He is sued in his official capacity.
11                                 FACTUAL ALLEGATIONS
12    I.    Senate Bill 29 and California’s Efforts to
13          Obstruct Federal Immigration Detention
14          A.      Senate Bill 29 (SB-29)
15          12.     On December 5, 2016, Senate Bill 29 (SB-29) was introduced in the
16    California Legislature. As relevant here, the bill—as enacted—amends the
17    “Unlawful Contracts” title of the California Civil Code to prohibit city, county, and
18    local law enforcement agencies from entering into contracts “with the federal
19    government or any federal agency or a private corporation to house or detain
20    noncitizens for purposes of civil immigration custody” unless those contracts were
21    in effect before January 1, 2018, and it prohibits the renewal or modification of such
22    contracts thereafter “in a manner that would expand the maximum number of contract
23    beds that may be utilized to house or detain in a locked detention facility noncitizens
24    for purposes of civil immigration custody.” CAL. CIVIL CODE § 1670.9(a)–(b).
25          13.     SB-29 also restricts the issuance of permits for federal immigration
26    detention facilities:
27                 A city, county, city and county, or public agency shall not, on
                   and after January 1, 2018, approve or sign a deed, instrument, or
28                 other document related to a conveyance of land or issue a permit

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 1                 for the building or reuse of existing buildings by any private
 2                 corporation, contractor, or vendor to house or detain noncitizens
                   for purposes of civil immigration proceedings unless the city,
 3                 county, city and county, or public agency has done both of the
 4                 following:

 5                 (1) Provided notice to the public of the proposed conveyance or
 6                     permitting action at least 180 days before execution of the
                       conveyance or permit.
 7
 8                 (2) Solicited and heard public comments on the proposed
                       conveyance or permit action in at least two separate
 9                     meetings open to the public.
10    Id. § 1670.9(d).
11          14.    The Senate Floor Analysis of SB-29 stated that its enactment was
12    necessary to obstruct federal immigration policy: “President Donald Trump
13    has . . . made it clear that he intends to detain more immigrants and expand private
14    for profit detention facility use. This bill would protect immigrants held in immigrant
15    detention in California.”1
16          15.    The Assembly Committee on Judiciary analysis of the bill likewise
17    stated that it was needed “[i]n light of the changed circumstances in the White
18    House,”2 and it quoted the author as saying that the bill was necessary due to “the
19    new administration’s commitment to deport millions.”3
20          16.    Governor Jerry Brown signed SB-29 into law on October 5, 2017.
21          B.     Assembly Bill 103 (AB-103) and Assembly Bill 32 (AB-32)
22          17.    Approximately one month after SB-29 was introduced in the California
23    Legislature, January 10, 2017, Assembly Bill 103 (AB-103) was likewise introduced.
24    Similar to SB-29, AB-103—as enacted—prohibits, among other things, city, county,
25
            1
              Senate Rules Comm., Senate Floor Analyses for SB-29, 2017–18 Sess., at 5
26    (Cal. May 27, 2017), https://bit.ly/2O9c3eP.
            2
27            Assemb. Comm. on Judiciary, Analysis of SB-29, 2017–18 Sess., at 2 (Cal.
      June 27, 2017), https://bit.ly/2O9c3eP.
28          3
              Id. at 4.

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 1    and local law enforcement agencies from entering into contracts “with the federal
 2    government or any federal agency to detain adult noncitizens for purposes of civil
 3    immigration custody” unless those contracts were in effect before June 15, 2017, and
 4    it prohibits the renewal or modification of such contracts thereafter “in such a way as
 5    to expand the maximum number of contract beds that may be utilized to house or
 6    detain in a locked detention facility noncitizens for purposes of civil immigration
 7    custody.” CAL. GOV’T CODE § 7310(a)–(b).
 8          18.     Governor Jerry Brown signed AB-103 into law on June 27, 2017.
 9          19.     The United States has challenged the constitutionality of AB-103, and
10    that challenge remains pending in this Court. See United States v. California, No. 18-
11    264 (E.D. Cal.).
12          20.     On December 3, 2018, Assembly Bill 32 was introduced in the
13    California Legislature. AB-32 builds on SB-29 and AB-103 by amending the
14    California Penal Code in two principal ways.
15          21.     First, it generally prohibits the California Department of Corrections and
16    Rehabilitation (CDCR) from contracting with private, for-profit prison facilities to
17    house state inmates, though it contains an important exception that essentially allows
18    CDCR to continue contracting with private detention facilities indefinitely. See CAL.
19    PENAL CODE § 5003.1.
20          22.     Second, AB-32 generally prohibits the operation of a private detention
21    facility in the State of California, subject to a handful of exceptions that apply almost
22    exclusively to state facilities. See CAL. PENAL CODE §§ 9500–03, 9505.
23          23.     On the day he introduced AB-32, Assembly Member Rob Bonta issued
24    a press release touting the bill, in which he attacked “the Trump
25    Administration[’s] . . . cruel immigration policies” and criticized GEO for
26    “facilitating the Trump Administration’s political agenda.”4
27
            4
                Press Release, Assembly member Rob Bonta, Bonta Introduces Bills Ending
28

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 1          24.    The Senate Floor Analysis of AB-32 anticipated litigation challenging
 2    its constitutionality by “this anti-immigrant President’s Administration.”5
 3          25.    Christina Fialho, co-founder of Freedom for Immigrants, a group listed
 4    as a supporter of AB-32 in the Senate Floor Analysis,6 observed that AB-32 “will
 5    deal a critical blow to the Trump administration’s efforts to further expand its system
 6    of immigration detention, especially as other states follow our lead.”7
 7          26.    Governor Newsom signed AB-32 into law on October 11, 2019.
 8          27.    GEO and the United States have each challenged the constitutionality
 9    of AB-32, and those cases remain pending in the Southern District of California. See
10    The GEO Group, Inc. v. Newsom, No. 19-2491 (S.D. Cal.); United States v. Newsom,
11    No. 20-154 (S.D. Cal.).
12    II.   U.S. Immigration and Customs Enforcement Detention Authority
13          28.    In November 2002, Congress assigned the border-enforcement
14    functions of the former Immigration and Naturalization Service to the newly created
15    Bureau of Immigration and Customs Enforcement, housed within the Department of
16    Homeland Security.8 The Bureau began operations in March 2003 and was renamed
17    U.S. Immigration and Customs Enforcement (ICE) in March 2007.9
18          29.    Congress has authorized or required the detention of aliens under several
19    different statutes and conditions. See, e.g., 8 U.S.C. §§ 1225(b)(1)(B)(ii),
20
21
22    State’s Involvement in For-Profit, Private Prison Industry (Dec. 3, 2018),
      https://bit.ly/2Pga7Ch.
23           5
               Senate Rules Comm., Senate Floor Analyses for AB-32, 2019–20 Sess., at 5
      (Cal. Sept. 9, 2019) [hereinafter Senate Floor Analyses for AB-32],
24    https://bit.ly/35htShk.
             6
25             Id. at 8.
             7
               Don Thompson & Amy Taxin, California To End its Use of Private, For-
26    Profit Prisons, ASSOCIATED PRESS,Oct. 11, 2019, https://bit.ly/2Pgb6C6.
             8
27             U.S. IMMIGRATION & CUSTOMS ENF’T, CELEBRATING THE HISTORY OF ICE
      (Mar. 1, 2019), https://bit.ly/35Jas68.
28           9
               Id.

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 1    1225(b)(2)(A), 1226(a), 1226(c); see also Jennings v. Rodriguez, 138 S. Ct. 830,
 2    836–38 (2018).
 3           30.    Congress has also directed that “[t]he Attorney General shall arrange for
 4    appropriate places of detention for aliens detained pending removal or a decision on
 5    removal,” 8 U.S.C. § 1231(g)(1), and it has instructed that ICE “shall consider the
 6    availability for purchase or lease of any existing prison, jail, detention center, or other
 7    comparable facility suitable for [detention]” “[p]rior to initiating any project for the
 8    construction of any new detention facility,” id. § 1231(g)(2). Thus, Section
 9    1231(g)(2) authorizes ICE to use private contractors to arrange for detention. See
10    United States v. California, 921 F.3d at 882 n.7.
11           31.    Pursuant to this authority, ICE “manages and oversees the nation’s civil
12    immigration detention system.”10
13    III.   GEO’s California ICE Detention Facilities
14           32.    GEO currently operates two dedicated ICE detention facilities in
15    California:
16                       Mesa Verde ICE Processing Center, located at 425 Golden State
17                        Avenue, Bakersfield, CA 93301, with a capacity of 400 beds.
18                        GEO has operated the Mesa Verde facility as an ICE detention
19                        facility since 2015. The Mesa Verde facility is about a 25.5-mile
20                        drive from the City of McFarland, though it is not under the
21                        jurisdiction of that city.
22                       Adelanto ICE Processing Center, located at 10400 Rancho Road,
23                        Adelanto, CA 92301, with a capacity of 1,940 beds. GEO has
24                        operated the Adelanto facility as an ICE detention facility since
25                        2011.
26
27
             10
              U.S. IMMIGRATION & CUSTOMS ENF’T, DETENTION MANAGEMENT (Dec. 18,
28    2019), https://bit.ly/2ZvGnGO.

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 1          33.    On December 19, 2019, ICE entered into new contracts with GEO to
 2    continue operating the Mesa Verde and Adelanto facilities. The contracts each have
 3    a period of performance starting on December 20, 2019, and ending December 19,
 4    2034. ICE has the option of terminating the contracts early every five years, with the
 5    first such option occurring on December 20, 2024.
 6          34.    GEO has continued to operate the Mesa Verde and Adelanto facilities
 7    under the terms of the new ICE contracts since December 20, 2019, in much the same
 8    manner as it was operating those facilities prior to signing the new contracts.
 9          35.    In addition, ICE has entered into contracts with GEO to convert two
10    McFarland-area facilities and one Adelanto-area facility into dedicated ICE detention
11    centers:
12                      Central Valley Modified Community Correctional Facility
13                       (MCCF)), located at 254 Taylor Avenue, McFarland, CA 93250,
14                       with a capacity of 700 beds;
15                      Golden State MCCF, located at 611 Frontage Road, McFarland,
16                       CA 93250, with a capacity of 700 beds;
17                      Desert View MCCF, located at 10450 Rancho Rd, Adelanto, CA
18                       92301, with a capacity of 750 beds.
19          36.    The Central Valley and Golden State facilities will serve as annexes to
20    the Mesa Verde ICE Processing Center, while the Desert View facility will serve as
21    an annex to the Adelanto ICE Processing Center.
22          A.     Central Valley MCCF
23          37.    Central Valley MCCF is a GEO-owned prison previously operated
24    under contract with CDCR. CDCR terminated its contract with GEO on July 10,
25    2019, effective September 30, 2019.
26          38.    The Central Valley facility is now incorporated into the Mesa Verde
27    contract, with a period of performance starting on December 20, 2019, and ending
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 1    December 19, 2034. ICE has the option of terminating the contract early every five
 2    years, with the first such option occurring on December 19, 2024.
 3          39.    Under the contract, GEO is obligated to immediately begin “Pre-
 4    Transition/Mobilization” activity at Central Valley, with a period of performance
 5    beginning on December 20, 2019, during which it must begin preparing the facility
 6    to receive ICE detainees. GEO began that process as soon as the contract became
 7    effective.
 8          40.    GEO has continued to operate the Central Valley facility under the terms
 9    of the new ICE contract since December 20, 2019.
10          B.     Golden State MCCF
11          41.    Golden State MCCF is currently a prison owned and operated by GEO
12    under contract with CDCR. CDCR has notified GEO that it will terminate its contract
13    with GEO effective April 30, 2020.
14          42.    The Golden State facility is now incorporated into the Mesa Verde
15    contract, with a period of performance starting on December 20, 2019, and ending
16    December 19, 2034. ICE has the option of terminating the contract early every five
17    years, with the first such option occurring on December 20, 2024.
18          43.    Under the contract, GEO is obligated to immediately begin “Pre-
19    Transition/Mobilization” activity at Golden State, with a period of performance
20    beginning on December 20, 2019, during which it must begin preparing the facility
21    to receive ICE detainees. GEO began that process as soon as the contract became
22    effective.
23          44.    GEO has continued to operate the Golden State facility under the new
24    ICE contract since December 20, 2019, even as it concurrently phases out CDCR
25    operations at Golden State.
26    ///
27    ///
28    ///

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 1            C.    Desert View MCCF
 2            45.   Desert View MCCF is currently a prison owned and operated by GEO
 3    under contract with CDCR. CDCR terminated its contract with GEO effective
 4    February 29, 2020.
 5            46.   The Desert View facility is now incorporated into the same contract as
 6    the Adelanto facility, with a period of performance beginning on December 20, 2019,
 7    and continuing through December 20, 2034. ICE has the option of terminating the
 8    contract early every five years, with the first such option occurring on December 20,
 9    2024.
10            47.   Under the contract, GEO is obligated to immediately begin “Pre-
11    Transition/Mobilization” activity at Desert View, with a period of performance
12    beginning on December 20, 2019, during which it must begin preparing the facility
13    to receive ICE detainees. GEO began that process as soon as the contract became
14    effective.
15            48.   GEO has continued to operate the Desert View facility under the new
16    ICE contract since December 20, 2019, even as it concurrently phases out CDCR
17    operations at Desert View.
18    IV.     GEO’s Efforts To Obtain Amended Conditional Use Permits
19            49.   Pursuant to the McFarland Municipal Code, the Central Valley and
20    Golden State facilities are located in the M-3 zone, which is designated for General
21    Manufacturing. See McFarland Municipal Code § 17.08.010. Detention facilities are
22    not identified as a permissible use. See id. § 17.92.020. Thus, to operate a detention
23    facility in M-3, GEO must have a conditional use permit (CUP). See id.
24    § 17.152.020(D).
25            50.   Central Valley and Golden State were first approved for CUPs in 1996.
26    The City of McFarland modified the Central Valley and Golden State CUPs in 2008
27    and in 2013 based on changes to the types of CDCR inmates that would be housed at
28    the facilities.

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 1          51.    Mesa Verde, which (as noted above) is not within the jurisdiction of
 2    McFarland, was first approved for a CUP in 1987. It was amended in 2000 and 2005
 3    due to changes in the facility’s capacity to house detainees.
 4          52.    Pursuant to the Adelanto Municipal Code, GEO may only operate
 5    “Prisons/Correctional Facilities” and their analogues in specific zones and only after
 6    first obtaining a CUP. See Adelanto Municipal Code App’x A.
 7          53.    The Adelanto ICE Processing Center was first approved for a CUP in
 8    2010. That CUP has not been modified since.
 9          54.    The Desert View facility was first approved for a CUP in 1996. The
10    CUP was modified in 2004 due to an increase in facility capacity to house CDCR
11    inmates.
12          55.    GEO’s CUPs for the Central Valley, Golden State, and Desert View
13    facilities do not currently allow GEO to house federal male and female detainees.
14    Thus, to ensure the continuing validity of its CUPs under municipal law, GEO was
15    required to apply for modifications to its CUPs in order to house ICE detainees at its
16    Central Valley, Golden State, and Desert View facilities.
17          56.    On December 30, 2019, having signed its new contract on December
18    19, 2019 with the Federal Government to convert the Central Valley and Golden
19    State facilities into dedicated ICE detention facilities, GEO applied to the McFarland
20    Planning Commission for modifications to its CUPs to allow the Federal Government
21    to house detainees at Central Valley and Golden State.
22          57.    On December 23, 2019, having signed its new contract on December 19
23    2019 with the Federal Government to convert the Desert View facility into a
24    dedicated ICE detention facility, GEO applied to the Adelanto Planning Commission
25    for a modification to its CUP to allow the Federal Government to house detainees at
26    Desert View.
27          58.    Absent Section 1670.9(d), GEO’s applications would have been
28    processed under the McFarland and Adelanto municipal codes, which require only

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 1    one meeting—rather than two—prior to issuance of a permit. See McFarland
 2    Municipal Code § 17.148.080; Adelanto Municipal Code § 17.100.040.
 3            59.   Moreover, while Section 1670.9(d) requires that the first public notice
 4    of a hearing be given at least 180 days prior to the execution of a permit, the
 5    McFarland and Adelanto municipal codes require only 10 days’ notice before the
 6    hearing, see McFarland Municipal Code § 17.148.080(B); Adelanto Municipal Code
 7    § 17.100.040(a), and in the case of McFarland, the municipal code requires a decision
 8    of the Commission within 35 days after the hearing and that the Commission’s
 9    decision be deemed final if no appeal is made to the City Council within 15 days, see
10    McFarland Municipal Code §§ 17.148.080, 17.148.100(A)–(B). Thus, from the
11    issuance of a public notice to the issuance of a permit should take no longer than 60
12    days under the McFarland Municipal Code, absent an appeal to the City Council (an
13    appeal procedure that is still available under Section 1670.9(d)), and that could
14    require an additional 30 days. Indeed, in GEO’s more than 20 years of experience
15    with CUP applications and modifications in Adelanto and McFarland, the process
16    typically requires no more than 90 days from beginning to end, inclusive of appeals
17    to the city council.
18            60.   On January 10, 2020, the McFarland Planning Commission issued the
19    public notice of the first hearing on GEO’s CUP-modification applications for
20    Central Valley and Golden State.
21            61.   The first hearing on GEO’s CUP-modification applications for Central
22    Valley and Golden State was held on January 21, 2020.
23            62.   On January 11, 2020, the Adelanto Planning Commission issued the
24    public notice of the first hearing on GEO’s CUP-modification application for Desert
25    View.
26            63.   The first hearing on GEO’s CUP-modification application for Desert
27    View was held on January 22, 2020.
28    ///

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 1          64.    On February 7, 2020, the McFarland Planning Commission issued the
 2    public notice of the second hearing on GEO’s CUP-modification applications for
 3    Central Valley and Golden State.
 4          65.    The second hearing on GEO’s CUP-modification applications for
 5    Central Valley and Golden State was held on February 18, 2020.
 6          66.    On February 6, 2020, the Adelanto Planning Commission issued the
 7    public notice of the second hearing on GEO’s CUP-modification application for
 8    Desert View.
 9          67.    The second hearing on GEO’s CUP-modification application for Desert
10    View was held on February 19, 2020.
11          68.    On February 18, 2020, the McFarland Planning Commission failed to
12    approve GEO’s CUP-modification applications for Central Valley and Golden State
13    by a 2-2 vote.
14          69.    On February 19, 2020, the Adelanto Planning Commission approved a
15    resolution that approved GEO’s CUP-modification application for Desert View
16    but—in conformity with Section 1670.9(d)— deferred the issuance of the new
17    permits until July 15, 2020, so that at least 180 days will have lapsed since the first
18    public notices was given.
19          70.    GEO appealed the decision of the McFarland Planning Commission to
20    the McFarland City Council.
21          71.    The additional hearing required by Section 1670.9(d), as well as the
22    additional delay in the approval of GEO’s CUP-modification applications required
23    by Section 1670.9(d)’s 180-day notice period, have injured GEO and will continue
24    to do so.
25          72.    Because of the additional hearing required by Section 1670.9(d), GEO
26    was forced to expend time, money, and other resources preparing for the additional
27    hearings in McFarland and Adelanto and ensuring that GEO representatives would
28    be present at the additional hearings. In addition, Section 1670.9(d) adds a minimum

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 1    of 90 days to the normal CUP modification process at both the City of Adelanto and
 2    the City of McFarland, which would typically be completed in 90 days, inclusive of
 3    any appeal to the City Council.
 4          73.    In addition, the delay in approving GEO’s CUP-modification
 5    applications has prevented GEO from moving more quickly on the Pre-
 6    Transition/Mobilization activities it is required to perform under its contracts with
 7    the Federal Government. The additional three (3) months referred to in paragraph 72
 8    caused and continues to cause a significant detrimental financial impact to GEO.
 9          74.    Section 1670.9(d) results in three (3) months loss of federal revenue to
10    GEO, amounting to several millions of dollars, while GEO awaits the completion of
11    the 180-day period.
12          75.    Section 1670.9(d) also results in three (3) months of additional expenses
13    to GEO in continuing the employment of those individuals working at the previously
14    approved facility who will be transitioning to the re-purposed federal facility.
15          76.    GEO’s Desert View and Golden State MCCFs have 274 employees,
16    which will require approximately $3.2 million in estimated payroll and benefit costs
17    during the three (3) additional months required under Section 1670.9(d) in order to
18    be transitioned into a fully operating federal facility.
19          77.    Because the permitting process mandated by Section 1670.9(d) is only
20    180 days, the process is too short to fully litigate a constitutional challenge to it.
21          78.    GEO has many contracts with the Federal Government and with ICE, in
22    particular, and it is common for the Federal Government to request amendments to
23    its contracts during the period of performance. Because GEO’s ICE contracts have a
24    period of performance that runs through December 19, 2034, it is reasonable to
25    expect that the Federal Government will request amendments to one or both contracts
26    at some point in the next fifteen years, and it is reasonable to expect that such
27    amendments will require GEO to seek modifications of its CUPs, as GEO has had to
28    do for its immigration detention facilities in California in the past (except for the

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 1    Adelanto ICE Processing Center). GEO therefore faces a credible and substantial
 2    threat of being subjected to Section 1670.9(d)’s requirements in the future.
 3        COUNT I: VIOLATION OF INTERGOVERNMENTAL IMMUNITY
 4         (DISCRIMINATION AGAINST THE FEDERAL GOVERNMENT)
 5          79.    Plaintiff re-alleges and incorporates by reference the allegations of the
 6    preceding paragraphs.
 7          80.    GEO, as a contractor for the United States, enjoys and is clothed in the
 8    Federal Government’s intergovernmental immunity. See Goodyear Atomic Corp. v.
 9    Miller, 486 U.S. 174, 180–81 (1988); Boeing Co. v. Movassaghi, 768 F.3d 832, 839
10    (9th Cir. 2014).
11          81.    A state law is invalid “if it operates so as to discriminate against the
12    [Federal] Government or those with whom it deals.” United States v. City of Detroit,
13    355 U.S. 466, 473 (1958).
14          82.    Section 1670.9(d) only regulates land-conveyance documents and
15    zoning permits for private entities carrying out federal operations. See United States
16    v. California, 921 F.3d 865, 882, 883 (9th Cir. 2019).
17          83.    By targeting only contractors carrying out federal operations, Section
18    1670.9(d) discriminates against the Federal Government. See Dawson v. Steager, 139
19    S. Ct. 698, 705–06 (2019); Boeing, 768 F.3d at 842–43.
20          84.    Section 1670.9(d) is unconstitutional and invalid as applied to GEO.
21       COUNT II: VIOLATION OF INTERGOVERNMENTAL IMMUNITY
22          (DIRECT REGULATION OF THE FEDERAL GOVERNMENT)
23          85.    Plaintiff re-alleges and incorporates by reference the allegations of the
24    preceding paragraphs.
25          86.    Under the Supremacy Clause of the United States Constitution, “the
26    activities of the Federal Government are free from regulation by any state.” Mayo v.
27    United States, 319 U.S. 441, 445 (1943); see also North Dakota v. United States, 495
28    U.S. 423, 451–52 (1990) (Brennan, J., concurring in the judgment in part and

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            2:20-cv-00533-TLN-AC Document
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                                                             Page 17
                                                                  29 of
                                                                     of 18
                                                                        194

 1    dissenting in part) (“[T]hose dealing with the Federal Government enjoy immunity
 2    from state control . . . when a state law actually and substantially interferes with
 3    specific federal programs.”).
 4          87.    By forbidding the approval of “a deed, instrument, or other document
 5    related to a conveyance of land or [the] issu[ance] [of] a permit for the building or
 6    reuse of existing buildings by any private corporation, contractor, or vendor to house
 7    or detain noncitizens for purposes of civil immigration” unless the City satisfies SB-
 8    29’s notice and hearing requirements, Section 1670.9(d) substantially interferes with
 9    Federal Government operations.
10          88.    Section 1670.9(d) substantially interferes with the ICE’s ability to carry
11    out its detention responsibilities for the Federal Government.
12          89.    Congress has not authorized the State to regulate the Federal
13    Government’s activities with respect to federal detention facilities like GEO’s.
14          90.    Section 1670.9(d) is unconstitutional and invalid as applied to GEO.
15                                    PRAYER FOR RELIEF
16          91.    WHEREFORE, The GEO Group, Inc. respectfully requests that this
17    Court enter an order and judgment:
18                 a.    Declaring that Senate Bill 29, codified in relevant part at CAL.
19                       CIV. CODE § 1670.9(d), violates the Supremacy Clause of the
20                       United States Constitution and is unconstitutional as applied to
21                       GEO;
22                 b.    Preliminarily and permanently enjoining Defendants, as well as
23                       their successors, agents, employees, and all those under their
24                       supervision from enforcing Section 1670.9(d) against GEO;
25                 c.    Awarding attorneys’ fees and costs as permitted by law; and
26    ///
27    ///
28    ///

                                              - 17 -                         COMPLAINT
     Case
      Case1:20-cv-00966-TLN-AC
            2:20-cv-00533-TLN-AC Document
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                                                                     of 18
                                                                        194

 1                d.    Granting such other and further relief as this Court deems just and
 2                      proper.
 3    Dated:   March 9, 2020
 4
                                          By: /s/ Michael B. McClellan
 5
                                          Michael B. McClellan, CBN 241570
 6                                        NEWMEYER & DILLION LLP
                                          895 Dove Street, Fifth Floor
 7                                        Newport Beach, CA 92660
                                          Telephone: (949) 854-7000
 8                                        Email: Michael.McClellan@ndlf.com
 9                                        Charles J. Cooper,* DC Bar No. 248070
                                          Michael W. Kirk,* DC Bar No. 424648
10                                        J. Joel Alicea,* DC Bar No. 1022784
                                          Steven J. Lindsay,* VA Bar No. 92363
11                                        COOPER & KIRK, PLLC
                                          1523 New Hampshire Avenue, NW
12                                        Washington, DC 20036
                                          Telephone: (202) 220-9600
13                                        Email: ccooper@cooperkirk.com
                                          *Pro Hac Vice Applications Forthcoming
14
                                          Attorneys for Plaintiff The GEO Group, Inc.
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                                            - 18 -                         COMPLAINT
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                       EXHIBIT B
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                       EXHIBIT C
     Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 39 of 194


                                     RESOLUTION NO. 2020-0013
A RESOLUTION OF THE CITY COUNCIL OF THE CITY OF MCFARLAND, COUNTY OF KERN,
CALIFORNIA, MAKING FINDINGS, AND APPROVING THE APPEAL TO REVERSE MCFARLAND
PLANNING COMMISSION DECISION OF DENIAL ON MODIFICATIONS TO CONDITIONAL USE
PERMIT 01-96, SUBJECT TO CONDITIONS OF APPROVAL, ALLOWING THE REPURPOSE OF THE
GOLDEN STATE MODIFIED COMMUNITY CORRECTIONAL FACILITY TO HOUSE FEDERAL
INMATES AND DETAINEES, BOTH ADULT MALE AND/ OR FEMALE. THE FACILITY IS LOCATED AT
611 FRONTAGE, MCFARLAND, COUNTY OF KERN, CALIFORNIA. ASSESOR PARCEL NUMBERS
201-070-50 AND 201-070-63.
         WHEREAS, Conditional Use Permit No. 01-96, approved May 13, 1996 by the McFarland
Planning Commission, authorized the construction and operation of the Golden State Modified
Community Correctional Facility (the “Facility”) located at 611 Frontage Road, McFarland,
California; and
         WHEREAS, Paragraph number 11 of Conditional Use Permit 01-96 restricts inmate
classification to inmates and parole violators designated as Levels I, II and III, or equivalent
classification who do not have high level serious disciplinary problems within the last review
period; and
         WHEREAS, the applicant, Gresham, Savage, Nolan & Tilden, for The GEO Group, Inc., on
January 10, 2020, submitted a request for modifications to Conditional Use Permit 01-96 to
allow the Golden State Modified Commmunity Correctional Facility, to house Federal inmates
and detainees, both adult male and/or female; and
         WHEREAS, in compliance with state law and the City’s Municipal Code, the City of
McFarland Planning Commission held two duly noticed public hearings on January 21, 2020 and
February 18, 2020, at 6:00 p.m. at the McFarland Council Chamber located at 103 W. Sherwood
Ave, McFarland, California and written and oral testimony was received prior to closing the public
hearing and considering the application; and
         WHEREAS, the City of McFarland Planning Commission on February 18, 2020, voted on
the application, a tie-vote (2-2), resulting in a denial of the application to modify of Conditional
Use Permit 01-96; and
         WHEREAS, the applicant, Gresham, Savage, Nolan & Tilden, for The GEO Group, Inc., on
February 26, 2020, submitted an appeal in writing along with the filing fee of $200.00, pursuant
to McFarland Municipal Code Section 17.148.100(B)(1)(b) and Resolution No. 2014-0201,
requesting an appeal hearing with the City Council of the City of McFarland to consider reversing
the decision of the City of McFarland Planning Commission AND approving modifications of CUP
01-96; and
         WHEREAS, the City of McFarland, as lead agency, has determined that the project is
exempt from the provisions of the California Environmental Quality Act pursuant to Title 14
California Code of Regulations Section 15301 because the modification of the Conditional Use
Permit represents the continued operation of an existing facility involving negligible or no
expansion and pursuant to Section 15061(b)(3) because the proposed modification does not
have the potential for causing a significant effect on the environment; and

NOW, THEREFORE, BE IT RESOLVED by the McFarland City Council as follows:
      SECTION 1. The above recitals are all true and correct.

                                                 1
     Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 40 of 194


        SECTION 2. The City Council has reviewed and considered the information included in the
staff reports and as provided by the public testimony prior to taking action on the application.
The City Council further finds and determines that the City has complied with the California
Environmental Quality Act and the City Council determinations reflect the independent
judgment of the City Council. Based on the foregoing, the City Council hereby approves the
application and makes the following modifications to Conditional Use Permit 01-96:
        1. Paragraph number 11 to Conditional Use Permit 01-96 is replaced in its entirety by the
            following:

           “11. The facility may house Federal inmates and detainees, both male and/or
           female.”
       SECTION 3. The City Council approval is based on the following findings:
       (a) That the proposed Conditional Use Permit modification is consistent with the General
           Plan;
           The project site is designated Industrial, which is consistent with the City’s Zoning
           Code which allows Prisons/Correctional Facilities with approval of a Conditional Use
           Permit.
       (b) That the nature, condition, and development of adjacent uses, buildings, and
           structures have been considered, and that the use will not adversely affect or be
           materially detrimental to these adjacent uses, buildings, or structures;
           Surrounding properties to east consist of Highway 99. The property to the west is
           comprised of row crops with residential uses to the north and south. The application
           will not alter the use of the existing facilities other than change the classification of
           individual housed in the facility.
       (c) That the site for the proposed use is of adequate size and shape to accommodate the
           use and buildings proposed;

           The current approval is only for the modification of a Conditional Use Permit for an
           existing structure to allow a change in inmate classification. There will be no physical
           expansion of the Facility.
       (d) That the proposed use complies with all applicable development standards of the
           zoning district; and
           The proposed project has been designed and conditioned to meet all applicable City
           zoning and development standards.
       (e) That the proposed use observes the spirit and intent of this Zoning Code.
          The proposed Project meets the requirements of the Zoning Code. However, to
          ensure all Code requirements are met, a condition of approval has been added
          reflecting these requirements.
      SECTION 4. The City of McFarland, as lead agency, has determined that the project is
exempt from the provisions of the California Environmental Quality Act pursuant to Title 14


                                                 2
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California Code of Regulations Section 15301 because the modification of the Conditional Use
Permit represents the continued operation of an existing facility involving negligible or no
expansion and pursuant to Section 15061(b)(3) because the proposed modification does not
have the potential for causing a significant effect on the environment.
        SECTION 5. Pursuant to the provisions of California Civil Code Section 1670.9(d), this
approval of modification to Conditional Use Permit 01-96 shall not be considered issued,
executed or effective until July 15, 2020, which is more than 180 days from January 10, 2020, the
date of notice to the public of the proposed permitting action.
        SECTION 6. The City Council hereby reverses the City of McFarland Planning Commission
AND approves modifications to Conditional Use Permit 01-96 subject to the following conditions
of approval, attached as Attachment A and incorporated herein.

PASSED, APPROVED AND ADOPTED by the City Council this ____ day of ___________, 2020.


                                                    ___________________________
                                                    Sally Gonzalez, Mayor
                                                    City of McFarland

Attest:


__________________________
Claudia Ceja, City Clerk
City of McFarland




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Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 42 of 194




                       EXHIBIT D
     Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 43 of 194


                                     RESOLUTION NO. 2020-0014
A RESOLUTION OF THE CITY COUNCIL OF THE CITY OF MCFARLAND, COUNTY OF KERN,
CALIFORNIA, MAKING FINDINGS, AND APPROVING THE APPEAL TO REVERSE MCFARLAND
PLANNING COMMISSION DECISION OF DENIAL ON MODIFICATIONS TO CONDITIONAL USE
PERMIT 02-96, SUBJECT TO CONDITIONS OF APPROVAL, ALLOWING THE REPURPOSE OF THE
CENTRAL VALLEY MODIFIED COMMUNITY CORRECTIONAL FACILITY TO HOUSE FEDERAL
INMATES AND DETAINEES, BOTH ADULT MALE AND/ OR FEMALE. THE FACILITY IS LOCATED AT
254 TAYLOR AVENUE, MCFARLAND, COUNTY OF KERN, CALIFORNIA. ASSESOR PARCEL
NUMBER 201-070-64.
         WHEREAS, Conditional Use Permit No. 02-96, approved May 13, 1996 by the McFarland
Planning Commission, authorized the construction and operation of the Central Valley Modified
Community Correctional Facility (the “Facility”) located at 254 Taylor Avenue, McFarland,
California; and
         WHEREAS, Paragraph number 11 of Conditional Use Permit 02-96 restricts inmate
classification to inmates and parole violators designated as Levels I, II and III, or equivalent
classification who do not have high level serious disciplinary problems within the last review
period; and
         WHEREAS, the applicant, Gresham, Savage, Nolan & Tilden, for The GEO Group, Inc., on
January 10, 2020, submitted a request for modifications to Conditional Use Permit 02-96 to
allow the Central Valley Modified Community Correctional Facility, to house Federal inmates and
detainees, both adult male and/or female; and
         WHEREAS, in compliance with state law and the City’s Municipal Code, the City of
McFarland Planning Commission held two duly noticed public hearings on January 21, 2020 and
February 18, 2020, at 6:00 p.m. at the McFarland Council Chamber located at 103 W. Sherwood
Ave, McFarland, California and written and oral testimony was received prior to closing the public
hearing and considering the application; and
         WHEREAS, the City of McFarland Planning Commission on February 18, 2020, voted on
the application, a tie-vote (2-2), resulting in a denial of the application to modify of Conditional
Use Permit 02-96; and
         WHEREAS, the applicant, Gresham, Savage, Nolan & Tilden, for The GEO Group, Inc., on
February 26, 2020, submitted an appeal in writing along with the filing fee of $200.00, pursuant
to McFarland Municipal Code Section 17.148.100(B)(1)(b) and Resolution No. 2014-0201,
requesting an appeal hearing with the City Council of the City of McFarland to consider reversing
the decision of the City of McFarland Planning Commission AND approving modifications of CUP
02-96; and
         WHEREAS, the City of McFarland, as lead agency, has determined that the project is
exempt from the provisions of the California Environmental Quality Act pursuant to Title 14
California Code of Regulations Section 15301 because the modification of the Conditional Use
Permit represents the continued operation of an existing facility involving negligible or no
expansion and pursuant to Section 15061(b)(3) because the proposed modification does not
have the potential for causing a significant effect on the environment; and

NOW, THEREFORE, BE IT RESOLVED by the McFarland City Council as follows:
      SECTION 1. The above recitals are all true and correct.

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     Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 44 of 194


        SECTION 2. The City Council has reviewed and considered the information included in the
staff reports and as provided by the public testimony prior to taking action on the application.
The City Council further finds and determines that the City has complied with the California
Environmental Quality Act and the City Council determinations reflect the independent
judgment of the City Council. Based on the foregoing, the City Council hereby approves the
application and makes the following modifications to Conditional Use Permit 02-96:
        1. Paragraph number 11 to Conditional Use Permit 02-96 is replaced in its entirety by the
            following:

           “11. The facility may house Federal inmates and detainees, both male and/or
           female.”
       SECTION 3. The City Council approval is based on the following findings:
       (a) That the proposed Conditional Use Permit modification is consistent with the General
           Plan;
           The project site is designated Industrial, which is consistent with the City’s Zoning
           Code which allows Prisons/Correctional Facilities with approval of a Conditional Use
           Permit.
       (b) That the nature, condition, and development of adjacent uses, buildings, and
           structures have been considered, and that the use will not adversely affect or be
           materially detrimental to these adjacent uses, buildings, or structures;
           Surrounding properties to east consist of Highway 99. The property to the west is
           comprised of row crops with residential uses to the north and south. The application
           will not alter the use of the existing facilities other than change the classification of
           individual housed in the facility.
       (c) That the site for the proposed use is of adequate size and shape to accommodate the
           use and buildings proposed;

           The current approval is only for the modification of a Conditional Use Permit for an
           existing structure to allow a change in inmate classification. There will be no physical
           expansion of the Facility.
       (d) That the proposed use complies with all applicable development standards of the
           zoning district; and
           The proposed project has been designed and conditioned to meet all applicable City
           zoning and development standards.
       (e) That the proposed use observes the spirit and intent of this Zoning Code.
           The proposed Project meets the requirements of the Zoning Code. However, to
           ensure all Code requirements are met, a condition of approval has been added
           reflecting these requirements.




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        SECTION 4. The City of McFarland, as lead agency, has determined that the project is
exempt from the provisions of the California Environmental Quality Act pursuant to Title 14
California Code of Regulations Section 15301 because the modification of the Conditional Use
Permit represents the continued operation of an existing facility involving negligible or no
expansion and pursuant to Section 15061(b)(3) because the proposed modification does not
have the potential for causing a significant effect on the environment.
        SECTION 5. Pursuant to the provisions of California Civil Code Section 1670.9(d), this
approval of modification to Conditional Use Permit 02-96 shall not be considered issued,
executed or effective until July 15, 2020, which is more than 180 days from January 10, 2020, the
date of notice to the public of the proposed permitting action.
        SECTION 6. The City Council hereby reverses the City of McFarland Planning Commission
decision and approves modifications to Conditional Use Permit 02-96 subject to the following
conditions of approval, attached as Attachment A and incorporated herein.

PASSED, APPROVED AND ADOPTED by the City Council this ____ day of ___________, 2020.


                                                    _________________________
                                                    Sally Gonzalez, Mayor
                                                    City of McFarland


Attest:


______________________________
Claudia Ceja, City Clerk
City of McFarland




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Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 46 of 194




                       EXHIBIT E
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Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 48 of 194
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                       EXHIBIT F
     Case 1:20-cv-00966-TLN-ACCITY OF MCFARLAND
                                Document 3-2 Filed 07/12/20 Page 50 of 194
                               PLANNING COMMISSION AGENDA

Please Note: The City of McFarland City Council Chambers complies with the provisions of the Americans
with Disabilities Act (ADA). Anyone needing special assistance should contact the City of McFarland City Hall
at (661) 792-3091, at least one (1) business day prior to the meeting so that we may accommodate you.

LOCATION OF MEETING:            City Council Chambers
                                McFarland Veterans Community Center
                                103 W. Sherwood Avenue
                                McFarland CA 93250

DATE/TIME:                      Tuesday, January 21, 2020 at 6:00 p.m.

ROLL CALL:                      Chairman Dave Borcky, Jr.
                                Vice Chairman Jose Hernandez
                                Commissioner Lettie Blanchard
                                Commissioner Rudy Nuñez

PLEDGE OF ALLEGIANCE:
INVOCATION:

APPROVAL OF THE MINUTES OF REGULAR AND / OR SPECIAL PLANNING COMMISSION MEETING: held
on December 17, 2019

PUBLIC COMMENTS:
At this time, any member of the public may address the Planning Commission on items of interest to the
public that are within the jurisdiction of the Planning Commission which are not already on the agenda this
evening. Speakers shall be limited in time so please be brief and to the point. No action or discussion shall
be taken on any item not appearing on the agenda, except that any Planning Commissioner may briefly
respond to statements made, or questions posed, be members of the public. Concerns or complaints will
be referred to the Planning Director’s office.

ADMINISTRATIVE ITEMS:
None

PUBLIC HEARINGS:
       1) Discussion of the new Commercial Residential Mixed Use (CRMU) Zoning Ordinance.
              a. The proposed ordinance is to create opportunities within the City to provide for a
                  compatible mix of land uses, including residential, retail, and offices. The Commercial
                  Residential Mixed Use (CRMU) Zoning District allows properties to be developed with a
                  mix of commercial retail, office and residential uses. The allowable residential density
                  ranges from twenty (20) to thirty – five (35) dwelling units per acre. The CRMU zoning
                  district is consistent with the mixed use land use designation of the General Plan.
              b. The City of McFarland Planning Commission to consider a proposed Pre-Zoning project
                  related to the proposed annexation of 2200 acres generally bound by the north by the
                  City’s limit, on the west by Garzoli Ave, to the south by Whisler Road and to the east by
                  Driver Road.



        2) The Geo Group, Inc. as owner of the Facilities has requested amendments to its CUP Nos. 01-96
           and 02-96 as amended
     Case a.1:20-cv-00966-TLN-AC
               This is a presentation to inform the Commission
                                           Document   3-2 Filedand07/12/20
                                                                   the public of the applications
                                                                              Page   51 of 194 and to
               assist staff in its processing of the applications by taking public testimony regarding the
               proposals to amend Conditional Use Permit No.01-96 to allow the Golden State Modified
               Community Correctional Facility Located at 611 Frontage Road and Conditional Use Permit
               No. 02-96 to allow the Central Valley Modified Community Correctional Facility located at
               254 Taylor Avenue, to be repurposed to house federal inmates and detainees, male and/or
               female. No action will be taken on the applications at this meeting. This public hearing of
               the Planning Commission is intended to comply with the provisions of California Civil Code
               Section 1670.9(d) which requires the city to solicit public comments on the proposals in at
               least two separate public meetings.


CITY OF MCFARLAND PLANNER UPDATE:
Alexander Lee, City Planner

COMMISSIONER COMMENTS:

ADJOURNMENT:
Next Meeting: Regular Planning Commission Meeting is scheduled for Tuesday, February 18, 2020.
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                       EXHIBIT G
     Case 1:20-cv-00966-TLN-AC CITY       OF MCFARLAND
                                       Document   3-2 Filed 07/12/20 Page 53 of 194
                               PLANNING COMMISSION AGENDA
Please Note: The City of McFarland City Council Chambers complies with the provisions of the
Americans with Disabilities Act (ADA). Anyone needing special assistance should contact the City
of McFarland City Hall at (661) 792-3091, at least one (1) business day prior to the meeting so
that we may accommodate you.

LOCATION OF MEETING:        City Council Chambers
                            McFarland Veterans Community Center
                            103 W. Sherwood Avenue
                            McFarland CA 93250

DATE/TIME:                  Tuesday, February 18, 2020 at 6:00 p.m.

   A. ROLL CALL:            Vice Chairman Jose Hernandez
                            Commissioner Lettie Blanchard
                            Commissioner Rudy Nuñez
                            Commissioner Marco Martinez
                            Commissioner Ricardo Cano- Pending Appointment by Council

   B. PLEDGE OF ALLEGIANCE:

   C. INVOCATION:

   D. APPROVAL OF THE MINUTES OF REGULAR AND / OR SPECIAL PLANNING COMMISSION
      MEETING: held on January 21, 2020

   E. PUBLIC PRESENTATIONS:
      This portion of the meeting is reserved for persons desiring to address the Commission on
      any matter NOT on this agenda and over which the Commission has jurisdiction. Speakers
      are limited to two (2) minutes. Please state your name and address for the record before
      making presentation.

       No action or discussion shall be taken on any item not appearing on the agenda, except
       that any Planning Commissioner may briefly respond to statements made, or questions
       posed, by members of the public. Concerns or complaints will be referred to the
       Community Development Director’s office.

   F. ADMINISTRATIVE ITEMS:
           1)    Report of Nominating Committee: Report of nominating committee for
                 Planning Commission Officers for Calendar Year 2020

   G. CONSENT AGENDA (CA): These are items scheduled before the Planning Commission
      which are being recommended for approval by the staff and the applicant has been
      informed of any special conditions and has no objections. The hearing on these items
      may be expedited if no member of the Commission or audience wishes to comment or
      ask questions on the case.
             - NONE
                                                                                      Page 1 of 3
    Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 54 of 194
   H. PUBLIC HEARINGS:

       1) CONDITIONAL USE PERMIT NO. 01-96: A modification to Conditional Use Permit 01-
          96, to allow the Golden State Modified Community Correctional Facility located at 611
          Frontage Road, to be repurposed to house federal inmates and detainees, adult male
          and or female.
              a. Presentation by applicant The GEO Group, Inc.

              b. Take public testimony and adopt Planning Commission Resolution No. 2020-
                 03-PC approving amending Conditional Use Permit No. 01-96. – STAFF
                 RECOMMENDATION: APPROVE CONDITIONAL USE PERMIT IN ACCORDANCE
                 WITH THE RECOMMENDED CONDITIONS OF APPROVAL (ATTACHMENT A)
                 AND ADOPT SUGGESTED FINDINGS AS SET FORTH IN THE DRAFT
                 RESOLUTION

       2) CONDITIONAL USE PERMIT NO. 02-96: A modification to Conditional Use Permit 02-
          96, to allow the Central Valley Medium Custody Community Correctional Facility
          located at 254 Taylor Avenue, to be repurposed to house federal inmates and
          detainees, adult male and or female.
              a. Presentation by applicant The GEO Group, Inc.

              b. Take public testimony and adopt Planning Commission Resolution No. 2020-
                 04-PC approving amending Conditional Use Permit No. 02-96. – STAFF
                 RECOMMENDATION: APPROVE CONDITIONAL USE PERMIT IN ACCORDANCE
                 WITH THE RECOMMENDED CONDITIONS OF APPROVAL (ATTACHMENT A)
                 AND ADOPT SUGGESTED FINDINGS AS SET FORTH IN THE DRAFT RESOLUTION

   I. COMMISSIONER COMMENTS:
      On their own initiative, Commission members may make an announcement or a report on
      their own activities. They may ask a question for clarification, make referral to staff, or
      take action to have staff place a matter of business on a future agenda (Government Code
      Section 54954.2(a)).

NOTICE OF RIGHT TO APPEAL:
For projects where Planning Commission action is final, actions are subject to appeal to the City
Council by any interested person. No permit or license shall be issued for any use involved in an
application, until the same has become final by reason of the failure of any person to appeal or by
reason of the action of the city council.

An appeal must be in writing and filed, along with associated appeal fee of $200.00 pursuant to
(Resolution No. 2014-0201), with the City Clerk, 401 W. Kern Ave McFarland, CA 93250. The filing
must be made within fifteen (15) calendar days from, but not including the date of the decision
pursuant to (McFarland Municipal Code Section 17.148.100(B) (1) (b)). If no appeal is received, the
action of the Planning Commission is final.


                                                                                       Page 2 of 3
J.Case
   ADJOURNMENT:    The next Planning
       1:20-cv-00966-TLN-AC          Commission
                                Document        is scheduled
                                          3-2 Filed          for Tuesday,
                                                      07/12/20    Page 55March 17,
                                                                          of 194
   2020.




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     Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 56 of 194



                           PLANNING COMMISSION STAFF REPORT
                             CITY OF MCFARLAND, CALIFORNIA
                                     February 18, 2020



                                                                           Agenda Item
                                                                           Presentation
                                                                               Consent
         TO: Chair and Planning Commissioners
                                                                    Unfinished Business
     FROM: Alexander Lee, City Planner                                    New Business
                                                                         Public Hearing    x
      DATE: February 18, 2020                                                    Other
                                                                        Action Requested
   PROJECT Geo Group CUP Modifications 01-96                                 Ordinance
    NAME :                                                                   Resolution    X
                                                                                Motion
                                                                                 Other
   ENVIRONMENTAL          Notice of Exemption
   DOCUMENT:




PROJECT DESCRIPTION

To take public testimony, consider and take action on the Application of the GEO Group, Inc., to
modify Conditional Use Permit No. 01-96 to allow the Golden State Modified Community
Correctional Facility Located at 611 Frontage Road, to be repurposed to house federal inmates
and detainees, male and/or female. This public hearing of the Planning Commission is intended
to comply with the provisions of California Civil Code Section 1670.9(d).

Staff recommends that Planning Commission approve Resolution No. 2020-03-PC, approving
Conditional Use Permit 01-96 (Amended 02/18/2020)as conditioned.


BACKGROUND
The Conditional Use Permit No. 01-96 was amended by Resolution No. 2008-002 adopted by
the McFarland Planning Commission on October 14, 2008.

In compliance with state law and the City’s Municipal Code, the City of McFarland Planning
Commission held a duly noticed public hearing on the application on January 21, 2020, took
information presented by City Staff and public testimony prior to considering the application.
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ENVIRONMENTAL REVIEW

The project is exempt from the requirements of the California Environmental Quality Act
subject to Section 15061 and 15301 of the CEQA Guidelines.


PUBLIC NOTICING

Pursuant to Section 17.148.080 of the McFarland Municipal Code a Legal Notice of Public
Hearings were posted (City Hall, Mi Ranchito, Mi Rancho, McFarland Council of Chamber, and
city website) and mailed out to all property owners located within 300 feet of the project site.


ATTACHMENTS

Attachment 1 – City of McFarland Planning Commission Resolution 2020-03-PC
     Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 58 of 194


                                   RESOLUTION NO. 2020-03-PC
A RESOLUTION OF THE PLANNING COMMISSION OF THE CITY OF MCFARLAND, COUNTY OF KERN,
 CALIFORNIA, APPROVING MODIFICATIONS TO CONDITIONAL USE PERMIT 01-96 TO ALLOW THE
 GEO GROUP, INC., TO REPURPOSE THE GOLDEN STATE MODIFIED COMMUNITY CORRECTIONAL
  FACILITY, LOCATED AT 611 FRONTAGE ROAD, TO HOUSE FEDERAL INMATES AND DETAINEES,
                              BOTH MALE AND/ OR FEMALE
        WHEREAS, Conditional Use Permit No. 01-96, approved May 13, 1996 by the McFarland
Planning Commission, authorized the construction and operation of the Golden State Modified
Community Correctional Facility (the “Facility”) located at 611 Frontage Road, McFarland,
California; and

         WHEREAS, Paragraph number 11 of Conditional Use Permit 01-96 restricts inmate
classification to inmates and parole violators designated as Levels I, II and III, or equivalent
classification who do not have high level serious disciplinary problems within the last review
period; and
       WHEREAS, the applicant, Gresham, Savage, Nolan & Tilden, for The GEO Group, Inc.,
requests modifications to Conditional Use Permit 01-96 to allow the Golden State Medium
Custody Community Correctional Facility, to house Federal inmates and detainees, both male
and/or female; and
       WHEREAS, in compliance with state law and the City’s Municipal Code, the City of
McFarland Planning Commission held a duly noticed public hearing on the application on January
21, 2020, took information presented by City Staff and public testimony prior to considering the
application;
       WHEREAS, in compliance with state law and the City’s Municipal Code, the City of
McFarland Planning Commission held a duly second noticed public hearing on the application on
February 18, 2020, took information presented by City Staff and public testimony prior to
considering the application;
        WHEREAS, the City of McFarland, as lead agency, has determined that the project is
exempt from the provisions of the California Environmental Quality Act pursuant to Title 14
California Code of Regulations Section 15301 because the modification of the Conditional Use
Permit represents the continued operation of an existing facility involving negligible or no
expansion and pursuant to Section 15061(b)(3) because the proposed modification does not
have the potential for causing a significant effect on the environment; and
NOW, THEREFORE, BE IT RESOLVED by the McFarland Planning Commission as follows:

       SECTION 1. The above recitals are all true and correct.
       SECTION 2. The Planning Commission has reviewed and considered the information
included in the staff reports and as provided by the public testimony prior to taking action on the

                                                  1
    Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 59 of 194


application. The Planning Commission further finds and determines that the City has complied
with the California Environmental Quality Act and the Planning Commission determinations
reflect the independent judgment of the Planning Commission. Based on the foregoing, the
Planning Commission hereby approves the application and makes the following modifications to
Conditional Use Permit 01-96:

       1. Paragraph number 11 to Conditional Use Permit 01-96 is replaced in its entirety by
          the following:

          “11. The facility may house Federal inmates and detainees, both male and/or female.”
       SECTION 3. The Planning Commission approval is based on the following findings:
       (a) That the proposed Conditional Use Permit modification is consistent with the General
           Plan;
          The project site is designated Industrial, which is consistent with the City’s Zoning
          Code which allows Prisons/Correctional Facilities with approval of a Conditional Use
          Permit.
       (b) That the nature, condition, and development of adjacent uses, buildings, and
           structures have been considered, and that the use will not adversely affect or be
           materially detrimental to these adjacent uses, buildings, or structures;
          Surrounding properties to east consist of Highway 99. The property to the west is
          comprised of row crops with residential uses to the north and south. The application
          will not alter the use of the existing facilities other than change the classification of
          individual housed in the facility.
       (c) That the site for the proposed use is of adequate size and shape to accommodate the
           use and buildings proposed;
          The current approval is only for the modification of a Conditional Use Permit for an
          existing structure to allow a change in inmate classification. There will be no physical
          expansion of the Facility.
       (d) That the proposed use complies with all applicable development standards of the
           zoning district; and
          The proposed project has been designed and conditioned to meet all applicable City
          zoning and development standards.
       (e) That the proposed use observes the spirit and intent of this Zoning Code.
          The proposed Project meets the requirements of the Zoning Code. However, to
          ensure all Code requirements are met, a condition of approval has been added
          reflecting these requirements.

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        SECTION 4. The City of McFarland, as lead agency, has determined that the project is
exempt from the provisions of the California Environmental Quality Act pursuant to Title 14
California Code of Regulations Section 15301 because the modification of the Conditional Use
Permit represents the continued operation of an existing facility involving negligible or no
expansion and pursuant to Section 15061(b)(3) because the proposed modification does not
have the potential for causing a significant effect on the environment.

        SECTION 5. Pursuant to the provisions of California Civil Code Section 1670.9(d), this
approval of modification to Conditional Use Permit 01-96 shall not be considered issued,
executed or effective until July 15, 2020, which is more than 180 days from January 10, 2020, the
date of notice to the public of the proposed permitting action.
       SECTION 6. The Planning Commission hereby approves modifications to Conditional Use
Permit 01-96 subject to the following conditions of approval, attached as Attachment A and
incorporated herein.
PASSED, APPROVED AND ADOPTED by the Planning Commission this ____ day of ___________,
2020.




                                                    ___________________________________
                                                    ______________________,
                                                    Planning Commission Chairman


Attest:




______________________________
_____________________, Clerk of

The Planning Commission




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                                      ATTACHMENT A

                    CITY OF McFARLAND PLANNING COMMISSION
                             CONDITIONS OF APPROVAL
              CONDITIONAL USE PERMIT NO. 01-96 (AMENDED 02/18/2020)


1. The name of the facility shall be the Golden State Annex (GSA).

2. The capacity of the facility shall be 700 beds.

1. The existing and former employees of the GSA will be afforded the opportunity to apply
   for the new federal jobs and if employment criteria are met, may remain on payroll and
   transition to the new jobs, as approved by applicant and subject to impact of judicial
   action.

2. To the extent possible and if employment criteria is met, personnel employed at the
   facility will be recruited from the McFarland area.

5. Pursuant to the provisions of California Civil Code Section 1670.9(d), this approval of
   modification to Conditional Use Permit 01-96 shall not be considered issued, executed
   or effective until July 15, 2020, which is more than 180 days from January 10, 2020, the
   date of notice to the public of the proposed permitting action.

6. As Fiscal Mitigation for the Project’s impact on City Services, including, but not limited to,
   fire protection, police and public safety, and other public services, the applicant shall pay
   the City of McFarland $1.00 per bed, per day, for each of the 700 beds repurposed at
   CVA totaling $255,500.00 annually, with payments starting at initial ICE detainee intake
   and continuing for the duration of the contract. The payments shall be increased
   annually by the Consumer Price Index (All Urban Consumers) (Base Years 1982-1984 =
   100) for Los Angeles-Riverside-Orange County (the“Index”) or successor Index between
   the immediately ending calendar year and the calendar year preceding the immediately
   ending calendar year.
7. The applicant shall annex GSMCCF to the City of McFarland Community Facilities Districts
   2017-1; 2017-2, and 2019-1 for: Landscaping and Street Maintenance; Police Services;
   and Fire protection. Applicant shall pay the cost of annexation estimated to be $19,500
   but subject to change upon completion of the annexations; within six months of the
   effective date of this Resolution.

8. Frontage Road shall be repaved to City standards from W. Sherwood Ave to Taylor
   Avenue full width and installed missing curb, gutter, sidewalk, ADA ramps and city
   standard lighting, within six months of the effective date of this Resolution.

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9. There shall be a GSA Community Relations Board appointed to monitor the planning and
   ongoing running of the facility, who will report directly to the McFarland City Council.
   The Board shall be chaired by the CVA Facility Administrator and include of one member
   of the City Council. The Advisory Board shall meet at least once a year.
10. The facility WILL NOT CONTAIN any federal inmates or detainees that are juveniles or
    minor children under the age of 18.
11. On a monthly basis the Facility Administrator shall provide the number of inmates or
    detainees population at the facility to the City Manager via faxed document. Failure to
    provide such inmate population figures may adversely affect the ability of the City of
    McFarland to provide the most efficient representation to the community.
12. The applicant will insure that the facility grounds, perimeter and buildings are secure,
    maintained free of weeds, trash and free of anything that could create a health & safety
    hazard or a public nuisance.

13. All curbs along public roadways on the perimeter of the facility shall be posted with “No
    Parking” signs and be painted in Red to indicate “No Parking”. This requirement is not
    discretionary and cannot be waived without the McFarland City Manager’s written
    permission. The Applicant agrees to assist the City on routine maintenance, including
    repairs, on Frontage Road and Taylor Avenue, the extent of which will be determined
    through an Agreement with the City, which Agreement shall be executed within 30 days
    of the effective date of this Resolution.
14. The applicant entered into an Indemnification Agreement with the City of McFarland
    prior to the hearing date for this Resolution.
15. The applicant shall install additional native and drought tolerant landscaping around the
    facility perimeter specifically at Mast Avenue to assist the City of McFarland with the
    Urban Heat Island Effect.
16. Upon identification of any violations of any of these Conditions of Approval (COAs), the
    City shall provide applicant a written notice specifically identifying the nature of the
    alleged violation(s) (Notice of Violation). Upon receipt of a Notice of Violation, applicant
    shall have sixty (60) days to remedy the identified violation, except in the event of exigent
    circumstances where the violation cannot be remedied within the 60 day timeframe,
    additional time shall be provided as appropriate.




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                           PLANNING COMMISSION STAFF REPORT
                             CITY OF MCFARLAND, CALIFORNIA
                                     February 18, 2020



                                                                           Agenda Item
                                                                           Presentation
                                                                               Consent
         TO: Chair and Planning Commissioners
                                                                    Unfinished Business
     FROM: Alexander Lee, City Planner                                    New Business
                                                                         Public Hearing    x
      DATE: February 18, 2020                                                    Other
                                                                        Action Requested
   PROJECT Geo Group CUP Modifications 02-96                                 Ordinance
    NAME :                                                                   Resolution    X
                                                                                Motion
                                                                                 Other
   ENVIRONMENTAL          Notice of Exemption
   DOCUMENT:




PROJECT DESCRIPTION

To take public testimony, consider and take action on the Application of the GEO Group, Inc., to
modify Conditional Use Permit No. 02-96 to allow the Central Valley Medium Custody
Community Correctional Facility Located at 254 Taylor Avenue, to be repurposed to house
federal inmates and detainees, male and/or female. This second public hearing of the Planning
Commission is intended to comply with the provisions of California Civil Code Section 1670.9(d).

Staff recommends that Planning Commission approve Resolution No. 2020-04-PC, approving
Conditional Use Permit 02-96 (Amended 02/18/20) as conditioned.

BACKGROUND
The Conditional Use Permit No. 02-96 was amended by Resolution No. 2008-002 adopted by
the McFarland Planning Commission on October 14, 2008.

In compliance with state law and the City’s Municipal Code, the City of McFarland Planning
Commission held a duly noticed public hearing on the application on January 21, 2020, took
information presented by City Staff and public testimony prior to considering the application.
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ENVIRONMENTAL REVIEW

The project is exempt from the requirements of the California Environmental Quality Act
subject to Section 15061 and 15301 of the CEQA Guidelines.


PUBLIC NOTICING

Pursuant to Section 17.148.080 of the McFarland Municipal Code a Legal Notice of Public
Hearings were posted (City Hall, Mi Ranchito, Mi Rancho, McFarland Council of Chamber, and
city website) and mailed out to all property owners located within 300 feet of the project site.


ATTACHMENTS

Attachment 1 – City of McFarland Planning Commission Resolution 2020-04-PC
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                                   RESOLUTION NO. 2020-04-PC
A RESOLUTION OF THE PLANNING COMMISSION OF THE CITY OF MCFARLAND, COUNTY OF KERN,
 CALIFORNIA, APPROVING MODIFICATIONS TO CONDITIONAL USE PERMIT 02-96 TO ALLOW THE
GEO GROUP, INC., TO REPURPOSE THE CENTRAL VALLEY MODIFIED COMMUNITY CORRECTIONAL
FACILITY, LOCATED AT 254 TAYLOR AVENUE, TO HOUSE FEDERAL INMATES AND DETAINEES, BOTH
                                  MALE AND OR FEMALE
        WHEREAS, Conditional Use Permit No. 02-96, approved May 13, 1996 by the McFarland
Planning Commission, authorized the construction and operation of the Central Valley Modified
Community Correctional Facility (the “Facility”) located at 254 Taylor Avenue, McFarland,
California; and

         WHEREAS, Paragraph number 11 of Conditional Use Permit 02-96 restricts inmate
classification to inmates and parole violators designated as Levels I, II and III, or equivalent
classification who do not have high level serious disciplinary problems within the last review
period; and
       WHEREAS, the applicant, Gresham, Savage, Nolan & Tilden, for The GEO Group, Inc.,
requests modifications to Conditional Use Permit 02-96 to allow the Central Valley Modified
Community Correctional Facility, to house Federal inmates and detainees, both male and/or
female; and
       WHEREAS, in compliance with state law and the City’s Municipal Code, the City of
McFarland Planning Commission held a duly noticed public hearing on the application on January
21, 2020, took information presented by City Staff and public testimony prior to considering the
application;
       WHEREAS, in compliance with state law and the City’s Municipal Code, the City of
McFarland Planning Commission held a duly second noticed public hearing on the application on
February 18, 2020, took information presented by City Staff and public testimony prior to
considering the application;
        WHEREAS, the City of McFarland, as lead agency, has determined that the project is
exempt from the provisions of the California Environmental Quality Act pursuant to Title 14
California Code of Regulations Section 15301 because the modification of the Conditional Use
Permit represents the continued operation of an existing facility involving negligible or no
expansion and pursuant to Section 15061(b)(3) because the proposed modification does not
have the potential for causing a significant effect on the environment; and
NOW, THEREFORE, BE IT RESOLVED by the Planning Commission as follows:

       SECTION 1. The above recitals are all true and correct.
       SECTION 2. The Planning Commission has reviewed and considered the information
included in the staff reports and as provided by the public testimony prior to taking action on the

                                                  1
                                                                                         G484-001 -- 3819647.1
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application. The Planning Commission further finds and determines that the City has complied
with the California Environmental Quality Act and the Planning Commission determinations
reflect the independent judgment of the Planning Commission. Based on the foregoing, the
Planning Commission hereby approves the application and makes the following modifications to
Conditional Use Permit 02-96:

       1. Paragraph number 11 to Conditional Use Permit 02-96 is replaced in its entirety by
          the following:

          “11. The facility may house Federal inmates and detainees, both male and/or female.”


       SECTION 3. The Planning Commission approval is based on the following findings:
       (a) That the proposed Conditional Use Permit modification is consistent with the General
           Plan;
          The project site is designated Industrial, which is consistent with the City’s Zoning
          Code which allows Prisons/Correctional Facilities with approval of a Conditional Use
          Permit.
       (b) That the nature, condition, and development of adjacent uses, buildings, and
           structures have been considered, and that the use will not adversely affect or be
           materially detrimental to these adjacent uses, buildings, or structures;
          Surrounding properties to east consist of Highway 99. The property to the west is
          comprised of row crops with residential uses to the north and south. The application
          will not alter the use of the existing facilities other than change the classification of
          individual housed in the facility.

       (c) That the site for the proposed use is of adequate size and shape to accommodate the
           use and buildings proposed;

          The current approval is only for the modification of a Conditional Use Permit for an
          existing structure to allow a change in inmate classification. There will be no physical
          expansion of the Facility.

       (d) That the proposed use complies with all applicable development standards of the
           zoning district; and

          The proposed project has been designed and conditioned to meet all applicable City
          zoning and development standards.
       (e) That the proposed use observes the spirit and intent of this Zoning Code.




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           The proposed Project meets the requirements of the Zoning Code. However, to
           ensure all Code requirements are met, a condition of approval has been added
           reflecting these requirements.
        SECTION 4. The City of McFarland, as lead agency, has determined that the project is
exempt from the provisions of the California Environmental Quality Act pursuant to Title 14
California Code of Regulations Section 15301 because the modification of the Conditional Use
Permit represents the continued operation of an existing facility involving negligible or no
expansion and pursuant to Section 15061(b)(3) because the proposed modification does not
have the potential for causing a significant effect on the environment.
        SECTION 5. Pursuant to the provisions of California Civil Code Section 1670.9(d), this
approval of modification to Conditional Use Permit 02-96 shall not be considered issued,
executed or effective until July 15, 2020, which is more than 180 days from January 10, 2020, the
date of notice to the public of the proposed permitting action.
       SECTION 6. The Planning Commission hereby approves modifications to Conditional Use
Permit 02-96 subject to the following conditions of approval, attached as Attachment A and
incorporated herein.
PASSED, APPROVED AND ADOPTED by the Planning Commission this ____ day of ___________,
2020.


                                                    ___________________________________

                                                    ______________________,
                                                    Planning Commission Chairman




Attest:




______________________________
_____________________, Clerk of
The Planning Commission




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                                                                                     G484-001 -- 3819647.1
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                                      ATTACHMENT A
                    CITY OF McFARLAND PLANNING COMMISSION
                             CONDITIONS OF APPROVAL
              CONDITIONAL USE PERMIT NO. 02-96 (AMENDED 02/18/2020)


1. The name of the facility shall be the CENTRAL VALLEY ANNEX (CVA).

2. The capacity of the facility shall be 700 beds.

3. The existing and former employees of the CVA will be afforded the opportunity to apply
   for the new federal jobs and if employment criteria are met, may remain on payroll and
   transition to the new jobs, as approved by applicant and subject to impact of judicial
   action.

4. To the extent possible and if employment criteria is met, personnel employed at the
   facility will be recruited from the McFarland area.

5. Pursuant to the provisions of California Civil Code Section 1670.9(d), this approval of
   modification to Conditional Use Permit 02-96 shall not be considered issued, executed or
   effective until July 15, 2020, which is more than 180 days from January 10, 2020, the date
   of notice to the public of the proposed permitting action.

6. As Fiscal Mitigation for the Project’s impact on City Services, including, but not limited to,
   fire protection, police and public safety, and other public services, the applicant shall pay
   the City of McFarland $1.00 per bed, per day, for each of the 700 beds repurposed at
   CVA totaling $255,500.00 annually, with payments starting at initial ICE detainee intake
   and continuing for the duration of the contract. The payments shall be increased
   annually by the Consumer Price Index (All Urban Consumers) (Base Years 1982-1984 =
   100) for Los Angeles-Riverside-Orange County (the“Index”) or successor Index between
   the immediately ending calendar year and the calendar year preceding the immediately
   ending calendar year.


7. The applicant shall annex CVMCC to the City of McFarland Community Facilities Districts
   2017-1; 2017-2, and 2019-1 for: Landscaping and Street Maintenance; Police Services;
   and Fire protection. Applicant shall pay the cost of annexation estimated to be $19,500
   but subject to change upon completion of the annexations; within six months of the
   effective date of this Resolution.




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                                                                                     G484-001 -- 3819647.1
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8. Frontage Road shall be repaved to City standards from W. Sherwood Ave to Taylor
   Avenue full width and installed missing curb, gutter, sidewalk, ADA ramps and city
   standard lighting, within six months of the effective date of this Resolution.

9. There shall be a CVA Community Relations Board appointed to monitor the planning and
   ongoing running of the facility, who will report directly to the McFarland City Council.
   The Board shall be chaired by the CVA Facility Administrator and include one member of
   the City Council. The Advisory Board shall meet at least once a year.
10. The facility WILL NOT CONTAIN any federal inmates or detainees that are juveniles or
    minor children under the age of 18.
11. On a monthly basis the Facility Administrator shall provide the number of inmates or
    detainees population at the facility to the City Manager via faxed document. Failure to
    provide such inmate population figures may adversely affect the ability of the City of
    McFarland to provide the most efficient representation to the community.
12. The applicant will insure that the facility grounds, perimeter and buildings are secure,
    maintained free of weeds, trash and free of anything that could create a health & safety
    hazard or a public nuisance.
13. All curbs along public roadways on the perimeter of the facility shall be posted with “No
    Parking” signs and be painted in Red to indicate “No Parking”. This requirement is not
    discretionary and cannot be waived without the McFarland City Manager’s written
    permission. The Applicant agrees to assist the City on routine maintenance, including
    repairs, on Frontage Road and Taylor Avenue, the extent of which will be determined
    through an Agreement with the City, which Agreement shall be executed within 30 days
    of the effective date of this Resolution.
14. The applicant entered into an Indemnification Agreement with the City of McFarland
    prior to the hearing date for this Resolution.
15. The applicant shall install additional native and drought tolerant landscaping around the
    facility perimeter specifically at Mast Avenue to assist the City of McFarland with the
    Urban Heat Island Effect.
16. Upon identification of any violations of any of these Conditions of Approval (COAs), the
    City shall provide applicant a written notice specifically identifying the nature of the
    alleged violation(s) (Notice of Violation). Upon receipt of a Notice of Violation, applicant
    shall have sixty (60) days to remedy the identified violation, except in the event of exigent
    circumstances where the violation cannot be remedied within the 60 day timeframe,
    additional time shall be provided as appropriate.




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                       EXHIBIT H
7/8/2020                                                   State Officials Announce Latest COVID-19 Facts

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                  OFFICE OF PUBLIC AFFAIRS

                State O icials Announce Latest
                COVID-19 Facts
                Date: July 8, 2020
                Number: NR20-153
                Contact: CDPHpress@cdph.ca.gov

                SACRAMENTO – The California Department of Public
                Health today announced the most recent statistics on
                COVID-19.

                       California's positivity rate – a key indicator of
                       community spread – is trending upward in the
                       14-day average.
                       Hospitalization rates are also trending upward in
                       the 14-day average.
                       Numbers may not represent true day-over-day
                       change as reporting of test results can be
                       delayed, and the 7-day average more accurately
                       describes trends in number of cases. The 7-day
                       average number of new cases is 8,116 per day.
                       The 7-day average from the week prior was
                       6,062. California has 289,468 confirmed cases to
                       date. NOTE: Today's case number includes a
                       backlog reported from laboratories in Los
                       Angeles County.
                       There have been 4,996,175 tests conducted in
                       California. This represents an increase of 99,805
                       tests over the prior 24-hour reporting period. As
                       testing capacity continues to increase across the
                       state, an increase in the number of positive cases
                       has been expected – increasing the importance
                       of positivity rates to find signs of community
                       spread.
                       There have been 6,562 COVID-19 deaths since
                       the start of the pandemic.




https://www.cdph.ca.gov/Programs/OPA/Pages/NR20-153.aspx                                                    1/5
7/8/2020                                                   State Officials Announce Latest COVID-19 Facts

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                Testing in California

                As testing capacity continues to increase across the
                state, the California Department of Public Health is
                working to expand access to COVID-19 testing. Testing
                should be used for medical evaluation of persons with
                symptoms of COVID-19 as well as for e orts by public
                health agencies and essential employers to prevent
                and control the spread of COVID-19. Individuals
                prioritized for testing include:

                       Hospitalized patients
                       Symptomatic and asymptomatic healthcare
                       workers, first responders, and other social
                       service employees
                       Symptomatic individuals age 65 and older or
                       symptomatic individuals of any age with chronic
                       medical conditions that increase the risk of
                       severe COVID-19 illness
                       Individuals who are tested as part of disease
                       control e orts in high-risk settings
                       Asymptomatic residents and employees of
                       congregate living facilities when needed to
                       prevent disease transmission
                       Symptomatic and asymptomatic individuals in
                       essential occupations such as grocery store and
                       food supply workers, utility workers and public
                       employees
                       Other individuals with symptoms consistent with
                       COVID-19



                Data and Tools

https://www.cdph.ca.gov/Programs/OPA/Pages/NR20-153.aspx                                                    2/5
7/8/2020                                                   State Officials Announce Latest COVID-19 Facts

                California has collected a wide range of data
                 Case 1:20-cv-00966-TLN-AC                    to inform
                                                          Document           3-2 Filed 07/12/20 Page 73 of 194
                its response to COVID-19 and developed tools to help
                process and analyze that data. The state is making
                these data and tools open and available for
                researchers, scientists, and
                technologists at covid19.ca.gov.



                Racial Demographics – A More Complete Picture

                The California Department of Public Health is
                committed to health equity and collecting more
                detailed racial and ethnic data that will provide
                additional understanding for determining future
                action. Health outcomes are a ected by forces
                including structural racism, poverty and the
                disproportionate prevalence of underlying conditions
                such as asthma and heart disease among Latinos and
                African American Californians. Only by looking at the
                full picture can we understand how to ensure the best
                outcomes for all Californians.


                The di erences in health outcomes related to COVID-19
                are most stark in COVID-19 deaths. We have nearly
                complete data on race and ethnicity for COVID-19
                deaths, and we are seeing the following trends. Overall,
                for adults 18 and older, Latinos and African Americans
                are dying at disproportionately higher levels. The
                proportion of COVID-19 deaths in African Americans is
                more than one-and-a-half times their population
                representation across all adult age categories. More
                males are dying from COVID-19 than females, in line
                with national trends. More information is
                available at COVID-19 Race and Ethnicity Data.


                Health Care Worker Infection Rates

                As of July 7, local health departments have reported
                16,629 confirmed positive cases in health care workers
                and 95 deaths statewide.



                Your Actions Save Lives

                Every person has a role to play. Protecting yourself and
                your family comes down to common sense:




https://www.cdph.ca.gov/Programs/OPA/Pages/NR20-153.aspx                                                         3/5
7/8/2020                                                   State Officials Announce Latest COVID-19 Facts

                 CaseStaying home except for essential Document 3-2 Filed 07/12/20 Page 74 of 194
                       1:20-cv-00966-TLN-AC
                       needs/activities following local and state public
                       health guidelines when patronizing approved
                       businesses. To the extent that such sectors are
                       re-opened, Californians may leave their homes
                       to work at, patronize, or otherwise engage with
                       those businesses, establishments or activities.

                       Practicing social distancing.

                       Wearing a cloth face mask when out in public.

                       Washing hands with soap and water for a
                       minimum of 20 seconds.

                       Avoiding touching eyes, nose or mouth with
                       unwashed hands.

                       Covering a cough or sneeze with your sleeve, or
                       disposable tissue. Wash your hands a erward.

                       Avoiding close contact with people who are sick.

                       Staying away from work, school or other people
                       if you become sick with respiratory symptoms
                       like fever and cough.

                       Answer the call if a contact tracer from the CA
                       COVID Team or your local health department
                       tries to connect. Contact tracers will connect you
                       to free, confidential testing and other resources,
                       if needed.

                       Following guidance from public health o icials.


                What to Do if You Think You're Sick

                Call ahead: If you are experiencing symptoms of COVID-
                19 (fever, cough or shortness of breath), call your
                health care provider before seeking medical care so
                that appropriate precautions can be taken. More than
                100 community testing sites also o er free,
                confidential testing: Find a COVID-19 Testing Site.

                For more information about what Californians can do
                to prevent the spread of COVID-19, visit Coronavirus
                (COVID-19) in California.

                California continues to issue guidance on preparing
                and protecting California from COVID-19. Consolidated
                guidance is available on the California Department of
                Public Health's Guidance web page.


https://www.cdph.ca.gov/Programs/OPA/Pages/NR20-153.aspx                                                    4/5
7/8/2020                                                   State Officials Announce Latest COVID-19 Facts

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                 CaseLast1:20-cv-00966-TLN-AC
                          Updated : July 8, 2020              Document 3-2 Filed 07/12/20 Page 75 of 194




https://www.cdph.ca.gov/Programs/OPA/Pages/NR20-153.aspx                                                    5/5
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                        EXHIBIT I
7/8/2020                                                                        Cases in the U.S. | CDC

                                                 Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 77 of 194




      Coronavirus Disease 2019 (COVID-19)

     Cases in the U.S.
     Updated July 8, 2020                                                     Print




                                            TOTAL CASES                                                     TOTAL DEATHS

                                        2,982,900                                                            131,065
                                            50,304 New Cases*                                                 932 New Deaths*




           Want More Data?
           CDC COVID Data Tracker




     Cases & Deaths by Jurisdiction

           41 jurisdictions report more than 10,000 cases of COVID-19.

     This map shows COVID-19 cases and deaths reported by U.S. states, the District of Columbia, New York City, and other U.S.-
     a liated jurisdictions. Hover over the map to see the number of cases and deaths reported in each jurisdiction. To go to a
     jurisdiction’s health department website, click on the jurisdiction on the map.




                                                                                                          Reported Cases
                                                                                                           0 to 1,000           1,001 to 5,000

                                                                                                           5,001 to 10,000      10,001 to 20,000

                                                                                                           20,001 to 40,000     40,001 or more




                 AS     GU     MH      FM     MP     PW      PR      VI



            Jurisdictions




                                                                                                             Add U.S. Map to Your Website

https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html                                                                           1/4
7/8/2020                                                                                             Cases in the U.S. | CDC

                                                           Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 78 of 194



                 Cases & Deaths by County
                 Select a state to view the number of cases and deaths by county. This data is courtesy of USAFacts.org 


                            Select a State

                                                                                                                                                                     View County Data




     New Cases by Day
     The following chart shows the number of new COVID-19 cases reported each day in the U.S. since the beginning of the
     outbreak. Hover over the bars to see the number of new cases by day.




                            55,000
      Number of New Cases




                            50,000
                            45,000
                            40,000
                            35,000
                            30,000
                            25,000
                            20,000
                            15,000                                                                                                                                       07/07/2020
                            10,000
                                                                                                                                                                            Cases   50,304
                             5,000
                                 0
                                     01/22/2020    02/08/2020    02/25/2020    03/13/2020   03/30/2020      04/16/2020    05/03/2020       05/20/2020   06/06/2020    06/23/2020




                                                                                                    Cases       Reset




             View Data




     Cases & Deaths among Healthcare Personnel
     Data were collected from 2,453,248 people, but healthcare personnel status was only available for 525,425 (21.4%) people.
     For the 95,175 cases of COVID-19 among healthcare personnel, death status was only available for 62,631 (65.8%).




                                                  CASES AMONG HCP                                                                      DEATHS AMONG HCP

                                                      95,175                                                                                        512



                     Previous Data



                            CDC has moved the following information to the Previous U.S. COVID-19 Case Data page.

                                Level of community transmission by jurisdiction — last updated May 18, 2020
                                Total number of cases by day — last updated April 28, 2020
                                Number of cases by source of exposure — last updated April 16, 2020
                                N     b      f         f        W h      Chi         d th Di             dP i              i      l    t      d t dA      il 16 2020
https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html                                                                                                                     2/4
7/8/2020                                                                   Cases in the U.S. | CDC

                 Number of cases from Wuhan,
                                    Case       China and the Diamond
                                         1:20-cv-00966-TLN-AC        Princess
                                                               Document       cruise
                                                                        3-2 Filed     — lastPage
                                                                                  07/12/20   updated
                                                                                                 79 ofApril
                                                                                                      194 16, 2020
                 Number of cases by illness start date — last updated April 15, 2020




           About the Data



            Updated Daily


            This page is updated daily based on data con rmed at 4:00pm ET the day before.




            Reported by Jurisdiction’s Health Department

            Data on this page are reported voluntarily to CDC by each jurisdiction’s health department. CDC encourages all
            jurisdictions to report the most complete and accurate information that best represents the current status of the
            pandemic in their jurisdiction.




            Number of Jurisdictions


            There are currently 56 U.S.-a liated jurisdictions reporting cases of COVID-19. This includes 50 states, District of
            Columbia, Guam, New York City, the Northern Mariana Islands, Puerto Rico, and the U.S Virgin Islands. New York
            State’s case and death counts do not include New York City’s counts as they are separate jurisdictions.




            Con rmed & Probable Counts

            As of April 14, 2020, CDC case counts and death counts include both con rmed and probable cases and deaths. This
            change was made to re ect an interim COVID-19 position statement   issued by the Council for State and
            Territorial Epidemiologists on April 5, 2020. The position statement included a case de nition and made COVID-19 a
            nationally noti able disease. Nationally noti able disease cases are voluntarily reported to CDC by jurisdictions.


            A con rmed case or death is de ned by meeting con rmatory laboratory evidence for COVID-19.

            A probable case or death is de ned by one of the following:

                 Meeting clinical criteria AND epidemiologic evidence with no con rmatory laboratory testing performed for
                 COVID-19
                 Meeting presumptive laboratory evidence AND either clinical criteria OR epidemiologic evidence
                 Meeting vital records criteria with no con rmatory laboratory testing performed for COVID19


            Not all jurisdictions report con rmed and probable cases and deaths to CDC. When not available to CDC, it is noted
            as N/A.




            Accuracy of Data

            CDC does not know the exact number of COVID-19 illnesses, hospitalizations, and deaths for a variety of reasons.
            COVID-19 can cause mild illness, symptoms might not appear immediately, there are delays in reporting and testing,
            not everyone who is infected gets tested or seeks medical care, and there may be di erences in how jurisdictions
            con rm numbers.




https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html                                                           3/4
7/8/2020                                                                        Cases in the U.S. | CDC

                                                 Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 80 of 194
            Changes & Fluctuations in Data

            Health departments may update case data over time when they receive more complete and accurate information.

            The number of new cases reported each day uctuates. There is generally less reporting on the weekends and
            holidays.




            Di erences between CDC and Jurisdiction Data


            If the number of cases or deaths reported by CDC is di erent from the number reported by jurisdiction health
            departments, data reported by jurisdictions should be considered the most up to date. The di erences may be due
            to the timing of the reporting and website updates.




           More Information

            COVIDView – A Weekly Surveillance Summary of U.S. COVID-19 Activity

            Previous U.S. COVID-19 Case Data

            FAQ: COVID-19 Data and Surveillance


            Testing Data in the U.S.


            World Map


            Health Departments



                                                                                                                        Page last reviewed: July 8, 2020

     COVID-2019 Menu

                Coronavirus Home

                Your Health

                Community, Work & School

                Healthcare Workers

                Laboratories

                Health Departments

                Cases, Data & Surveillance

                More Resources




https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html                                                                                   4/4
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                        EXHIBIT J
7/8/2020                                                          ICE Guidance on COVID-19 | ICE
     Official Website
                  Caseof the1:20-cv-00966-TLN-AC
                             Department of Homeland Security
                                                           Document          3-2 Filed 07/12/20 Page 82 of 194



Report Crimes: Email or Call 1-866-DHS-2-ICE

NOTICE

Click here for the latest ICE guidance on COVID-19


   ICE Guidance on COVID-19
       Overview &            Employee           ICE Detainee        Judicial              Previous
       FAQs                  Confirmed          Statistics          Releases              Statements
                             Cases


           ICE
        EMPLOYEES
                           There have been 45 confirmed cases of COVID-19 among ICE employees
            AT             working in ICE detention facilities.
        DETENTION
         CENTERS                  1 at Adelanto ICE Processing Center (Adelanto, CA)

            45                    15 at Alexandria Staging Facility (Alexandria, LA)

                                  2 at Aurora Contract Detention Facility (Aurora, CO)

                                  1 in Bergen County Jail (Hackensack, NJ)

                                  1 at Butler County Jail (Hamilton, OH)

                                  1 at El Paso Processing Center (El Paso, TX)

                                  2 at Elizabeth Contract Detention Facility (Elizabeth, NJ)

                                  1 at Eloy Detention Center (Eloy, AZ)

                                  1 at Essex County Correctional Facility (Newark, NJ)

                                  1 at Florence Correctional Center (Florence, AZ)

                                  2 at Houston Contract Detention Facility (Houston, TX)

                                  1 at Hudson County Jail (Kearny, NJ)

                                  2 at La Salle ICE Processing Center (Jena, AL)

                                  11 at Otay Mesa Detention Center (San Diego, CA)

                                  2 at Stewart Detention Center (Lumpkin, GA)

                                  1 at T. Don Hutto Residential Center (Taylor, TX)


                                                                                         Updated 06/18/2020 4:55pm



           ICE
        EMPLOYEES          There have been 153 confirmed cases of COVID-19 among ICE employees
                           not assigned to detention facilities.
           153

                                                                                         Updated 06/18/2020 4:55pm

Last Reviewed/Updated: 07/08/2020




https://www.ice.gov/coronavirus                                                                                      1/2
7/8/2020                                        ICE Guidance on COVID-19 | ICE

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https://www.ice.gov/coronavirus                                                           2/2
7/8/2020                                                           ICE Guidance on COVID-19 | ICE
     Official Website
                  Caseof the1:20-cv-00966-TLN-AC
                             Department of Homeland Security
                                                           Document           3-2 Filed 07/12/20 Page 84 of 194



Report Crimes: Email or Call 1-866-DHS-2-ICE

NOTICE

Click here for the latest ICE guidance on COVID-19


   ICE Guidance on COVID-19
       Overview &               Employee          ICE Detainee        Judicial            Previous
       FAQs                     Confirmed         Statistics          Releases            Statements
                                Cases



     Page information is recorded from a live database; data may change as the agency
     receives updated case information.



         DETAINED                      COVID-19 POSITIVE CASES                        DETAINEES
       POPULATION 1                    CURRENTLY IN CUSTODY 2                          TESTED
           AS OF 07/04/2020          UNDER ISOLATION OR MONITORING AS OF              AS OF 07/03/2020
                                                  07/07/2020
              22,579                                                                     11,828
                                                    835


                              COVID-19 ICE Detainee Statistics by Facility
                                              AS OF 07/07/2020

                                                       Confirmed
                                                 cases currently under     Detainee    Total confirmed
              Custody/AOR/Facility              isolation or monitoring    deaths 3   COVID-19 cases 4
  Atlanta Field Office
  Charleston County Detention Center                      2                   0                 2
  Folkston ICE Processing Center
                                                          6                   0                 6
  (D. Ray James)
  Irwin County Detention Center                           13                  0                 15
  Stewart Detention Center                                33                  1                 64
  Boston Field Office
  Bristol County Detention Center                         0                   0                 1
  Franklin County House of Corrections                    5                   0                 6
  Strafford County Corrections                            2                   0                 2
  Wyatt Detention Center                                  0                   0                 2
  Buffalo Field Office
  Buffalo (Batavia) Service Processing
                                                          0                   0                 49
  Center
  Chicago Field Office
  Lincoln County Detention Center                         0                   0                 1
  Pulaski County Detention Center                         5                   0                 50
  Dallas Field Office

https://www.ice.gov/coronavirus                                                                                   1/4
7/8/2020                                                    ICE Guidance on COVID-19 | ICE

                   Case 1:20-cv-00966-TLN-AC    Document 3-2 Filed 07/12/20 Page 85 of 194
                                        Confirmed
                                          cases currently under    Detainee    Total confirmed
            Custody/AOR/Facility         isolation or monitoring   deaths 3   COVID-19 cases 4
  Bluebonnet Detention Facility                   151                  0              286
  Johnson County Law Enforcement
                                                   1                   0               1
  Center
  Moore Detention Center                           12                  0              12
  Prairieland Detention Facility                   11                  0              55
  Rolling Plains Detention Center                  14                  0              55
  Denver Field Office
  Aurora Contract Detention Facility               10                  0              17
  Detroit Field Office
  Calhoun County Correctional Center               3                   0               6
  Morrow County Correctional Facility              0                   0              48
  Saint Clair County Jail                          3                   0              10
  El Paso Field Office
  El Paso Service Processing Center                21                  0              133
  Otero County Processing Center                   1                   0              142
  Torrance County Detention Center                 31                  0              55
  Houston Field Office
  Houston Contract Detention Facility              2                   0              106
  IAH Polk Adult Detention Facility                0                   0              16
  Joe Corley Detention Center                      1                   0              42
  Montgomery Processing Center
                                                   23                  0              202
  (Houston)
  Los Angeles Field Office
  Adelanto ICE Processing Center                   11                  0              14
  Miami Field Office
  Broward Transitional Center                      9                   0              29
  Glades County Detention Center                   49                  0              114
  Krome North Service Processing
                                                   7                   0              41
  Center
  Wakulla County Jail                              1                   0               1
  Newark Field Office
  Elizabeth Detention Center                       0                   0              18
  Essex County Jail                                6                   0               8
  New Orleans Field Office
  Adams County Correctional Center                 0                   0              35
  Alexandria Staging Facility                      22                  0              80
  Catahoula Correctional Center                    56                  0              108
  Etowah County Jail                               0                   0               1
  Jackson Parish Correctional                      2                   0               2
  LaSalle ICE Processing Center - Jena             1                   0              16
  LaSalle ICE Processing Center - Olla             9                   0              15

https://www.ice.gov/coronavirus                                                                  2/4
7/8/2020                                                    ICE Guidance on COVID-19 | ICE

                   Case 1:20-cv-00966-TLN-AC    Document 3-2 Filed 07/12/20 Page 86 of 194
                                        Confirmed
                                          cases currently under    Detainee    Total confirmed
            Custody/AOR/Facility         isolation or monitoring   deaths 3   COVID-19 cases 4

  Pine Prairie ICE Processing Center               0                   0               30
  Richwood Correctional Center                     0                   0               65
  River Correctional Center                        5                   0                7
  South Louisiana Correctional Center              2                   0                2
  Winn Correctional Center                         1                   0              122
  New York City Field Office
  Bergen County Jail                               0                   0                2
  Hudson County Jail                               5                   0               14
  Philadelphia Field Office
  Pike County Correctional Facility                0                   0               22
  York County Prison                               0                   0                1
  Phoenix Field Office
  CCA Florence Correctional Center                 4                   0               11
  Eloy Federal Contract Facility                  110                  0              244
  Florence Detention Center                        2                   0               34
  La Palma Correctional Facility                   7                   0               99
  Salt Lake City Field Office
  Nevada Southern Detention Center                 4                   0                4
  San Antonio Field Office
  El Valle Detention Facility                      2                   0                2
  Karnes County Residential Center                 30                  0               30
  Port Isabel Detention Center                     11                  0               83
  South Texas ICE Processing Center
                                                   14                  0               61
  (Pearsall)
  Webb County Detention Center (CCA)               5                   0                6
  San Diego Field Office
  Imperial Regional Detention Facility             0                   0                2
  Otay Mesa Detention Center (San
                                                   4                   1              168
  Diego CDF)
  San Luis Regional Detention Center               2                   0                7
  Seattle Field Office
  Tacoma ICE Processing Center
                                                   1                   0                4
  (Northwest Detention Center)
  St. Paul Field Office
  Polk County Jail                                 1                   0               12
  Washington D.C. Field Office
  Caroline Detention Facility                      0                   0                3
  Immigration Centers of America -
                                                  102                  0              106
  Farmville
  TOTAL                                           835                  2             3,007

                                                                                Updated 07/08/2020 5:30pm



https://www.ice.gov/coronavirus                                                                             3/4
7/8/2020                                                       ICE Guidance on COVID-19 | ICE
1
                  Case 1:20-cv-00966-TLN-AC
    ICE's FY 2019 Average Daily Population was 50,165.      Document 3-2 Filed 07/12/20 Page 87 of 194
2 "Currently under isolation or monitoring" includes detainees who tested positive for COVID-19 and are
currently in ICE custody under isolation or monitoring. This number excludes detainees who previously
tested positive for COVID-19 and were either returned to the general population after a discontinuation of
medical monitoring/isolation or are no longer in ICE custody.

3"Detainee deaths" includes detainees who have died after testing positive for COVID-19 while in ICE
custody; COVID-19 may not be the official cause of death.

4 "Total confirmed COVID-19 cases" is the cumulative total of detainees who have tested positive for
COVID-19 while in ICE custody since testing began in February 2020. Some detainees may no longer be
in ICE custody or may have since tested negative for the virus.

↑ Return to top

Last Reviewed/Updated: 07/08/2020




https://www.ice.gov/coronavirus                                                                              4/4
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                       EXHIBIT K
7/8/2020                                                FacilityDetail

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   Our Locations




                                                                                          
https://www.geogroup.com/FacilityDetail/FacilityID/24                                         1/5
7/8/2020                                                                FacilityDetail

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                                                                                         Back To Location   (/Geo-Locations)
       Adelanto ICE Processing Center

                 10400 Rancho Road, Adelanto, CA 92301

                 (760) 561-6100

                  Fax: (760) 561-6195



           Capacity: 1,940


           Client: U.S. Immigration & Customs Enforcement (ICE)


           Accreditations: American Correctional Association (ACA) and National Commission on
           Correctional Health Care (NCCHC)




                                                                   $15,000
                                                        Annually Given to Scholarships

           BACKGROUND


           Adelanto ICE Processing Center was purchased by The GEO Group, Inc. (GEO) in June
           2010 from the City of Adelanto. On May 27, 2011, GEO entered into contract with U.S.
           Immigration & Customs Enforcement (ICE), through an intergovernmental service
           agreement with the City of Adelanto.


   SCOPE OF WORK:


   Medical care, food service, laundry, and general living conditions are provided in accordance
   with standards required ICE. Visitation, commissary, library, and legal services are provided as
   well.
https://www.geogroup.com/FacilityDetail/FacilityID/24                                                                          2/5
7/8/2020                                                FacilityDetail

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   FACILITY DESCRIPTION:

   The 408,316 sq. ft. center features a medical area, library, kitchen and dining areas,
   multipurpose room, visitation area and other support areas.


   ACCREDITATION:

   The center achieved their reaccreditation through the American Correctional Association in
   2017 with a score of 99.6%. The facility also received accreditation from the National
   Commission on Correctional Health Care (NCCHC) in 2016.



           Back To Location (/Geo-Locations)


   ADELANTO ICE PROCESSING CENTER IN THE NEWS:




   Victims of theft, Adelanto Little League gets lift from $10K
https://www.geogroup.com/FacilityDetail/FacilityID/24                                           3/5
7/8/2020
                                     ,                                 g         g
                                                                       FacilityDetail

   donation
          Case 1:20-cv-00966-TLN-AC                       Document 3-2 Filed 07/12/20 Page 92 of 194

      DATE PUBLISHED: 03/13/2018 SHARE STORY:
                                                        (mailto:) ()        ()


   ADELANTO — After the third round of storage facility thefts in two months, the Little League here
   was granted a bit of relief to the tune of $10,000 worth of new equipment.
   The monetar READ MORE (/News-Detail/tabid/189/NewsID/482/Default.aspx)




   Bike giveaways, dignitaries mark jubilee for Adelanto's 45th year
      DATE PUBLISHED: 12/10/2015 SHARE STORY:
                                                        (mailto:) ()        ()


    A 5-year-old boy was called to the front of the dais, weaving his way between seats and holding on
   to his mother's hand. The child strolled down an aisle anked by a full crowd and collected READ
   MORE (/News-Detail/tabid/189/NewsID/62/Default.aspx)




https://www.geogroup.com/FacilityDetail/FacilityID/24                                                    4/5
7/8/2020                                                               FacilityDetail

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                                           (https://www.youtube.com/user/TheGEOGroupInc)



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                                                 (https://adasitecompliance.com/xap_geo/)




                                                                 (http://www.aca.org/) (http://www.iso.org/iso/home.html)
                                                                              (https://www.jointcommission.org/)
                                                                                                         (http://www.ncchc.org/)
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                                                                    ww.sacs.org/) (http://nsca.org.au/) (http://www.achs.org.au/)




                                     Sign Up For GEO Newsletter
                                      Enter email address & receive the GEO Newsletter by e-mail:

                                                 Enter Your Email Address               SIGN UP




https://www.geogroup.com/FacilityDetail/FacilityID/24                                                                                      5/5
Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 94 of 194




                       EXHIBIT L
       Interim
            Case Guidance       on Management
                 1:20-cv-00966-TLN-AC Document 3-2 Filedof Coronavirus
                                                        07/12/20 Page 95 of 194Disease

       2019 (COVID-19) in Correctional and Detention Facilities

  This interim guidance is based on what is currently known about the transmission and severity of corona-
  virus disease 2019 (COVID-19) as of March 23, 2020.
  The US Centers for Disease Control and Prevention (CDC) will update this guidance as needed and as
  additional information becomes available. Please check the following CDC website periodically for updated
  interim guidance: https://www.cdc.gov/coronavirus/2019-ncov/index.html.
  This document provides interim guidance specific for correctional facilities and detention centers during the
  outbreak of COVID-19, to ensure continuation of essential public services and protection of the health and
  safety of incarcerated and detained persons, staff, and visitors. Recommendations may need to be revised as
  more information becomes available.

                                              Who is the intended audience
  In this guidance                            for this guidance?
  • Who is the intended audience for this
                                              This document is intended to
    guidance?
                                              provide guiding principles for
  • Why is this guidance being issued?        healthcare and non-healthcare
  • What topics does this guidance            administrators of correctional
    include?                                  and detention facilities
                                              (including but not limited
  • Definitions of Commonly Used Terms        to federal and state prisons,
  • Facilities with Limited Onsite            local jails, and detention centers),
    Healthcare Services                       law enforcement agencies that
                                              have custodial authority for detained populations (i.e., US
  • COVID-19 Guidance for Correctional        Immigration and Customs Enforcement and US Marshals
    Facilities                                Service), and their respective health departments, to assist in
  • Operational Preparedness                  preparing for potential introduction, spread, and mitigation
                                              of COVID-19 in their facilities. In general, the document uses
  • Prevention
                                              terminology referring to correctional environments but can also
  • Management                                be applied to civil and pre-trial detention settings.
  • Infection Control                         This guidance will not necessarily address every possible
  • Clinical Care of COVID-19 Cases           custodial setting and may not use legal terminology specific
  • Recommended PPE and PPE Training          to individual agencies’ authorities or processes. The guidance
                                              may need to be adapted based on individual facilities’
    for Staff and Incarcerated/Detained
                                              physical space, staffing, population, operations, and
    Persons
                                              other resources and conditions. Facilities should contact
  • Verbal Screening and Temperature          CDC or their state, local, territorial, and/or tribal public health
    Check Protocols for Incarcerated/         department if they need assistance in applying these principles
    Detained Persons, Staff, and Visitors     or addressing topics that are not specifically covered in this
                                              guidance.




                                                            cdc.gov/coronavirus
CS 316182-A   03/27/2020
          Case 1:20-cv-00966-TLN-AC Document 3-2                   Filed 07/12/20 Page 96 of 194
Why is this guidance being issued?
Correctional and detention facilities can include custody, housing, education, recreation, healthcare, food
service, and workplace components in a single physical setting. The integration of these components presents
unique challenges for control of COVID-19 transmission among incarcerated/detained persons, staff, and
visitors. Consistent application of specific preparation, prevention, and management measures can help
reduce the risk of transmission and severe disease from COVID-19.
• Incarcerated/detained persons live, work, eat, study, and recreate within congregate environments,
  heightening the potential for COVID-19 to spread once introduced.
• In most cases, incarcerated/detained persons are not permitted to leave the facility.
• There are many opportunities for COVID-19 to be introduced into a correctional or detention facility,
  including daily staff ingress and egress; transfer of incarcerated/detained persons between facilities and
  systems, to court appearances, and to outside medical visits; and visits from family, legal representatives,
  and other community members. Some settings, particularly jails and detention centers, have high turnover,
  admitting new entrants daily who may have been exposed to COVID-19 in the surrounding community or
  other regions.
• Persons incarcerated/detained in a particular facility often come from a variety of locations, increasing the
  potential to introduce COVID-19 from different geographic areas.
• Options for medical isolation of COVID-19 cases are limited and vary depending on the type and size of
  facility, as well as the current level of available capacity, which is partly based on medical isolation needs for
  other conditions.
• Adequate levels of custody and healthcare staffing must be maintained to ensure safe operation of the
  facility, and options to practice social distancing through work alternatives such as working from home or
  reduced/alternate schedules are limited for many staff roles.
• Correctional and detention facilities can be complex, multi-employer settings that include government
  and private employers. Each is organizationally distinct and responsible for its own operational, personnel,
  and occupational health protocols and may be prohibited from issuing guidance or providing services to
  other employers or their staff within the same setting. Similarly, correctional and detention facilities may
  house individuals from multiple law enforcement agencies or jurisdictions subject to different policies and
  procedures.
• Incarcerated/detained persons and staff may have medical conditions that increase their risk of severe
  disease from COVID-19.
• Because limited outside information is available to many incarcerated/detained persons, unease and
  misinformation regarding the potential for COVID-19 spread may be high, potentially creating security and
  morale challenges.
• The ability of incarcerated/detained persons to exercise disease prevention measures (e.g., frequent
  handwashing) may be limited and is determined by the supplies provided in the facility and by security
  considerations. Many facilities restrict access to soap and paper towels and prohibit alcohol-based hand
  sanitizer and many disinfectants.
• Incarcerated persons may hesitate to report symptoms of COVID-19 or seek medical care due to co-pay
  requirements and fear of isolation.
CDC has issued separate COVID-19 guidance addressing healthcare infection control and clinical care of
COVID-19 cases as well as close contacts of cases in community-based settings. Where relevant, commu-
nity-focused guidance documents are referenced in this document and should be monitored regularly for
updates, but they may require adaptation for correctional and detention settings.

                                                          2
This guidanceCase   1:20-cv-00966-TLN-AC
              document                          Document 3-2
                          provides additional recommended   bestFiled  07/12/20
                                                                 practices         Page
                                                                           specifically for97 of 194 and
                                                                                            correctional
detention facilities. At this time, different facility types (e.g., prison vs. jail) and sizes are not differ-
entiated. Administrators and agencies should adapt these guiding principles to the specific needs
of their facility.

What topics does this guidance include?
The guidance below includes detailed recommendations on the following topics related to COVID-19 in correc-
tional and detention settings:
√ Operational and communications preparations for COVID-19
√ Enhanced cleaning/disinfecting and hygiene practices
√ Social distancing strategies to increase space between individuals in the facility
√ How to limit transmission from visitors
√ Infection control, including recommended personal protective equipment (PPE) and potential alternatives
  during PPE shortages
√ Verbal screening and temperature check protocols for incoming incarcerated/detained individuals, staff,
  and visitors
√ Medical isolation of confirmed and suspected cases and quarantine of contacts, including considerations
  for cohorting when individual spaces are limited
√ Healthcare evaluation for suspected cases, including testing for COVID-19
√ Clinical care for confirmed and suspected cases
√ Considerations for persons at higher risk of severe disease from COVID-19

Definitions of Commonly Used Terms
Close contact of a COVID-19 case—In the context of COVID-19, an individual is considered a close contact
if they a) have been within approximately 6 feet of a COVID-19 case for a prolonged period of time or b)
have had direct contact with infectious secretions from a COVID-19 case (e.g., have been coughed on). Close
contact can occur while caring for, living with, visiting, or sharing a common space with a COVID-19 case.
Data to inform the definition of close contact are limited. Considerations when assessing close contact include
the duration of exposure (e.g., longer exposure time likely increases exposure risk) and the clinical symptoms
of the person with COVID-19 (e.g., coughing likely increases exposure risk, as does exposure to a severely ill
patient).
Cohorting—Cohorting refers to the practice of isolating multiple laboratory-confirmed COVID-19 cases
together as a group, or quarantining close contacts of a particular case together as a group. Ideally, cases
should be isolated individually, and close contacts should be quarantined individually. However, some
correctional facilities and detention centers do not have enough individual cells to do so and must consider
cohorting as an alternative. See Quarantine and Medical Isolation sections below for specific details about
ways to implement cohorting to minimize the risk of disease spread and adverse health outcomes.
Community transmission of COVID-19—Community transmission of COVID-19 occurs when individuals
acquire the disease through contact with someone in their local community, rather than through travel to an
affected location. Once community transmission is identified in a particular area, correctional facilities and
detention centers are more likely to start seeing cases inside their walls. Facilities should consult with local
public health departments if assistance is needed in determining how to define “local community” in the
context of COVID-19 spread. However, because all states have reported cases, all facilities should be vigilant
for introduction into their populations.

                                                        3
Confirmed vs.Case   1:20-cv-00966-TLN-AC
                 Suspected   COVID-19 case—A       Document
                                                     confirmed3-2case Filed  07/12/20
                                                                       has received      Pageresult
                                                                                    a positive 98 offrom
                                                                                                     194 a COVID-19
laboratory test, with or without symptoms. A suspected case shows symptoms of COVID-19 but either has not
been tested or is awaiting test results. If test results are positive, a suspected case becomes a confirmed case.
Incarcerated/detained persons—For the purpose of this document, “incarcerated/detained persons”
refers to persons held in a prison, jail, detention center, or other custodial setting where these guidelines are
generally applicable. The term includes those who have been sentenced (i.e., in prisons) as well as those held
for pre-trial (i.e., jails) or civil purposes (i.e, detention centers). Although this guidance does not specifically
reference individuals in every type of custodial setting (e.g., juvenile facilities, community confinement facil-
ities), facility administrators can adapt this guidance to apply to their specific circumstances as needed.
Medical Isolation—Medical isolation refers to confining a confirmed or suspected COVID-19 case (ideally
to a single cell with solid walls and a solid door that closes), to prevent contact with others and to reduce the
risk of transmission. Medical isolation ends when the individual meets pre-established clinical and/or testing
criteria for release from isolation, in consultation with clinical providers and public health officials (detailed
in guidance below). In this context, isolation does NOT refer to punitive isolation for behavioral infractions
within the custodial setting. Staff are encouraged to use the term “medical isolation” to avoid confusion.
Quarantine—Quarantine refers to the practice of confining individuals who have had close contact with
a COVID-19 case to determine whether they develop symptoms of the disease. Quarantine for COVID-19
should last for a period of 14 days. Ideally, each quarantined individual would be quarantined in a single cell
with solid walls and a solid door that closes. If symptoms develop during the 14-day period, the individual
should be placed under medical isolation and evaluated for COVID-19. If symptoms do not develop,
movement restrictions can be lifted, and the individual can return to their previous residency status within
the facility.
Social Distancing—Social distancing is the practice of increasing the space between individuals and
decreasing the frequency of contact to reduce the risk of spreading a disease (ideally to maintain at least 6 feet
between all individuals, even those who are asymptomatic). Social distancing strategies can be applied on an
individual level (e.g., avoiding physical contact), a group level (e.g., canceling group activities where individuals
will be in close contact), and an operational level (e.g., rearranging chairs in the dining hall to increase
distance between them). Although social distancing is challenging to practice in correctional and detention
environments, it is a cornerstone of reducing transmission of respiratory diseases such as COVID-19.
Additional information about social distancing, including information on its use to reduce the spread of other
viral illnesses, is available in this CDC publication.
Staff—In this document, “staff” refers to all public sector employees as well as those working for a private
contractor within a correctional facility (e.g., private healthcare or food service). Except where noted, “staff”
does not distinguish between healthcare, custody, and other types of staff including private facility operators.
Symptoms—Symptoms of COVID-19 include fever, cough, and shortness of breath. Like other respiratory
infections, COVID-19 can vary in severity from mild to severe. When severe, pneumonia, respiratory failure,
and death are possible. COVID-19 is a novel disease, therefore the full range of signs and symptoms, the
clinical course of the disease, and the individuals and populations most at risk for disease and complications
are not yet fully understood. Monitor the CDC website for updates on these topics.

Facilities with Limited Onsite Healthcare Services
Although many large facilities such as prisons and some jails usually employ onsite healthcare staff and have
the capacity to evaluate incarcerated/detained persons for potential illness within a dedicated healthcare
space, many smaller facilities do not. Some of these facilities have access to on-call healthcare staff or
providers who visit the facility every few days. Others have neither onsite healthcare capacity nor onsite
medical isolation/quarantine space and must transfer ill patients to other correctional or detention facilities
or local hospitals for evaluation and care.

                                                          4
The majorityCase
               of the1:20-cv-00966-TLN-AC
                      guidance below is designedDocument     3-2to any
                                                  to be applied    Filed 07/12/20 orPage
                                                                       correctional            99 offacility,
                                                                                         detention   194 either
as written or with modifications based on a facility’s individual structure and resources. However, topics
related to healthcare evaluation and clinical care of confirmed and suspected COVID-19 cases and their close
contacts may not apply directly to facilities with limited or no onsite healthcare services. It will be especially
important for these types of facilities to coordinate closely with their state, local, tribal, and/or territorial
health department when they encounter confirmed or suspected cases among incarcerated/detained persons
or staff, in order to ensure effective medical isolation and quarantine, necessary medical evaluation and care,
and medical transfer if needed. The guidance makes note of strategies tailored to facilities without onsite
healthcare where possible.
Note that all staff in any sized facility, regardless of the presence of onsite healthcare services, should observe
guidance on recommended PPE in order to ensure their own safety when interacting with confirmed and
suspected COVID-19 cases. Facilities should make contingency plans for the likely event of PPE shortages
during the COVID-19 pandemic.

COVID-19 Guidance for Correctional Facilities
Guidance for correctional and detention facilities is organized into 3 sections: Operational Preparedness,
Prevention, and Management of COVID-19. Recommendations across these sections can be applied simulta-
neously based on the progress of the outbreak in a particular facility and the surrounding community.
• Operational Preparedness. This guidance is intended to help facilities prepare for potential COVID-19
  transmission in the facility. Strategies focus on operational and communications planning and personnel
  practices.
• Prevention. This guidance is intended to help facilities prevent spread of COVID-19 from outside the
  facility to inside. Strategies focus on reinforcing hygiene practices, intensifying cleaning and disinfection
  of the facility, screening (new intakes, visitors, and staff), continued communication with incarcerated/
  detained persons and staff, and social distancing measures (increasing distance between individuals).
• Management. This guidance is intended to help facilities clinically manage confirmed and suspected
  COVID-19 cases inside the facility and prevent further transmission. Strategies include medical isolation
  and care of incarcerated/detained persons with symptoms (including considerations for cohorting),
  quarantine of cases’ close contacts, restricting movement in and out of the facility, infection control
  practices for individuals interacting with cases and quarantined contacts or contaminated items, intensified
  social distancing, and cleaning and disinfecting areas visited by cases.

Operational Preparedness
Administrators can plan and prepare for COVID-19 by ensuring that all persons in the facility know the
symptoms of COVID-19 and how to respond if they develop symptoms. Other essential actions include
developing contingency plans for reduced workforces due to absences, coordinating with public health and
correctional partners, and communicating clearly with staff and incarcerated/detained persons about these
preparations and how they may temporarily alter daily life.

Communication & Coordination
√ Develop information-sharing systems with partners.
      ο Identify points of contact in relevant state, local, tribal, and/or territorial public health departments
        before cases develop. Actively engage with the health department to understand in advance which
        entity has jurisdiction to implement public health control measures for COVID-19 in a particular
        correctional or detention facility.
      ο Create and test communications plans to disseminate critical information to incarcerated/detained
        persons, staff, contractors, vendors, and visitors as the pandemic progresses.

                                                         5
          Case 1:20-cv-00966-TLN-AC
     ο Communicate                          Document
                      with other correctional facilities in3-2  Filed geographic
                                                            the same  07/12/20 area
                                                                                 Page
                                                                                    to 100
                                                                                       shareofinformation
                                                                                               194
       including disease surveillance and absenteeism patterns among staff.
     ο Where possible, put plans in place with other jurisdictions to prevent confirmed and suspected
       COVID-19 cases and their close contacts from being transferred between jurisdictions and facilities
       unless necessary for medical evaluation, medical isolation/quarantine, clinical care, extenuating
       security concerns, or to prevent overcrowding.
     ο Stay informed about updates to CDC guidance via the CDC COVID-19 website as more information
       becomes known.
√ Review existing pandemic flu, all-hazards, and disaster plans, and revise for COVID-19.
     ο Ensure that physical locations (dedicated housing areas and bathrooms) have been identified
       to isolate confirmed COVID-19 cases and individuals displaying COVID-19 symptoms, and to
       quarantine known close contacts of cases. (Medical isolation and quarantine locations should be
       separate). The plan should include contingencies for multiple locations if numerous cases and/
       or contacts are identified and require medical isolation or quarantine simultaneously. See Medical
       Isolation and Quarantine sections below for details regarding individual medical isolation and
       quarantine locations (preferred) vs. cohorting.
     ο Facilities without onsite healthcare capacity should make a plan for how they will ensure that
       suspected COVID-19 cases will be isolated, evaluated, tested (if indicated), and provided necessary
       medical care.
     ο Make a list of possible social distancing strategies that could be implemented as needed at different
       stages of transmission intensity.
     ο Designate officials who will be authorized to make decisions about escalating or de-escalating
       response efforts as the epidemiologic context changes.
√ Coordinate with local law enforcement and court officials.
     ο Identify lawful alternatives to in-person court appearances, such as virtual court, as a social
       distancing measure to reduce the risk of COVID-19 transmission.
     ο Explore strategies to prevent over-crowding of correctional and detention facilities during a
       community outbreak.
√ Post signage throughout the facility communicating the following:
     ο For all: symptoms of COVID-19 and hand hygiene instructions
     ο For incarcerated/detained persons: report symptoms to staff
     ο For staff: stay at home when sick; if symptoms develop while on duty, leave the facility as soon
       as possible and follow CDC-recommended steps for persons who are ill with COVID-19 symptoms
       including self-isolating at home, contacting their healthcare provider as soon as possible to
       determine whether they need to be evaluated and tested, and contacting their supervisor.
     ο Ensure that signage is understandable for non-English speaking persons and those with low literacy,
       and make necessary accommodations for those with cognitive or intellectual disabilities and those
       who are deaf, blind, or low-vision.

Personnel Practices
√ Review the sick leave policies of each employer that operates in the facility.
     ο Review policies to ensure that they actively encourage staff to stay home when sick.
     ο If these policies do not encourage staff to stay home when sick, discuss with the contract company.
     ο Determine which officials will have the authority to send symptomatic staff home.


                                                      6
√ IdentifyCase
           staff1:20-cv-00966-TLN-AC    Document
                 whose duties would allow         3-2 Filed
                                          them to work   from 07/12/20 Page
                                                              home. Where     101 of 194
                                                                            possible, allowing
  staff to work from home can be an effective social distancing strategy to reduce the risk of
  COVID-19 transmission.
      ο Discuss work from home options with these staff and determine whether they have the supplies and
        technological equipment required to do so.
      ο Put systems in place to implement work from home programs (e.g., time tracking, etc.).
√ Plan for staff absences. Staff should stay home when they are sick, or they may need to stay home to
  care for a sick household member or care for children in the event of school and childcare dismissals.
      ο Allow staff to work from home when possible, within the scope of their duties.
      ο Identify critical job functions and plan for alternative coverage by cross-training staff where possible.
      ο Determine minimum levels of staff in all categories required for the facility to function safely. If
        possible, develop a plan to secure additional staff if absenteeism due to COVID-19 threatens to bring
        staffing to minimum levels.
      ο Consider increasing keep on person (KOP) medication orders to cover 30 days in case of healthcare
        staff shortages.
√ Consider offering revised duties to staff who are at higher risk of severe illness with COVID-19.
  Persons at higher risk may include older adults and persons of any age with serious underlying medical
  conditions including lung disease, heart disease, and diabetes. See CDC’s website for a complete list, and
  check regularly for updates as more data become available to inform this issue.
      ο Facility administrators should consult with their occupational health providers to determine whether
        it would be allowable to reassign duties for specific staff members to reduce their likelihood of
        exposure to COVID-19.
√ Offer the seasonal influenza vaccine to all incarcerated/detained persons (existing population
  and new intakes) and staff throughout the influenza season. Symptoms of COVID-19 are similar to
  those of influenza. Preventing influenza cases in a facility can speed the detection of COVID-19 cases and
  reduce pressure on healthcare resources.
√ Reference the Occupational Safety and Health Administration website for recommendations
  regarding worker health.
√ Review CDC’s guidance for businesses and employers to identify any additional strategies the facility can
  use within its role as an employer.

Operations & Supplies
√ Ensure that sufficient stocks of hygiene supplies, cleaning supplies, PPE, and medical supplies
  (consistent with the healthcare capabilities of the facility) are on hand and available, and have
  a plan in place to restock as needed if COVID-19 transmission occurs within the facility.
      ο Standard medical supplies for daily clinic needs
      ο Tissues
      ο Liquid soap when possible. If bar soap must be used, ensure that it does not irritate the skin and
        thereby discourage frequent hand washing.
      ο Hand drying supplies
      ο Alcohol-based hand sanitizer containing at least 60% alcohol (where permissible based on security
        restrictions)
      ο Cleaning supplies, including EPA-registered disinfectants effective against the virus that causes
        COVID-19

                                                       7
           Case 1:20-cv-00966-TLN-AC
      ο Recommended    PPE (facemasks, N95Document
                                            respirators,3-2   Filed 07/12/20
                                                         eye protection,        Page
                                                                         disposable   102 ofgloves,
                                                                                    medical   194 and
        disposable gowns/one-piece coveralls). See PPE section and Table 1 for more detailed information,
        including recommendations for extending the life of all PPE categories in the event of shortages, and
        when face masks are acceptable alternatives to N95s.
      ο Sterile viral transport media and sterile swabs to collect nasopharyngeal specimens if COVID-19
        testing is indicated
√ Make contingency plans for the probable event of PPE shortages during the COVID-19
  pandemic, particularly for non-healthcare workers.
      ο See CDC guidance optimizing PPE supplies.
√ Consider relaxing restrictions on allowing alcohol-based hand sanitizer in the secure setting
  where security concerns allow. If soap and water are not available, CDC recommends cleaning hands
  with an alcohol-based hand sanitizer that contains at least 60% alcohol. Consider allowing staff to carry
  individual-sized bottles for their personal hand hygiene while on duty.
√ Provide a no-cost supply of soap to incarcerated/detained persons, sufficient to allow frequent
  hand washing. (See Hygiene section below for additional detail regarding recommended frequency and
  protocol for hand washing.)
      ο Provide liquid soap where possible. If bar soap must be used, ensure that it does not irritate the skin
        and thereby discourage frequent hand washing.
√ If not already in place, employers operating within the facility should establish a respiratory
  protection program as appropriate, to ensure that staff and incarcerated/detained persons
  are fit tested for any respiratory protection they will need within the scope of their
  responsibilities.
√ Ensure that staff and incarcerated/detained persons are trained to correctly don, doff, and
  dispose of PPE that they will need to use within the scope of their responsibilities. See Table 1
  for recommended PPE for incarcerated/detained persons and staff with varying levels of contact with
  COVID-19 cases or their close contacts.

Prevention
Cases of COVID-19 have been documented in all 50 US states. Correctional and detention facilities can
prevent introduction of COVID-19 from the community and reduce transmission if it is already inside by
reinforcing good hygiene practices among incarcerated/detained persons, staff, and visitors (including
increasing access to soap and paper towels), intensifying cleaning/disinfection practices, and implementing
social distancing strategies.
Because many individuals infected with COVID-19 do not display symptoms, the virus could be present
in facilities before cases are identified. Both good hygiene practices and social distancing are critical in
preventing further transmission.

Operations
√ Stay in communication with partners about your facility’s current situation.
      ο State, local, territorial, and/or tribal health departments
      ο Other correctional facilities
√ Communicate with the public about any changes to facility operations, including visitation
  programs.




                                                         8
√ RestrictCase  1:20-cv-00966-TLN-AC
            transfers                    Document
                      of incarcerated/detained      3-2 toFiled
                                               persons     and 07/12/20
                                                                from otherPage  103 of 194
                                                                           jurisdictions and
  facilities unless necessary for medical evaluation, medical isolation/quarantine, clinical care,
  extenuating security concerns, or to prevent overcrowding.
     ο Strongly consider postponing non-urgent outside medical visits.
     ο If a transfer is absolutely necessary, perform verbal screening and a temperature check as outlined in
       the Screening section below, before the individual leaves the facility. If an individual does not clear
       the screening process, delay the transfer and follow the protocol for a suspected COVID-19 case—
       including putting a face mask on the individual, immediately placing them under medical isolation,
       and evaluating them for possible COVID-19 testing. If the transfer must still occur, ensure that
       the receiving facility has capacity to properly isolate the individual upon arrival. Ensure that staff
       transporting the individual wear recommended PPE (see Table 1) and that the transport vehicle is
       cleaned thoroughly after transport.
√ Implement lawful alternatives to in-person court appearances where permissible.
√ Where relevant, consider suspending co-pays for incarcerated/detained persons seeking
  medical evaluation for respiratory symptoms.
√ Limit the number of operational entrances and exits to the facility.

Cleaning and Disinfecting Practices
√ Even if COVID-19 cases have not yet been identified inside the facility or in the surrounding
  community, begin implementing intensified cleaning and disinfecting procedures according to
  the recommendations below. These measures may prevent spread of COVID-19 if introduced.
√ Adhere to CDC recommendations for cleaning and disinfection during the COVID-19 response. Monitor
  these recommendations for updates.
     ο Several times per day, clean and disinfect surfaces and objects that are frequently touched, especially
       in common areas. Such surfaces may include objects/surfaces not ordinarily cleaned daily (e.g.,
       doorknobs, light switches, sink handles, countertops, toilets, toilet handles, recreation equipment,
       kiosks, and telephones).
     ο Staff should clean shared equipment several times per day and on a conclusion of use basis (e.g.,
       radios, service weapons, keys, handcuffs).
     ο Use household cleaners and EPA-registered disinfectants effective against the virus that causes
       COVID-19 as appropriate for the surface, following label instructions. This may require lifting
       restrictions on undiluted disinfectants.
     ο Labels contain instructions for safe and effective use of the cleaning product, including precautions
       that should be taken when applying the product, such as wearing gloves and making sure there is
       good ventilation during use.
√ Consider increasing the number of staff and/or incarcerated/detained persons trained and
  responsible for cleaning common areas to ensure continual cleaning of these areas throughout
  the day.
√ Ensure adequate supplies to support intensified cleaning and disinfection practices, and have a
  plan in place to restock rapidly if needed.




                                                      9
Hygiene Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 104 of 194
√ Reinforce healthy hygiene practices, and provide and continually restock hygiene supplies
  throughout the facility, including in bathrooms, food preparation and dining areas, intake
  areas, visitor entries and exits, visitation rooms and waiting rooms, common areas, medical,
  and staff-restricted areas (e.g., break rooms).
√ Encourage all persons in the facility to take the following actions to protect themselves and
  others from COVID-19. Post signage throughout the facility, and communicate this information
  verbally on a regular basis. Sample signage and other communications materials are available on
  the CDC website. Ensure that materials can be understood by non-English speakers and those with low
  literacy, and make necessary accommodations for those with cognitive or intellectual disabilities and those
  who are deaf, blind, or low-vision.
      ο Practice good cough etiquette: Cover your mouth and nose with your elbow (or ideally with a
        tissue) rather than with your hand when you cough or sneeze, and throw all tissues in the trash
        immediately after use.
      ο Practice good hand hygiene: Regularly wash your hands with soap and water for at least 20
        seconds, especially after coughing, sneezing, or blowing your nose; after using the bathroom; before
        eating or preparing food; before taking medication; and after touching garbage.
      ο Avoid touching your eyes, nose, or mouth without cleaning your hands first.
      ο Avoid sharing eating utensils, dishes, and cups.
      ο Avoid non-essential physical contact.
√ Provide incarcerated/detained persons and staff no-cost access to:
      ο Soap—Provide liquid soap where possible. If bar soap must be used, ensure that it does not irritate
        the skin, as this would discourage frequent hand washing.
      ο Running water, and hand drying machines or disposable paper towels for hand washing
      ο Tissues and no-touch trash receptacles for disposal
√ Provide alcohol-based hand sanitizer with at least 60% alcohol where permissible based on
  security restrictions. Consider allowing staff to carry individual-sized bottles to maintain hand hygiene.
√ Communicate that sharing drugs and drug preparation equipment can spread COVID-19 due to
  potential contamination of shared items and close contact between individuals.

Prevention Practices for Incarcerated/Detained Persons
√ Perform pre-intake screening and temperature checks for all new entrants. Screening
  should take place in the sallyport, before beginning the intake process, in order to identify and
  immediately place individuals with symptoms under medical isolation. See Screening section below for
  the wording of screening questions and a recommended procedure to safely perform a temperature check.
  Staff performing temperature checks should wear recommended PPE (see PPE section below).
      ο If an individual has symptoms of COVID-19 (fever, cough, shortness of breath):
           Require the individual to wear a face mask.
           Ensure that staff who have direct contact with the symptomatic individual wear recommended PPE.
           Place the individual under medical isolation (ideally in a room near the screening location,
            rather than transporting the ill individual through the facility), and refer to healthcare staff for
            further evaluation. (See Infection Control and Clinical Care sections below.)
           Facilities without onsite healthcare staff should contact their state, local, tribal, and/or territorial
            health department to coordinate effective medical isolation and necessary medical care.

                                                        10
           Case
      ο If an    1:20-cv-00966-TLN-AC
              individual                     Document
                         is a close contact of         3-2 Filed 07/12/20
                                               a known COVID-19             Page
                                                                 case (but has no105 of 194
                                                                                 COVID-19
        symptoms):
            Quarantine the individual and monitor for symptoms two times per day for 14 days. (See
             Quarantine section below.)
            Facilities without onsite healthcare staff should contact their state, local, tribal, and/or
             territorial health department to coordinate effective quarantine and necessary medical care.
√ Implement social distancing strategies to increase the physical space between incarcerated/
  detained persons (ideally 6 feet between all individuals, regardless of the presence of
  symptoms). Strategies will need to be tailored to the individual space in the facility and the needs of the
  population and staff. Not all strategies will be feasible in all facilities. Example strategies with varying
  levels of intensity include:
      ο Common areas:
            Enforce increased space between individuals in holding cells, as well as in lines and waiting areas
             such as intake (e.g., remove every other chair in a waiting area)
      ο Recreation:
            Choose recreation spaces where individuals can spread out
            Stagger time in recreation spaces
            Restrict recreation space usage to a single housing unit per space (where feasible)
      ο Meals:
            Stagger meals
            Rearrange seating in the dining hall so that there is more space between individuals (e.g.,
             remove every other chair and use only one side of the table)
            Provide meals inside housing units or cells
      ο Group activities:
            Limit the size of group activities
            Increase space between individuals during group activities
            Suspend group programs where participants are likely to be in closer contact than they are in
             their housing environment
            Consider alternatives to existing group activities, in outdoor areas or other areas where
             individuals can spread out
      ο Housing:
            If space allows, reassign bunks to provide more space between individuals, ideally 6 feet or more
             in all directions. (Ensure that bunks are cleaned thoroughly if assigned to a new occupant.)
            Arrange bunks so that individuals sleep head to foot to increase the distance between them
            Rearrange scheduled movements to minimize mixing of individuals from different housing areas
      ο Medical:
            If possible, designate a room near each housing unit to evaluate individuals with COVID-19
             symptoms, rather than having them walk through the facility to be evaluated in the medical
             unit. If this is not feasible, consider staggering sick call.
            Designate a room near the intake area to evaluate new entrants who are flagged by the intake
             screening process for COVID-19 symptoms or case contact, before they move to other parts of
             the facility.


                                                       11
          Case 1:20-cv-00966-TLN-AC
√ Communicate                           Document
                 clearly and frequently with       3-2 Filed 07/12/20
                                             incarcerated/detained     Pageabout
                                                                   persons  106 of 194 to their
                                                                                 changes
  daily routine and how they can contribute to risk reduction.
√ Note that if group activities are discontinued, it will be important to identify alternative forms
  of activity to support the mental health of incarcerated/detained persons.
√ Consider suspending work release programs and other programs that involve movement of
  incarcerated/detained individuals in and out of the facility.
√ Provide up-to-date information about COVID-19 to incarcerated/detained persons on a regular
  basis, including:
      ο Symptoms of COVID-19 and its health risks
      ο Reminders to report COVID-19 symptoms to staff at the first sign of illness
√ Consider having healthcare staff perform rounds on a regular basis to answer questions about
  COVID-19.

Prevention Practices for Staff
√ Remind staff to stay at home if they are sick. Ensure that staff are aware that they will not be able to
  enter the facility if they have symptoms of COVID-19, and that they will be expected to leave the facility as
  soon as possible if they develop symptoms while on duty.
√ Perform verbal screening (for COVID-19 symptoms and close contact with cases) and
  temperature checks for all staff daily on entry. See Screening section below for wording of screening
  questions and a recommended procedure to safely perform temperature checks.
      ο In very small facilities with only a few staff, consider self-monitoring or virtual monitoring (e.g.,
        reporting to a central authority via phone).
      ο Send staff home who do not clear the screening process, and advise them to follow CDC-
        recommended steps for persons who are ill with COVID-19 symptoms.
√ Provide staff with up-to-date information about COVID-19 and about facility policies on a
  regular basis, including:
      ο Symptoms of COVID-19 and its health risks
      ο Employers’ sick leave policy
      ο If staff develop a fever, cough, or shortness of breath while at work: immediately put on a
        face mask, inform supervisor, leave the facility, and follow CDC-recommended steps for persons who
        are ill with COVID-19 symptoms.
      ο If staff test positive for COVID-19: inform workplace and personal contacts immediately, and
        do not return to work until a decision to discontinue home medical isolation precautions is made.
        Monitor CDC guidance on discontinuing home isolation regularly as circumstances evolve rapidly.
      ο If a staff member is identified as a close contact of a COVID-19 case (either within
        the facility or in the community): self-quarantine at home for 14 days and return to work if
        symptoms do not develop. If symptoms do develop, follow CDC-recommended steps for persons who
        are ill with COVID-19 symptoms.
√ If a staff member has a confirmed COVID-19 infection, the relevant employers should inform
  other staff about their possible exposure to COVID-19 in the workplace, but should maintain
  confidentiality as required by the Americans with Disabilities Act.
      ο Employees who are close contacts of the case should then self-monitor for symptoms (i.e., fever,
        cough, or shortness of breath).


                                                       12
          Case 1:20-cv-00966-TLN-AC
√ When feasible                         Document
                 and consistent with security      3-2 Filed
                                              priorities,     07/12/20
                                                          encourage staffPage 107 of 194
                                                                          to maintain a distance of
  6 feet or more from an individual with respiratory symptoms while interviewing, escorting, or
  interacting in other ways.
√ Ask staff to keep interactions with individuals with respiratory symptoms as brief as possible.

Prevention Practices for Visitors
√ If possible, communicate with potential visitors to discourage contact visits in the interest of
  their own health and the health of their family members and friends inside the facility.
√ Perform verbal screening (for COVID-19 symptoms and close contact with cases) and
  temperature checks for all visitors and volunteers on entry. See Screening section below for
  wording of screening questions and a recommended procedure to safely perform temperature checks.
      ο Staff performing temperature checks should wear recommended PPE.
      ο Exclude visitors and volunteers who do not clear the screening process or who decline screening.
√ Provide alcohol-based hand sanitizer with at least 60% alcohol in visitor entrances, exits, and
  waiting areas.
√ Provide visitors and volunteers with information to prepare them for screening.
      ο Instruct visitors to postpone their visit if they have symptoms of respiratory illness.
      ο If possible, inform potential visitors and volunteers before they travel to the facility that they should
        expect to be screened for COVID-19 (including a temperature check), and will be unable to enter the
        facility if they do not clear the screening process or if they decline screening.
      ο Display signage outside visiting areas explaining the COVID-19 screening and temperature check
        process. Ensure that materials are understandable for non-English speakers and those with low
        literacy.
√ Promote non-contact visits:
      ο Encourage incarcerated/detained persons to limit contact visits in the interest of their own health
        and the health of their visitors.
      ο Consider reducing or temporarily eliminating the cost of phone calls for incarcerated/detained
        persons.
      ο Consider increasing incarcerated/detained persons’ telephone privileges to promote mental health
        and reduce exposure from direct contact with community visitors.
√ Consider suspending or modifying visitation programs, if legally permissible. For example,
  provide access to virtual visitation options where available.
      ο If moving to virtual visitation, clean electronic surfaces regularly. (See Cleaning guidance below for
        instructions on cleaning electronic surfaces.)
      ο Inform potential visitors of changes to, or suspension of, visitation programs.
      ο Clearly communicate any visitation program changes to incarcerated/detained persons, along with
        the reasons for them (including protecting their health and their family and community members’
        health).
      ο If suspending contact visits, provide alternate means (e.g., phone or video visitation) for
        incarcerated/detained individuals to engage with legal representatives, clergy, and other individuals
        with whom they have legal right to consult.
   NOTE: Suspending visitation would be done in the interest of incarcerated/detained persons’ physical
   health and the health of the general public. However, visitation is important to maintain mental health.

                                                       13
             Case
   If visitation    1:20-cv-00966-TLN-AC
                 is suspended, facilities shouldDocument    3-2 Filed
                                                explore alternative    07/12/20
                                                                    ways           Page 108 of 194
                                                                         for incarcerated/detained persons to
   communicate with their families, friends, and other visitors in a way that is not financially burdensome
   for them. See above suggestions for promoting non-contact visits.
√ Restrict non-essential vendors, volunteers, and tours from entering the facility.

Management
If there has been a suspected COVID-19 case inside the facility (among incarcerated/detained persons, staff,
or visitors who have recently been inside), begin implementing Management strategies while test results
are pending. Essential Management strategies include placing cases and individuals with symptoms under
medical isolation, quarantining their close contacts, and facilitating necessary medical care, while observing
relevant infection control and environmental disinfection protocols and wearing recommended PPE.

Operations
√ Implement alternate work arrangements deemed feasible in the Operational Preparedness section.
√ Suspend all transfers of incarcerated/detained persons to and from other jurisdictions and
  facilities (including work release where relevant), unless necessary for medical evaluation,
  medical isolation/quarantine, care, extenuating security concerns, or to prevent overcrowding.
      ο If a transfer is absolutely necessary, perform verbal screening and a temperature check as outlined in
        the Screening section below, before the individual leaves the facility. If an individual does not clear
        the screening process, delay the transfer and follow the protocol for a suspected COVID-19 case—
        including putting a face mask on the individual, immediately placing them under medical isolation,
        and evaluating them for possible COVID-19 testing. If the transfer must still occur, ensure that the
        receiving facility has capacity to appropriately isolate the individual upon arrival. Ensure that staff
        transporting the individual wear recommended PPE (see Table 1) and that the transport vehicle is
        cleaned thoroughly after transport.
√ If possible, consider quarantining all new intakes for 14 days before they enter the facility’s
  general population (SEPARATELY from other individuals who are quarantined due to contact
  with a COVID-19 case). Subsequently in this document, this practice is referred to as routine intake
  quarantine.
√ When possible, arrange lawful alternatives to in-person court appearances.
√ Incorporate screening for COVID-19 symptoms and a temperature check into release planning.
      ο Screen all releasing individuals for COVID-19 symptoms and perform a temperature check. (See
        Screening section below.)
            If an individual does not clear the screening process, follow the protocol for a suspected
             COVID-19 case—including putting a face mask on the individual, immediately placing them
             under medical isolation, and evaluating them for possible COVID-19 testing.
            If the individual is released before the recommended medical isolation period is complete,
             discuss release of the individual with state, local, tribal, and/or territorial health departments
             to ensure safe medical transport and continued shelter and medical care, as part of release
             planning. Make direct linkages to community resources to ensure proper medical isolation and
             access to medical care.
            Before releasing an incarcerated/detained individual with COVID-19 symptoms to a community-
             based facility, such as a homeless shelter, contact the facility’s staff to ensure adequate time for
             them to prepare to continue medical isolation, or contact local public health to explore alternate
             housing options.



                                                       14
        Casewith
√ Coordinate 1:20-cv-00966-TLN-AC        Document
                 state, local, tribal, and/or       3-2 Filed
                                              territorial     07/12/20
                                                          health        Page 109 of 194
                                                                 departments.
     ο When a COVID-19 case is suspected, work with public health to determine action. See Medical
       Isolation section below.
     ο When a COVID-19 case is suspected or confirmed, work with public health to identify close contacts
       who should be placed under quarantine. See Quarantine section below.
     ο Facilities with limited onsite medical isolation, quarantine, and/or healthcare services should
       coordinate closely with state, local, tribal, and/or territorial health departments when they
       encounter a confirmed or suspected case, in order to ensure effective medical isolation or quarantine,
       necessary medical evaluation and care, and medical transfer if needed. See Facilities with Limited
       Onsite Healthcare Services section.

Hygiene
√ Continue to ensure that hand hygiene supplies are well-stocked in all areas of the facility.
  (See above.)
√ Continue to emphasize practicing good hand hygiene and cough etiquette. (See above.)

Cleaning and Disinfecting Practices
√ Continue adhering to recommended cleaning and disinfection procedures for the facility at
  large. (See above.)
√ Reference specific cleaning and disinfection procedures for areas where a COVID-19 case has
  spent time (below).

Medical Isolation of Confirmed or Suspected COVID-19 Cases
NOTE: Some recommendations below apply primarily to facilities with onsite healthcare capacity.
Facilities with Limited Onsite Healthcare Services, or without sufficient space to implement
effective medical isolation, should coordinate with local public health officials to ensure that
COVID-19 cases will be appropriately isolated, evaluated, tested (if indicated), and given care.
√ As soon as an individual develops symptoms of COVID-19, they should wear a face mask (if it
  does not restrict breathing) and should be immediately placed under medical isolation in a
  separate environment from other individuals.
√ Keep the individual’s movement outside the medical isolation space to an absolute minimum.
     ο Provide medical care to cases inside the medical isolation space. See Infection Control and Clinical
       Care sections for additional details.
     ο Serve meals to cases inside the medical isolation space.
     ο Exclude the individual from all group activities.
     ο Assign the isolated individual a dedicated bathroom when possible.
√ Ensure that the individual is wearing a face mask at all times when outside of the medical
  isolation space, and whenever another individual enters. Provide clean masks as needed. Masks
  should be changed at least daily, and when visibly soiled or wet.
√ Facilities should make every possible effort to place suspected and confirmed COVID-19 cases
  under medical isolation individually. Each isolated individual should be assigned their own
  housing space and bathroom where possible. Cohorting should only be practiced if there are no other
  available options.




                                                     15
           Case 1:20-cv-00966-TLN-AC
      ο If cohorting is necessary:   Document 3-2 Filed 07/12/20 Page 110 of 194
            Only individuals who are laboratory confirmed COVID-19 cases should be placed under
             medical isolation as a cohort. Do not cohort confirmed cases with suspected cases or
             case contacts.
            Unless no other options exist, do not house COVID-19 cases with individuals who have an
             undiagnosed respiratory infection.
            Ensure that cohorted cases wear face masks at all times.
√ In order of preference, individuals under medical isolation should be housed:
      ο Separately, in single cells with solid walls (i.e., not bars) and solid doors that close fully
      ο Separately, in single cells with solid walls but without solid doors
      ο As a cohort, in a large, well-ventilated cell with solid walls and a solid door that closes fully. Employ
        social distancing strategies related to housing in the Prevention section above.
      ο As a cohort, in a large, well-ventilated cell with solid walls but without a solid door. Employ social
        distancing strategies related to housing in the Prevention section above.
      ο As a cohort, in single cells without solid walls or solid doors (i.e., cells enclosed entirely with bars),
        preferably with an empty cell between occupied cells. (Although individuals are in single cells in
        this scenario, the airflow between cells essentially makes it a cohort arrangement in the context of
        COVID-19.)
      ο As a cohort, in multi-person cells without solid walls or solid doors (i.e., cells enclosed entirely with
        bars), preferably with an empty cell between occupied cells. Employ social distancing strategies
        related to housing in the Prevention section above.
      ο Safely transfer individual(s) to another facility with available medical isolation capacity in one of the
        above arrangements
        (NOTE—Transfer should be avoided due to the potential to introduce infection to another facility;
        proceed only if no other options are available.)
   If the ideal choice does not exist in a facility, use the next best alternative.
√ If the number of confirmed cases exceeds the number of individual medical isolation spaces
  available in the facility, be especially mindful of cases who are at higher risk of severe illness
  from COVID-19. Ideally, they should not be cohorted with other infected individuals. If cohorting is
  unavoidable, make all possible accommodations to prevent transmission of other infectious diseases to
  the higher-risk individual. (For example, allocate more space for a higher-risk individual within a shared
  medical isolation space.)
      ο Persons at higher risk may include older adults and persons of any age with serious underlying
        medical conditions such as lung disease, heart disease, and diabetes. See CDC’s website for a
        complete list, and check regularly for updates as more data become available to inform this issue.
      ο Note that incarcerated/detained populations have higher prevalence of infectious and chronic
        diseases and are in poorer health than the general population, even at younger ages.
√ Custody staff should be designated to monitor these individuals exclusively where possible.
  These staff should wear recommended PPE as appropriate for their level of contact with the individual
  under medical isolation (see PPE section below) and should limit their own movement between different
  parts of the facility to the extent possible.
√ Minimize transfer of COVID-19 cases between spaces within the healthcare unit.




                                                         16
√ ProvideCase  1:20-cv-00966-TLN-AC
          individuals                   Document
                       under medical isolation with3-2  Filed
                                                    tissues   07/12/20
                                                            and,        Page 111
                                                                 if permissible,     of 194
                                                                                 a lined  no-touch
  trash receptacle. Instruct them to:
     ο Cover their mouth and nose with a tissue when they cough or sneeze
     ο Dispose of used tissues immediately in the lined trash receptacle
     ο Wash hands immediately with soap and water for at least 20 seconds. If soap and water are not
       available, clean hands with an alcohol-based hand sanitizer that contains at least 60% alcohol (where
       security concerns permit). Ensure that hand washing supplies are continually restocked.
√ Maintain medical isolation until all the following criteria have been met. Monitor the CDC
  website for updates to these criteria.
   For individuals who will be tested to determine if they are still contagious:
           The individual has been free from fever for at least 72 hours without the use of fever-reducing
            medications AND
           The individual’s other symptoms have improved (e.g., cough, shortness of breath) AND
           The individual has tested negative in at least two consecutive respiratory specimens collected at
            least 24 hours apart
   For individuals who will NOT be tested to determine if they are still contagious:
           The individual has been free from fever for at least 72 hours without the use of fever-reducing
            medications AND
           The individual’s other symptoms have improved (e.g., cough, shortness of breath) AND
           At least 7 days have passed since the first symptoms appeared
   For individuals who had a confirmed positive COVID-19 test but never showed symptoms:
     ο At least 7 days have passed since the date of the individual’s first positive COVID-19 test AND
     ο The individual has had no subsequent illness
√ Restrict cases from leaving the facility while under medical isolation precautions, unless
  released from custody or if a transfer is necessary for medical care, infection control, lack of
  medical isolation space, or extenuating security concerns.
     ο If an incarcerated/detained individual who is a COVID-19 case is released from custody during their
       medical isolation period, contact public health to arrange for safe transport and continuation of
       necessary medical care and medical isolation as part of release planning.

Cleaning Spaces where COVID-19 Cases Spent Time
Thoroughly clean and disinfect all areas where the confirmed or suspected COVID-19 case spent
time. Note—these protocols apply to suspected cases as well as confirmed cases, to ensure
adequate disinfection in the event that the suspected case does, in fact, have COVID-19. Refer to
the Definitions section for the distinction between confirmed and suspected cases.
     ο Close off areas used by the infected individual. If possible, open outside doors and windows to
       increase air circulation in the area. Wait as long as practical, up to 24 hours under the poorest air
       exchange conditions (consult CDC Guidelines for Environmental Infection Control in Health-Care
       Facilities for wait time based on different ventilation conditions), before beginning to clean and
       disinfect, to minimize potential for exposure to respiratory droplets.
     ο Clean and disinfect all areas (e.g., cells, bathrooms, and common areas) used by the infected
       individual, focusing especially on frequently touched surfaces (see list above in Prevention section).



                                                      17
         Case 1:20-cv-00966-TLN-AC
√ Hard (non-porous)                   Document
                    surface cleaning and         3-2 Filed 07/12/20 Page 112 of 194
                                         disinfection
      ο If surfaces are dirty, they should be cleaned using a detergent or soap and water prior to disinfection.
      ο For disinfection, most common EPA-registered household disinfectants should be effective. Choose
        cleaning products based on security requirements within the facility.
           Consult a list of products that are EPA-approved for use against the virus that causes COVID-19.
            Follow the manufacturer’s instructions for all cleaning and disinfection products (e.g.,
            concentration, application method and contact time, etc.).
           Diluted household bleach solutions can be used if appropriate for the surface. Follow the
            manufacturer’s instructions for application and proper ventilation, and check to ensure the
            product is not past its expiration date. Never mix household bleach with ammonia or any other
            cleanser. Unexpired household bleach will be effective against coronaviruses when properly
            diluted. Prepare a bleach solution by mixing:
               - 5 tablespoons (1/3rd cup) bleach per gallon of water or
               - 4 teaspoons bleach per quart of water
√ Soft (porous) surface cleaning and disinfection
      ο For soft (porous) surfaces such as carpeted floors and rugs, remove visible contamination if present
        and clean with appropriate cleaners indicated for use on these surfaces. After cleaning:
           If the items can be laundered, launder items in accordance with the manufacturer’s instructions
            using the warmest appropriate water setting for the items and then dry items completely.
           Otherwise, use products that are EPA-approved for use against the virus that causes COVID-19
            and are suitable for porous surfaces.
√ Electronics cleaning and disinfection
      ο For electronics such as tablets, touch screens, keyboards, and remote controls, remove visible
        contamination if present.
           Follow the manufacturer’s instructions for all cleaning and disinfection products.
           Consider use of wipeable covers for electronics.
           If no manufacturer guidance is available, consider the use of alcohol-based wipes or spray
            containing at least 70% alcohol to disinfect touch screens. Dry surfaces thoroughly to avoid
            pooling of liquids.
   Additional information on cleaning and disinfection of communal facilities such can be found on CDC’s
   website.
√ Ensure that staff and incarcerated/detained persons performing cleaning wear recommended
  PPE. (See PPE section below.)
√ Food service items. Cases under medical isolation should throw disposable food service items in the
  trash in their medical isolation room. Non-disposable food service items should be handled with gloves
  and washed with hot water or in a dishwasher. Individuals handling used food service items should clean
  their hands after removing gloves.
√ Laundry from a COVID-19 cases can be washed with other individuals’ laundry.
      ο Individuals handling laundry from COVID-19 cases should wear disposable gloves, discard after each
        use, and clean their hands after.
      ο Do not shake dirty laundry. This will minimize the possibility of dispersing virus through the air.
      ο Launder items as appropriate in accordance with the manufacturer’s instructions. If possible,
        launder items using the warmest appropriate water setting for the items and dry items completely.

                                                       18
          Case
      ο Clean and1:20-cv-00966-TLN-AC
                  disinfect clothes hampers Document
                                               according to3-2   Filedabove
                                                            guidance   07/12/20   Page 113
                                                                            for surfaces.      of 194
                                                                                          If permissible,
        consider using a bag liner that is either disposable or can be laundered.
√ Consult cleaning recommendations above to ensure that transport vehicles are thoroughly cleaned
  after carrying a confirmed or suspected COVID-19 case.

Quarantining Close Contacts of COVID-19 Cases
NOTE: Some recommendations below apply primarily to facilities with onsite healthcare capacity.
Facilities without onsite healthcare capacity, or without sufficient space to implement effective
quarantine, should coordinate with local public health officials to ensure that close contacts of
COVID-19 cases will be effectively quarantined and medically monitored.
√ Incarcerated/detained persons who are close contacts of a confirmed or suspected COVID-19 case
  (whether the case is another incarcerated/detained person, staff member, or visitor) should be
  placed under quarantine for 14 days (see CDC guidelines).
      ο If an individual is quarantined due to contact with a suspected case who is subsequently tested
        for COVID-19 and receives a negative result, the quarantined individual should be released from
        quarantine restrictions.
√ In the context of COVID-19, an individual (incarcerated/detained person or staff) is considered
  a close contact if they:
      ο Have been within approximately 6 feet of a COVID-19 case for a prolonged period of time OR
      ο Have had direct contact with infectious secretions of a COVID-19 case (e.g., have been coughed on)
   Close contact can occur while caring for, living with, visiting, or sharing a common space with a COVID-19
   case. Data to inform the definition of close contact are limited. Considerations when assessing close
   contact include the duration of exposure (e.g., longer exposure time likely increases exposure risk) and
   the clinical symptoms of the person with COVID-19 (e.g., coughing likely increases exposure risk, as does
   exposure to a severely ill patient).
√ Keep a quarantined individual’s movement outside the quarantine space to an absolute
  minimum.
      ο Provide medical evaluation and care inside or near the quarantine space when possible.
      ο Serve meals inside the quarantine space.
      ο Exclude the quarantined individual from all group activities.
      ο Assign the quarantined individual a dedicated bathroom when possible.
√ Facilities should make every possible effort to quarantine close contacts of COVID-19 cases
  individually. Cohorting multiple quarantined close contacts of a COVID-19 case could transmit
  COVID-19 from those who are infected to those who are uninfected. Cohorting should only be practiced if
  there are no other available options.
      ο If cohorting of close contacts under quarantine is absolutely necessary, symptoms of all individuals
        should be monitored closely, and individuals with symptoms of COVID-19 should be placed under
        medical isolation immediately.
      ο If an entire housing unit is under quarantine due to contact with a case from the same housing unit,
        the entire housing unit may need to be treated as a cohort and quarantine in place.
      ο Some facilities may choose to quarantine all new intakes for 14 days before moving them to the
        facility’s general population as a general rule (not because they were exposed to a COVID-19 case).
        Under this scenario, avoid mixing individuals quarantined due to exposure to a COVID-19 case with
        individuals undergoing routine intake quarantine.


                                                       19
           Case
      ο If at      1:20-cv-00966-TLN-AC
              all possible,                   Document
                            do not add more individuals    3-2existing
                                                        to an    Filed quarantine
                                                                       07/12/20 cohort
                                                                                  Page 114
                                                                                       afterofthe
                                                                                                194
                                                                                                  14-day
        quarantine clock has started.
√ If the number of quarantined individuals exceeds the number of individual quarantine spaces
  available in the facility, be especially mindful of those who are at higher risk of severe illness
  from COVID-19. Ideally, they should not be cohorted with other quarantined individuals. If cohorting
  is unavoidable, make all possible accommodations to reduce exposure risk for the higher-risk individuals.
  (For example, intensify social distancing strategies for higher-risk individuals.)
√ In order of preference, multiple quarantined individuals should be housed:
      ο Separately, in single cells with solid walls (i.e., not bars) and solid doors that close fully
      ο Separately, in single cells with solid walls but without solid doors
      ο As a cohort, in a large, well-ventilated cell with solid walls, a solid door that closes fully, and at least 6
        feet of personal space assigned to each individual in all directions
      ο As a cohort, in a large, well-ventilated cell with solid walls and at least 6 feet of personal space
        assigned to each individual in all directions, but without a solid door
      ο As a cohort, in single cells without solid walls or solid doors (i.e., cells enclosed entirely with bars),
        preferably with an empty cell between occupied cells creating at least 6 feet of space between
        individuals. (Although individuals are in single cells in this scenario, the airflow between cells
        essentially makes it a cohort arrangement in the context of COVID-19.)
      ο As a cohort, in multi-person cells without solid walls or solid doors (i.e., cells enclosed entirely with
        bars), preferably with an empty cell between occupied cells. Employ social distancing strategies
        related to housing in the Prevention section to maintain at least 6 feet of space between individuals
        housed in the same cell.
      ο As a cohort, in individuals’ regularly assigned housing unit but with no movement outside the unit
        (if an entire housing unit has been exposed). Employ social distancing strategies related to housing
        in the Prevention section above to maintain at least 6 feet of space between individuals.
      ο Safely transfer to another facility with capacity to quarantine in one of the above arrangements
   (NOTE—Transfer should be avoided due to the potential to introduce infection to another facility;
   proceed only if no other options are available.)
√ Quarantined individuals should wear face masks if feasible based on local supply, as source
  control, under the following circumstances (see PPE section and Table 1):
      ο If cohorted, quarantined individuals should wear face masks at all times (to prevent transmission
        from infected to uninfected individuals).
      ο If quarantined separately, individuals should wear face masks whenever a non-quarantined
        individual enters the quarantine space.
      ο All quarantined individuals should wear a face mask if they must leave the quarantine space for any
        reason.
      ο Asymptomatic individuals under routine intake quarantine (with no known exposure to a COVID-19
        case) do not need to wear face masks.
√ Staff who have close contact with quarantined individuals should wear recommended PPE if
  feasible based on local supply, feasibility, and safety within the scope of their duties (see PPE
  section and Table 1).
      ο Staff supervising asymptomatic incarcerated/detained persons under routine intake quarantine
        (with no known exposure to a COVID-19 case) do not need to wear PPE.


                                                         20
        Case 1:20-cv-00966-TLN-AC
√ Quarantined                         Document
              individuals should be monitored for3-2 Filed 07/12/20
                                                  COVID-19  symptomsPage 115
                                                                     twice   ofday,
                                                                           per  194 including
  temperature checks.
      ο If an individual develops symptoms, they should be moved to medical isolation immediately and
        further evaluated. (See Medical Isolation section above.)
      ο See Screening section for a procedure to perform temperature checks safely on asymptomatic close
        contacts of COVID-19 cases.
√ If an individual who is part of a quarantined cohort becomes symptomatic:
      ο If the individual is tested for COVID-19 and tests positive: the 14-day quarantine clock for the
        remainder of the cohort must be reset to 0.
      ο If the individual is tested for COVID-19 and tests negative: the 14-day quarantine clock for
        this individual and the remainder of the cohort does not need to be reset. This individual can return
        from medical isolation to the quarantined cohort for the remainder of the quarantine period.
      ο If the individual is not tested for COVID-19: the 14-day quarantine clock for the remainder of
        the cohort must be reset to 0.
√ Restrict quarantined individuals from leaving the facility (including transfers to other
  facilities) during the 14-day quarantine period, unless released from custody or a transfer is
  necessary for medical care, infection control, lack of quarantine space, or extenuating security
  concerns.
√ Quarantined individuals can be released from quarantine restrictions if they have not
  developed symptoms during the 14-day quarantine period.
√ Meals should be provided to quarantined individuals in their quarantine spaces. Individuals
  under quarantine should throw disposable food service items in the trash. Non-disposable food service
  items should be handled with gloves and washed with hot water or in a dishwasher. Individuals handling
  used food service items should clean their hands after removing gloves.
√ Laundry from quarantined individuals can be washed with other individuals’ laundry.
      ο Individuals handling laundry from quarantined persons should wear disposable gloves, discard after
        each use, and clean their hands after.
      ο Do not shake dirty laundry. This will minimize the possibility of dispersing virus through the air.
      ο Launder items as appropriate in accordance with the manufacturer’s instructions. If possible,
        launder items using the warmest appropriate water setting for the items and dry items completely.
      ο Clean and disinfect clothes hampers according to guidance above for surfaces. If permissible,
        consider using a bag liner that is either disposable or can be laundered.

Management of Incarcerated/Detained Persons with COVID-19 Symptoms
NOTE: Some recommendations below apply primarily to facilities with onsite healthcare capacity.
Facilities without onsite healthcare capacity or without sufficient space for medical isolation
should coordinate with local public health officials to ensure that suspected COVID-19 cases will be
effectively isolated, evaluated, tested (if indicated), and given care.
√ If possible, designate a room near each housing unit for healthcare staff to evaluate individuals
  with COVID-19 symptoms, rather than having them walk through the facility to be evaluated in
  the medical unit.
√ Incarcerated/detained individuals with COVID-19 symptoms should wear a face mask and
  should be placed under medical isolation immediately. Discontinue the use of a face mask if it
  inhibits breathing. See Medical Isolation section above.

                                                      21
√ MedicalCase
           staff1:20-cv-00966-TLN-AC
                 should evaluate symptomaticDocument   3-2 Filed
                                                  individuals     07/12/20 whether
                                                              to determine    Page 116    of 194 testing
                                                                                        COVID-19
  is indicated. Refer to CDC guidelines for information on evaluation and testing. See Infection Control
  and Clinical Care sections below as well.
√ If testing is indicated (or if medical staff need clarification on when testing is indicated),
  contact the state, local, tribal, and/or territorial health department. Work with public health
  or private labs as available to access testing supplies or services.
      ο If the COVID-19 test is positive, continue medical isolation. (See Medical Isolation section above.)
      ο If the COVID-19 test is negative, return the individual to their prior housing assignment unless they
        require further medical assessment or care.

Management Strategies for Incarcerated/Detained Persons without COVID-19 Symptoms
√ Provide clear information to incarcerated/detained persons about the presence of COVID-19
  cases within the facility, and the need to increase social distancing and maintain hygiene
  precautions.
      ο Consider having healthcare staff perform regular rounds to answer questions about COVID-19.
      ο Ensure that information is provided in a manner that can be understood by non-English speaking
        individuals and those with low literacy, and make necessary accommodations for those with
        cognitive or intellectual disabilities and those who are deaf, blind, or low-vision.
√ Implement daily temperature checks in housing units where COVID-19 cases have been
  identified, especially if there is concern that incarcerated/detained individuals are not
  notifying staff of symptoms. See Screening section for a procedure to safely perform a temperature
  check.
√ Consider additional options to intensify social distancing within the facility.

Management Strategies for Staff
√ Provide clear information to staff about the presence of COVID-19 cases within the facility, and
  the need to enforce social distancing and encourage hygiene precautions.
      ο Consider having healthcare staff perform regular rounds to answer questions about COVID-19 from
        staff.
√ Staff identified as close contacts of a COVID-19 case should self-quarantine at home for 14 days
  and may return to work if symptoms do not develop.
      ο See above for definition of a close contact.
      ο Refer to CDC guidelines for further recommendations regarding home quarantine for staff.

Infection Control
Infection control guidance below is applicable to all types of correctional facilities. Individual
facilities should assess their unique needs based on the types of exposure staff and incarcerated/
detained persons may have with confirmed or suspected COVID-19 cases.
√ All individuals who have the potential for direct or indirect exposure to COVID-19 cases or
  infectious materials (including body substances; contaminated medical supplies, devices,
  and equipment; contaminated environmental surfaces; or contaminated air) should follow
  infection control practices outlined in the CDC Interim Infection Prevention and Control
  Recommendations for Patients with Suspected or Confirmed Coronavirus Disease 2019
  (COVID-19) in Healthcare Settings. Monitor these guidelines regularly for updates.



                                                       22
           Case 1:20-cv-00966-TLN-AC
      ο Implement                              Document
                     the above guidance as fully          3-2
                                                 as possible    Filed
                                                             within the07/12/20   Page 117 ofcontext.
                                                                        correctional/detention 194       Some
        of the specific language may not apply directly to healthcare settings within correctional facilities
        and detention centers, or to facilities without onsite healthcare capacity, and may need to be adapted
        to reflect facility operations and custody needs.
      ο Note that these recommendations apply to staff as well as to incarcerated/detained individuals who
        may come in contact with contaminated materials during the course of their work placement in the
        facility (e.g., cleaning).
√ Staff should exercise caution when in contact with individuals showing symptoms of a
  respiratory infection. Contact should be minimized to the extent possible until the infected individual
  is wearing a face mask. If COVID-19 is suspected, staff should wear recommended PPE (see PPE section).
√ Refer to PPE section to determine recommended PPE for individuals persons in contact with
  confirmed COVID-19 cases, contacts, and potentially contaminated items.

Clinical Care of COVID-19 Cases
√ Facilities should ensure that incarcerated/detained individuals receive medical evaluation and
  treatment at the first signs of COVID-19 symptoms.
      ο If a facility is not able to provide such evaluation and treatment, a plan should be in place to safely
        transfer the individual to another facility or local hospital.
      ο The initial medical evaluation should determine whether a symptomatic individual is at higher risk
        for severe illness from COVID-19. Persons at higher risk may include older adults and persons of any
        age with serious underlying medical conditions such as lung disease, heart disease, and diabetes. See
        CDC’s website for a complete list, and check regularly for updates as more data become available to
        inform this issue.
√ Staff evaluating and providing care for confirmed or suspected COVID-19 cases should follow
  the CDC Interim Clinical Guidance for Management of Patients with Confirmed Coronavirus
  Disease (COVID-19) and monitor the guidance website regularly for updates to these
  recommendations.
√ Healthcare staff should evaluate persons with respiratory symptoms or contact with a
  COVID-19 case in a separate room, with the door closed if possible, while wearing recommended
  PPE and ensuring that the suspected case is wearing a face mask.
      ο If possible, designate a room near each housing unit to evaluate individuals with COVID-19
        symptoms, rather than having them walk through the facility to be evaluated in the medical unit.
√ Clinicians are strongly encouraged to test for other causes of respiratory illness (e.g.,
  influenza).
√ The facility should have a plan in place to safely transfer persons with severe illness from
  COVID-19 to a local hospital if they require care beyond what the facility is able to provide.
√ When evaluating and treating persons with symptoms of COVID-19 who do not speak English,
  using a language line or provide a trained interpreter when possible.

Recommended PPE and PPE Training for Staff and Incarcerated/Detained Persons
√ Ensure that all staff (healthcare and non-healthcare) and incarcerated/detained persons
  who will have contact with infectious materials in their work placements have been trained
  to correctly don, doff, and dispose of PPE relevant to the level of contact they will have with
  confirmed and suspected COVID-19 cases.



                                                       23
           Casethat
      ο Ensure    1:20-cv-00966-TLN-AC        Document
                     staff and incarcerated/detained     3-2 who
                                                     persons   Filed  07/12/20
                                                                   require       Pageprotection
                                                                           respiratory   118 of 194 (e.g., N95s)
        for their work responsibilities have been medically cleared, trained, and fit-tested in the context of
        an employer’s respiratory protection program.
      ο For PPE training materials and posters, please visit the CDC website on Protecting Healthcare
        Personnel.
√ Ensure that all staff are trained to perform hand hygiene after removing PPE.
√ If administrators anticipate that incarcerated/detained persons will request unnecessary PPE,
  consider providing training on the different types of PPE that are needed for differing degrees
  of contact with COVID-19 cases and contacts, and the reasons for those differences (see Table 1).
  Monitor linked CDC guidelines in Table 1 for updates to recommended PPE.
√ Keep recommended PPE near the spaces in the facility where it could be needed, to facilitate
  quick access in an emergency.
√ Recommended PPE for incarcerated/detained individuals and staff in a correctional facility will
  vary based on the type of contact they have with COVID-19 cases and their contacts (see Table 1). Each
  type of recommended PPE is defined below. As above, note that PPE shortages are anticipated in
  every category during the COVID-19 response.
      ο N95 respirator
     See below for guidance on when face masks are acceptable alternatives for N95s. N95 respirators should
     be prioritized when staff anticipate contact with infectious aerosols from a COVID-19 case.
      ο Face mask
      ο Eye protection—goggles or disposable face shield that fully covers the front and sides of the face
      ο A single pair of disposable patient examination gloves
     Gloves should be changed if they become torn or heavily contaminated.
      ο Disposable medical isolation gown or single-use/disposable coveralls, when feasible
           If custody staff are unable to wear a disposable gown or coveralls because it limits access to their
            duty belt and gear, ensure that duty belt and gear are disinfected after close contact with the
            individual. Clean and disinfect duty belt and gear prior to reuse using a household cleaning spray
            or wipe, according to the product label.
           If there are shortages of gowns, they should be prioritized for aerosol-generating procedures,
            care activities where splashes and sprays are anticipated, and high-contact patient care activities
            that provide opportunities for transfer of pathogens to the hands and clothing of staff.
√ Note that shortages of all PPE categories are anticipated during the COVID-19 response,
  particularly for non-healthcare workers. Guidance for optimizing the supply of each category
  can be found on CDC’s website:
      ο Guidance in the event of a shortage of N95 respirators
           Based on local and regional situational analysis of PPE supplies, face masks are an acceptable
            alternative when the supply chain of respirators cannot meet the demand. During this
            time, available respirators should be prioritized for staff engaging in activities that would expose
            them to respiratory aerosols, which pose the highest exposure risk.
      ο Guidance in the event of a shortage of face masks
      ο Guidance in the event of a shortage of eye protection
      ο Guidance in the event of a shortage of gowns/coveralls


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              Case 1:20-cv-00966-TLN-AC
Table 1. Recommended                                  Document
                      Personal Protective Equipment (PPE)            3-2 Filed 07/12/20
                                                          for Incarcerated/Detained             Page
                                                                                    Persons and Staff in a119   of 194Facility during
                                                                                                           Correctional
the COVID-19 Response

         Classification of Individual Wearing PPE                 N95            Face            Eye            Gloves         Gown/
                                                               respirator        mask         Protection                      Coveralls
 Incarcerated/Detained Persons
 Asymptomatic incarcerated/detained persons (under            Apply face masks for source control as feasible based on local supply,
 quarantine as close contacts of a COVID-19 case*)            especially if housed as a cohort
 Incarcerated/detained persons who are confirmed or
 suspected COVID-19 cases, or showing symptoms of                   –                             –               –              –
 COVID-19
 Incarcerated/detained persons in a work placement
 handling laundry or used food service items from a                 –              –               –                             
 COVID-19 case or case contact
 Incarcerated/detained persons in a work placement            Additional PPE may be needed based on
 cleaning areas where a COVID-19 case has spent time          the product label. See CDC guidelines for                          
                                                              more details.
 Staff
 Staff having direct contact with asymptomatic
 incarcerated/detained persons under quarantine
                                                                              Face mask, eye protection, and gloves as
 as close contacts of a COVID-19 case* (but not                     –                                                             –
                                                                               local supply and scope of duties allow.
 performing temperature checks or providing
 medical care)
 Staff performing temperature checks on any group
 of people (staff, visitors, or incarcerated/detained
                                                                    –                                                          
 persons), or providing medical care to asymptomatic
 quarantined persons
 Staff having direct contact with (including transport)
 or offering medical care to confirmed or suspected                       **                                                   
 COVID-19 cases (see CDC infection control guidelines)
 Staff present during a procedure on a confirmed
 or suspected COVID-19 case that may generate
                                                                                  –                                            
 respiratory aerosols (see CDC infection control
 guidelines)
 Staff handling laundry or used food service items
                                                                    –              –               –                             
 from a COVID-19 case or case contact
 Staff cleaning an area where a COVID-19 case has             Additional PPE may be needed based on
 spent time                                                   the product label. See CDC guidelines for                          
                                                              more details.
* If a facility chooses to routinely quarantine all new intakes (without symptoms or known exposure to a COVID-19 case) before integrating
   into the facility’s general population, face masks are not necessary.
** A NIOSH-approved N95 is preferred. However, based on local and regional situational analysis of PPE supplies, face masks are an
   acceptable alternative when the supply chain of respirators cannot meet the demand. During this time, available respirators should be
   prioritized for procedures that are likely to generate respiratory aerosols, which would pose the highest exposure risk to staff.




                                                                    25
         Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 120 of 194
Verbal Screening  and Temperature Check Protocols for Incarcerated/Detained
Persons, Staff, and Visitors
The guidance above recommends verbal screening and temperature checks for incarcerated/detained persons,
staff, volunteers, and visitors who enter correctional and detention facilities, as well as incarcerated/detained
persons who are transferred to another facility or released from custody. Below, verbal screening questions for
COVID-19 symptoms and contact with known cases, and a safe temperature check procedure are detailed.
√ Verbal screening for symptoms of COVID-19 and contact with COVID-19 cases should include
  the following questions:
      ο Today or in the past 24 hours, have you had any of the following symptoms?
            Fever, felt feverish, or had chills?
            Cough?
            Difficulty breathing?
      ο In the past 14 days, have you had contact with a person known to be infected with the novel coronavirus
        (COVID-19)?
√ The following is a protocol to safely check an individual’s temperature:
      ο Perform hand hygiene
      ο Put on a face mask, eye protection (goggles or disposable face shield that fully covers the front and
        sides of the face), gown/coveralls, and a single pair of disposable gloves
      ο Check individual’s temperature
      ο If performing a temperature check on multiple individuals, ensure that a clean pair of
        gloves is used for each individual and that the thermometer has been thoroughly cleaned
        in between each check. If disposable or non-contact thermometers are used and the screener did
        not have physical contact with an individual, gloves do not need to be changed before the next check.
        If non-contact thermometers are used, they should be cleaned routinely as recommended by CDC for
        infection control.
      ο Remove and discard PPE
      ο Perform hand hygiene




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                       EXHIBIT M
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                        EXHIBIT N
7/8/2020                                                                                                  Microsoft Power BI

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                                                                                                                                                               INSTITUTION:
 CDCR PATIENTS: COVID-19 BY INSTITUTION                                                                                                                        CA State Prison, San Quentin                          


 CONFIRMED CASES: Cumulative Count                                                                          TESTING: Institution Count

   NEW IN                           ACTIVE                                                                                                                                              % OF POPULATION
                                                                                                                                                    PATIENTS TESTED IN
    LAST                                                          RESOLVED               DEATHS                 CURRENT POPULATION                                                    TESTED IN LAST 14 DAYS
                                                                                                                                                       LAST 14 DAYS
   14 DAYS              CUSTODY              RELEASED


        845               1,309                   20                  299                     7                       3,593                               1,731                                  48%
                     ACTIVE CASES IN CUSTODY                                                                                       PATIENTS TESTED BY DAY


                                                                                                            500
 1000




    0                                                                                                           0
                     Apr 2020               May 2020                 Jun 2020               Jul 2020                            Apr 2020               May 2020                  Jun 2020                 Jul 2020


   *Patients who resolved, died, or released before they resolved are not included in graph above.          *Released or transfered patients are in the 'Tested By Day' graph but not included in the 'Last 14 Days'
   Active case count by date may be delayed 2-3 days while awaiting test results.                           count if no longer at the selected institution. Counts may be delayed 2-3 days while awaiting results.


 CONFIRMED CASES : Rate Comparison                                                                          TESTING: Rate Comparison
                                                                       Cumulative Per 1,000 People                                                                                  Cumulative Per 1,000 People
   Institution: SQ              CDCR                   California               United States                   Institution: SQ             CDCR                  California                United States


        455.1                   50.7                       4.7                          7.0                         825.8                  406.4                      86.3                          83.9
                                                                                                                                                                               Data Last Updated: Jul 8 2020 5:46PM



    Confirmed              Confirmed Table View                  Testing                   Trended              Trended Table View           Institution View             Definitions              Version History




   Microsoft Power BI                                                                                  6 of 8
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https://www.cdcr.ca.gov/covid19/population-status-tracking/                                                                                                                                                              1/2
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https://www.cdcr.ca.gov/covid19/population-status-tracking/                               2/2
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                        EXHIBIT O
                      Case https://nyti.ms/3dKVI9B
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San Quentin Prison Was Free of the Virus. One Decision Fueled an Outbreak.
The virus arrived in San Quentin after busloads of prisoners were transferred from another facility where infections were rising. What
happened is a warning for the nationʼs prisons, experts say.

By Timothy Williams and Rebecca Griesbach

June 30, 2020


The coughing and complaints of sickness began as a procession of busloads of prisoners made its way late last month from a Southern
California prison to San Quentin, California’s oldest and most widely known prison, perched on a bluff overlooking San Francisco Bay, not
far from the Golden Gate Bridge.

The inmates were being moved to San Quentin as part of a plan to halt the spread of the coronavirus by reducing the number of inmates at
the California Institution for Men in Chino, where nine inmates had died and nearly 700 had been infected.

At the time, there were no inmates known to have had the virus at San Quentin.

Within days, some of the 121 prisoners from the buses introduced the virus at San Quentin, public health ofﬁcials say. More than 1,100 of
the 3,700 prisoners have since been infected at San Quentin, the foreboding structure surrounded by barbed wire fences and dotted with
guard towers that was once famously home to inmates including Charles Manson; Sirhan Sirhan, who assassinated Robert F. Kennedy;
and George Jackson, an inmate who wrote “Soledad Brother,” a series of letters from prison.

The transfer of inmates — an effort intended to slow the virus, which instead apparently created a new outbreak — has been denounced
by health ofﬁcials, a federal judge and a growing number of state lawmakers as a public health failure. How San Quentin went from being
a prison that had held off the virus for months to a place inundated with sick inmates represents a cautionary tale for the nation’s prison
system amid the pandemic.

“What happened — what’s happening — it can really happen anywhere, particularly in an overcrowded prison, which unfortunately is the
norm,” said Dr. David Sears, a physician and professor of medicine at the University of California, San Francisco, who toured San Quentin
on June 13 and warned state ofﬁcials about the emerging crisis. “San Quentin’s not the ﬁrst prison to have a large outbreak, and
unfortunately it won’t be the last.”

Days into the outbreak, the prison has grown increasingly chaotic, inmates and others say. More than 160 of San Quentin’s 725 death row
inmates have been infected, prison ofﬁcials said, including one who has died. A number of older prisoners have hung handwritten signs
outside their cells that read “Immune Compromised” so that guards will wear masks around them. Other inmates refuse to leave their
cells out of fear of catching the virus, according to an inmate, and in recent days, guards have been heard screaming over their radios,
“Man down!” after sickened inmates were unable to stand up.

The conversation has been dominated by talk of death.

“I don’t want to see them die,” Rahsaan Thomas, a 49-year-old inmate said of some of the older prisoners in a telephone interview. “I don’t
know if I’m tough enough to survive Covid.”

The California Department of Corrections and Rehabilitation said in a statement that it was very concerned about the surge in infections
in San Quentin, adding that prison workers had increased testing among inmates and had limited the number of transfers between
prisons.

At a hearing before the State Senate on Wednesday, prison ofﬁcials took some responsibility for the outbreak. “We care about the inmates,
we care about the staff,” said Ralph Diaz, secretary of the state’s Department of Corrections and Rehabilitation told the committee. “Could
we have done better in many instances? Of course we can.”

Broadly, Dana Simas, a spokeswoman for the agency, said that California ofﬁcials were conﬁdent that they could halt the spread of the
virus given that the prison system had longstanding plans for managing other outbreaks of inﬂuenza, norovirus, measles and mumps.



        Latest Updates: Global Coronavirus Outbreak          Updated 2h ago


    •   The U.S. sets another daily record for new cases, surpassing 59,000.

    •   As cases surge in the Tulsa area, top health ofﬁcial says the spike may be linked to Trump rally.

    •   The C.D.C. announces it will issue new guidelines for reopening schools, hours after Trump assailed its recommendations.
     See more updates
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     More live coverage: Markets




Across the United States, the number of prison and jail inmates known to be infected has doubled during the past month to more than
80,000, according to a New York Times database. Prison deaths tied to the coronavirus have also risen signiﬁcantly, by nearly 30 percent
since mid-May. Nine of the 10 largest known clusters of the virus in the United States are inside correctional institutions, The Times’s data
shows.

In California prisons, the number of cases has risen by nearly 200 percent and deaths by 144 percent during the past month.




                                   San Quentin opened in 1852, and is at 117 percent of its capacity, according to state data.
                                   As many as half of all inmates suffer from health conditions that make them especially
                                   vulnerable to the virus. Justin Sullivan/Getty Images



Public health ofﬁcials in California and elsewhere have been bracing for months for what they say was inevitable — the spreading of the
coronavirus in correctional facilities, which possess unique vulnerabilities.

Most jails and prisons were designed to focus on security. Ventilation is often poor and access to health care is inconsistent. Prison health
care in California has historically been so substandard that health services are administered by a federal receiver.

California prisons have required everyone to wear masks, but social distancing policies and mask-wearing rules among prison guards are
nearly impossible to enforce. Longstanding prohibitions on cleaning supplies that contain bleach or alcohol have made it difﬁcult for
crowded facilities like San Quentin to meet even basic sanitary standards given that hundreds of inmates share a limited number of toilets,
telephones and shower stalls.

Since the pandemic, California has agreed to release as many as 3,500 inmates up to six months early and is considering more early
releases, but the prison system remains at 124 percent of capacity, according to state records.

Public health experts said deﬁciencies were made worse at San Quentin. The prison is dominated by row after row of barred cells. Paint
peels from walls, state work orders show, and puddles form after rain showers because the ceilings leak.

The prison opened in 1852, and is at 117 percent of its capacity, according to state data. As many as half of all inmates suffer from health
conditions that make them especially vulnerable to the virus.

“There’s no way to address a public health problem when you need to isolate people but your system is bursting at the seams,” said
Adamu Chan, a San Quentin inmate.

Dr. Brie Williams, a physician and professor of medicine at the University of California, San Francisco, and director of the university’s
Criminal Justice & Health Program, said absent a coronavirus vaccine, prisons were outmatched, despite their plans for managing other
sorts of outbreaks.

“The difference with this infection is that with all of those other conditions we were able to essentially, eventually throw money at them in
the way of fancy medications,” she said.
Dr. Matt Willis, the top public
                  Case          health ofﬁcial in Marin County,
                          1:20-cv-00966-TLN-AC                  where San 3-2
                                                           Document       Quentin is, said
                                                                                Filed      state prison Page
                                                                                         07/12/20       ofﬁcials132
                                                                                                                had told him they were
                                                                                                                     of 194
capable of handling the virus on their own.

The county’s health department was told by state prison leaders “very clearly that this is not part of our jurisdiction,” Dr. Willis said. The
corrections system, he said, has a “lot of control over every aspect of their processes” and has not been transparent about their handling of
the virus.

“It may work in certain settings,” he added, “but when you have a complex disaster that’s moving quickly, I think we’re ﬁnding that the
process is just not matching our needs.”

San Quentin’s crisis began with a handful of decisions that were made as ofﬁcials were trying to quell the outbreak in Chino, interviews
with inmates, correctional ofﬁcers, elected ofﬁcials and health experts show.

On May 30, the inmates from Chino boarded buses for San Quentin after being told they were being transferred to reduce overcrowding,
which would protect vulnerable inmates at the prison they were leaving, the California Institution for Men.

Each of the 121 inmates who boarded the buses had been tested at various points over the previous several months, but few — if any —
had been tested during the previous three weeks, prison ofﬁcials have acknowledged.

Arriving at San Quentin, prisoners’ temperatures were taken and they were placed in a holding area, but no Covid-19 tests were given.

For days, the men used the same showers and ate in the same dining hall as other San Quentin inmates.

It took only days, data from the prison system shows, for the virus to make its way through the prison, where hundreds of inmates sleep in
bunk beds within a few inches of one another in a crowded dormitory that was once a gymnasium. In other parts of the prison, men are
paired inside 4-by-9 foot cells.

Over the past week, the prison has conducted mass testing. So far, more than half the inmates tested have seen positive results, state data
shows.

The virus has spread so rapidly and there is so little unoccupied space left at the sprawling prison that some infected inmates have been
placed in small isolation cells where, in normal times, death row inmates are sent for punishment.

Marion Wickerd got a call last week from her husband Tommy Wickerd, 53, an inmate in San Quentin.

“He said, ʻPeople are dropping right and left in front of me, but I’m OK,” Ms. Wickerd said.

A few hours later, though, he called back. He had tested positive. She said she had not spoken to him in several days.

“All I know is that my husband is not dead because no one has called to tell me that,” she said. “Worried? You bet. Scared? You bet.”

Reporting was contributed by Brendon Derr, Danya Issawi, Ann Hinga Klein, Savannah Redl and Maura Turcotte.

A version of this article appears in print on July 1, 2020, Section A, Page 8 of the New York edition with the headline: 121 Inmates Were Moved to San Quentin. The Virus Came, Too.
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                        EXHIBIT P
7/8/2020                                                        CountyMonitoringData- Step2

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                  COVID-19


                County Data Monitoring
                Step 2: Targeted Engagement with CDPH

                County Data Chart
                In partnership, CDPH will work with Local Health Departments to set up strategy calls and provide technical
                assistance. The following areas will be discussed:

                       Identify the drivers of the changing situation and whether it is increasing confirmed cases, uptick in
                       hospitalizations and ICU patients, outbreaks in congregate settings such as skilled nursing facilities (SNFs) or
                       jails/prisons, or community transmissions in settings such as churches, workplaces, or agriculture, and
                       amongst other specific populations experiencing disease disproportionately.
                       Review of the strategies already in place by the Local Health Department and community to address each of
                       the areas of concern, including locally defined plans and protocols published through variance attestations.
                       Discuss additional steps that should be taken in various environments such as more aggressive testing
                       strategies, any issues with contact tracing, need for healthcare resources or infection control strategies.
                       Discuss issues that may develop as a result of currently identified issues, e.g. additional SNF or community
                       outbreaks leading to a healthcare surge.
                       Discuss any gaps in resources and clear articulation of any additional roles for the state and/or local
                       jurisdiction. Resource gaps should include commodities such as personal protective equipment (PPE),
                       testing supplies, or other consumables.
                       Review of business sectors that are open and whether any other state agencies may be needed in the
                       discussion given their ownership of the facility or role in regulating that business sector.
                       Review of Local Containment Triggers and Consideration of renewing non-pharmaceutical interventions
                       (NPI).

                The state will work closely with Local Health Departments to identify action steps and timelines for addressing
                issues that impact indicators of concern. Counties currently being monitored at this step, the drivers of their
                situation, and key action steps identified are below:

                       Colusa County (has variance) is experiencing elevated disease transmission. Drivers of this include family
                       and community gatherings. Actions to address these concerns include 1) NPI interventions such as
                       encouraging social distancing, use of face coverings and hand hygiene. 2) Increasing case investigators and
                       contact tracing 3) reassign sta to assist investigators and contact tracers 4) provide just in time training to
                       current DHHS bilingual sta so they can immediately begin case investigation and contact tracing. 5) identify
                       bilingual sta that can be reassigned within the County that can assist with translation only, not investigation
                       or tracing 6) utilize the language line to allow non-bilingual sta to case investigate and contact trace 7) daily
                       Facebook posts encouraging individuals to wear face coverings 8)Media campaign to explain the importance
                       of both isolation and quarantine.




https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-19/CountyMonitoringDataStep2.aspx                                                    1/7
7/8/2020                                                         CountyMonitoringData- Step2

                CaseContra Costa County (has variance)
                     1:20-cv-00966-TLN-AC              is experiencing
                                                   Document       3-2 elevated disease transmission
                                                                       Filed 07/12/20       Page 135and increasing
                                                                                                         of 194
                       hospitalization. There is a concerning rise in the number of people hospitalized. This is in parallel to a rise in
                       overall cases. Key actions to address the increase include 1) delaying the opening of additional business and
                       activities in an e ort to encourage people to stay home and avoid gatherings, 2) continuing to adhere to the
                       State's guidance on face coverings and enforcement activities, 3) working with communities and community-
                       based organizations to share messaging about face coverings and other prevention techniques along with
                       the importance of testing, and 4) continuing to provide infection prevention expertise to assist skilled nursing
                       facilities and other congregate care facilities on infection control practices and proper use of PPE.


                       Fresno County (has variance) is experiencing elevated disease transmission. A driver of this are outbreaks in
                       SNFs and the impact of the Avenal State Prison outbreak on sta who live in surrounding counties, such as
                       Fresno. Key actions to address concerns include 1) continuing to provide Infection Preventionists expertise to
                       assist SNFs on infection control practices; 2) ensure baseline testing of SNF residents and health care
                       workers; 3) ensure adequate and proper use of PPE; and, 4) coordination and communication between CDCR,
                       CDPH, and the Local Health Department to mitigate outbreaks at state prisons with employees who return to
                       live in Fresno County.


                       Glenn County (has variance) is experiencing elevated disease transmission. Drivers of this include an
                       increase in outbreaks and clusters related to 1) household contacts, 2) social gatherings 3) businesses in the
                       county 4) one church gathering and 5) one case that traveled to Mexico. Actions to address these concerns
                       include 1) Working with businesses on health check screenings and NPI enforcement and monitoring 2)
                       Increasing case investigators and contact tracing 3) Increase testing and media campaigning for those that
                       are symptomatic 4) Develop a process to handle incoming cases in a timely and e icient manner.


                       Imperial County is experiencing elevated disease transmission. Drivers of this include U.S. citizens/residents
                       traveling to or from Mexicali to work and/or seek healthcare and other services, continued need for sta ing
                       solutions at hospitals, and outbreak at meat packing facility. Key actions to address concerns include 1)
                       building additional testing capacity, 2) training and onboarding contact tracing sta , 3) transporting patients
                       to hospitals in neighboring counties when hospital capacity is full or limited; and, 4) stand up support for
                       alternative care sites.


                       Kern County (has variance) is experiencing elevated disease transmission and increasing hospitalization.
                       Drivers of this include 1) outbreaks at SNFs and state/federal prisons and 2) residents in surrounding counties
                       being admitted to their county hospital. Key action steps include: 1) communicate and coordinate with CDPH
                       to provide Infection Preventionists expertise to assist SNFs and to ensure baseline testing at these facilities;
                       2) promote community testing sites; and, 3) targeted outreach and improve public messaging and education
                       on the importance personal protection measures across various sectors.


                       Kings County (has variance) is experiencing elevated disease transmission, increasing hospitalizations, and
                       limited hospital capacity. Drivers of this include county experiencing outbreaks at Avenal State prison within
                       their jurisdiction, resulting in secondary infection to sta working within the central and satellite kitchens;
                       outbreak at local Adventist Health (AH) admitting COVID positive patients from Tulare, Reedley, and SNF
                       outbreaks. Key actions to address concerns include 1) coordination and communication between local health
                       department, CDPH, and California Department of Corrections and Rehabilitation (CDCR) to mitigate outbreak
                       at Avenal State Prison; 2) order needed resources through the Standardized Emergency Management System



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7/8/2020                                                        CountyMonitoringData- Step2

                Casesuch as oxygen concentrators, health
                     1:20-cv-00966-TLN-AC                care sta , testing
                                                     Document               kits, and
                                                                    3-2 Filed         PPEs; and, 3)
                                                                                    07/12/20        continue
                                                                                                 Page    136toof
                                                                                                              engage
                                                                                                                 194 with SNFs
                       on infection control measures.


                       Los Angeles County (has variance) is experiencing the possibility of elevated disease transmission. Drivers
                       of this include having a high case rate that is highly related to high testing capacity and volume countywide,
                       which also includes testing all residents and sta at over 235 SNFs. Key actions to monitor the situation
                       include 1) monitoring positivity rate among those tested to ensure that there isn't a significant increase that
                       may signal more community transmission; 2) continuing to provide Infection Preventionists expertise to
                       assist SNFs and to ensure baseline testing at every SNF that has not reported any positive cases; and, 3)
                       working with the state to ensure supply chain issues related to PPE at SNFs are resolved


                       Madera County (has variance) is experiencing elevated disease transmission and limited hospital capacity.
                       Drivers of this include an increase in community spread cases related to 1) social gatherings 2) work exposure
                       3) person-to-person transmission in large households. Actions to address these concerns include 1) contact
                       tracing 2) local and regional messaging campaigns 3) education and technical assistance with businesses. 4)
                       collaborate with regional hospitals to make plans to transfer if needed 5) Setup Alternate Care Site for
                       patients.


                       Marin County (has variance) is experiencing elevated disease transmission, increasing
                       hospitalizations, and limited hospital capacity. Drivers of this include county experiencing
                       an outbreak at San Quentin State Prison within their jurisdiction; increased community
                       transmission among essential workers; and outbreaks in congregate settings and Latinx
                       neighborhoods. Key actions to address concerns include 1) coordination and
                       communication between local health department, CDPH, and California Department of
                       Corrections and Rehabilitation (CDCR) to mitigate outbreak at San Quentin State Prison; 2)
                       enhanced infection control practices and testing at residential care facilities for the elderly
                       (RCFE) and skilled nursing facilities (SNF); and 3) partnerships with community-based
                       organizations to increase testing, access to care and supports for vulnerable populations.

                       Merced County (has variance) is experiencing elevated disease transmission, increasing hospitalizations,
                       and limited hospital capacity. Drivers of this include increased community transmission, increased
                       exposures at work places (including several small outbreaks), and household clusters, particularly in the
                       Latinx/Hispanic community. Action steps to address these concerns include: 1) increased
                       marketing of community testing among priority populations; 2) increasing culturally responsive public
                       messaging and education on the importance personal protection measures including face coverings; and, 3)
                       educational outreach to businesses to convey importance of implementing safety measures in order
                       to prevent future shutdown.


                       Monterey County (has variance) is experiencing elevated disease transmission. Drivers include 1)
                       community transmission as more individuals leave their homes to work or to seek services, and 2) workplace
                       transmission followed by household transmission. Key actions to slow transmission of COVID-19 include 1)
                       promoting and building additional testing capacity in geographic areas with low testing rates; 2) continuing
                       case and contact investigations; 3) continuing to coordinate with local hospitals, clinics, and skilled nursing
                       facilities to ensure surge response readiness, and; 4) focusing additional outreach and educational
                       messaging in geographic areas and among populations disproportionately a ected by COVID-19.




https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-19/CountyMonitoringDataStep2.aspx                                                  3/7
7/8/2020                                                        CountyMonitoringData- Step2

                CaseNapa County (has variance) is experiencing
                     1:20-cv-00966-TLN-AC           Document   elevated
                                                                  3-2 disease transmission.Page
                                                                        Filed 07/12/20     Drivers137
                                                                                                  of thisofinclude
                                                                                                             194 family and
                       community gatherings, increased community transmission, increased transmission among the
                       Latino population within crowded household settings, and disproportionate impact on agricultural workers.
                       Actions to address these concerns include: 1) NPI interventions such as encouraging social distancing, use of
                       face coverings and hand hygiene; 2) increasing bilingual case investigators and contact tracing sta ; 3)
                       education on staying within household bubbles, using traditional and social media and door-hanger
                       campaigns; 4) public education of social distancing and face coverings through radio, Facebook Live,
                       newspaper and social media; 5) testing of all case contacts, surveillance testing of skilled nursing facilities
                       and farmworkers within vineyard management with exposures or outbreaks; 6) formation of an
                       intergovernmental compliance task force to enforce social distancing and face coverings; and 7) engagement
                       of industry groups and community based organizations for vulnerable populations.


                       Orange County (has variance) is experiencing an increase in hospitalization. Drivers of this include: a)
                       community transmission from gatherings, b) workplace transmission, c) outbreaks in non-medical
                       congregate livings such as assisted living facilities, memory care facilities, etc. Orange County's key action
                       steps to address concerns include: 1) collaborating with cities and the business community to increase public
                       messaging on the importance of social distancing, not gathering, and mandate face covering. 2) increase
                       testing sites and education outreach in communities where positive cases are high; and, aggressive targeted
                       educational outreach to ethnic communities, 3) working with hospital and health systems to monitor and
                       understand hospitalizations and prepare for the surge, 4) implementation of hospital criteria for shi ing to
                       Crisis Care Strategies (surge plan activations), 5) prioritizing medical resource distribution to hospitals most
                       burdened with COVID-19 patients. 6) monitoring positivity rate among those tested to ensure that there isn't
                       a significant increase that may signal more community transmission, 7) contracting with community-based
                       organizations to provide outreach to specific ethnic groups; share messaging about face coverings and other
                       prevention techniques along with the importance of testing; provide necessary supports for social
                       determinant of health needs, 8) providing infection prevention expertise to assist skilled nursing facilities and
                       other congregate care facilities on infection control practices and proper use of PPE.


                       Riverside County (has variance) is experiencing elevated disease transmission. Drivers of this include: 1)
                       outbreaks at state prisons and skilled nursing facilities (SNFs), 2) potential transmission at public protests
                       with large numbers of people in close proximity without face coverings, 3) in-county patient transfers from
                       Imperial County, 4) patients seeking care from Northern Baja California and traveling along SR-86 corridor
                       into Coachella Valley and 5) general increases in local gatherings. Key action steps to address concerns
                       include: 1) close monitoring of data; 2) increase testing volume at county and state sites; 3) continue SNF
                       outreach and support and implement Quick Response Task Force assistance for high risk facilities; 4) expand
                       contact tracing workforce; 5) increase public messaging on the importance of personal protection measures;
                       and 6) coordination and communication between the local health department, CDPH, and California
                       Department of Corrections and Rehabilitation (CDCR) to mitigate outbreaks at state prisons.


                       Sacramento County (has variance) has experienced the possibility of increasing hospitalization. Drivers of
                       this include community transmission due to holiday gatherings amongst large families. Key action steps to
                       address concerns include (1) increase of public messaging on the importance of social distancing, not
                       gathering, and mandate face covering, (2) more testing sites and education outreach in communities where
                       positive cases are high, and (3) targeted educational outreach to ethnic communities.


                       San Benito County (has variance) is experiencing elevated disease transmission. Drivers of this include an
                       increase in outbreaks and clusters related to 1) household contacts, 2) social gatherings and 3) businesses in
                       the county. Actions to address these concerns include: 1) working with businesses on health check


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7/8/2020                                                        CountyMonitoringData- Step2

                Casescreenings and NPI enforcement; 2)
                     1:20-cv-00966-TLN-AC              monitoring increasing
                                                    Document      3-2 Filed  case investigatorsPage
                                                                                07/12/20        and contact
                                                                                                      138 oftracing;
                                                                                                               194 3)
                       increasing testing and media campaigning for those that are symptomatic; and 4) working with external
                       partners to improve e icient case reporting and processing.



                       San Bernardino County (has variance) is experiencing elevated disease transmission and increasing
                       hospitalizations. Drivers of this include: 1) community transmission from gatherings, 2) workplace
                       transmission, 3) transmissions at state prison, state hospital, county jails and academy, and skilled nursing
                       facilities, 4) transfer of patients from Imperial County. Action steps to address these concerns include: 1)
                       expanding community testing and testing among priority populations; 2) coordination and communication
                       between local health department, CDPH, and California Department of Corrections and Rehabilitation
                       (CDCR) to mitigate outbreaks at state prisons; and with CDPH for outbreak mitigation at the State Hospital, 3)
                       providing SNF Taskforce support and Infection Prevention expertise to support SNFs; 4) increasing public
                       messaging and education on the importance personal protection measures including face coverings and
                       personal responsibility; 5) working with labs and employers to increase turn-around time from diagnosis to
                       isolation and initiation of case contacting; and 6) increasing number of contact tracers.


                       San Diego County (has variance) has an elevated case rate due to widespread COVID-19
                       disease transmission. County has taken following key ac ons to mi gate the situa on 1)
                       closing restaurants, bar, and breweries to decrease access, exposure, and gatherings; 2)
                       requiring customers of these venues to be seated at socially distanced tables; 3)
                       encouraging outdoor dining, which contributes to a lower risk of infec on; 4) encouraging
                       the younger popula on to use face coverings and prac ce social distancing through
                       outreach to universi es, colleges, transi onal age youth, and other community youth
                       organiza ons; and 5) working with industry associa ons to conduct educa on and
                       outreach. County has taken the following key ac ons to manage the situa on 1)
                       con nuing to onboard suﬃcient case inves gators and contact tracers to prevent
                       addi onal community transmission; 2) increasing tes ng sites to reach vulnerable and
                       younger popula ons; 3) deploying County strike teams to conduct site assessment at
                       skilled nursing facility (SNFs), non-SNFs/long-term care facili es, and community se ng
                       outbreaks; and 4) evalua ng and modifying eﬀorts to ensure tes ng is available
                       throughout the community for all popula ons. Lastly, county has taken the following key
                       ac ons to monitor the situa on include 1) monitoring the posi vity rate among those
                       tested to ensure that there is not a signiﬁcant increase that may indicate more
                       community transmission; 2) con nuing to work with congregate care facili es to
                       implement infec on preven on and control measure and assist with educa on and
                       tes ng; and 3) con nuing to monitor, iden fy and assess impacts due to local
                       demographics.


                       San Joaquin County (has variance) is experiencing increasing hospitalization and limited hospital capacity.
                       Drivers of this include 1) community transmission due to gatherings, 2) workplace transmission followed by
                       household transmission; 3) SNF outbreaks; and, 4) increase in widespread testing. Action steps to address
                       concerns include: 1) increase public messaging on the importance of personal protection measures and the
                       risks involved with mass gatherings in multiple languages; 2) continuing to provide Infection Preventionists
                       expertise to assist SNFs on infection control practices, ensure baseline testing and proper use of PPE.


                       Santa Barbara County (has variance) is experiencing increasing hospitalization related to increasing cases
                       in our north county region. Drivers of this increase include 1) community transmission due to gatherings, 2)
                       workplace transmission and household transmission; 3) SNF outbreaks; and 4) increase in widespread
                       community testing. Key action areas to address concerns include 1) engage community leaders,

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                Casestakeholders, and members in taking
                     1:20-cv-00966-TLN-AC               actions to 3-2
                                                    Document       preventFiled
                                                                           community transmission;
                                                                                07/12/20   Page2)139
                                                                                                   continue
                                                                                                      of 194prevention
                       messaging through multiple mediums; 3) continue to enhance contact tracing; and 4) continuing to provide
                       Infection Preventionists expertise to assist SNFs on infection control practices, ensure baseline testing, and
                       proper use of PPE.


                       Solano County (has variance) is experiencing increasing hospitalization. Drivers include a
                       large outbreak among farm workers in the vineyards in Sonoma and Napa who are residing
                       in Solano, as well as an ongoing surge in cases related to family gatherings and other social
                       gatherings on the weekends. The farm worker cases total many dozens over the past one
                       to two weeks, and the close-contact cases appear to have begun with weekend activities in
                       early May and are continuing to the present. The large number of such cases overall is
                       resulting in an increase in hospitalized cases. These cases are not at present resulting in a
                       strain on the hospitals or in ICU admissions but the county is monitoring this closely.
                       County reports that hospitals in their jurisdiction have multiple levels of surge capacity for
                       hospitalizations and for ICU admissions, if these become necessary. Key action steps
                       include: working with the neighboring counties and with the vineyard management
                       companies to implement social distancing measures; 2) educating the workers themselves
                       (using Spanish interpreters) on social distancing measures; 3) providing appropriate
                       cautionary messages through social media and the press about the risks of gatherings, not
                       social distancing and not using personal protection measures.

                       Stanislaus County (has variance) is experiencing increasing hospitalization. Drivers of this include an 1)
                       increase in outbreaks and clusters related to family gatherings, businesses (in and out of county) and
                       healthcare facilities; 2) the hospital being a regional hospital accepting patients that are residents outside the
                       county; 3) decreased attention to personal protection measures such as face coverings and social distancing.
                       Action steps to address concerns include 1) prioritizing rapid contact tracing, isolation and quarantine by
                       public health sta for new positive cases; 2) continual monitoring of tests being conducted in the county and
                       relocating sites, when necessary, to more densely populated and higher incidence areas, 3) continually
                       o ering businesses resources and technical assistance to comply with local requirements; 4) closely
                       monitoring healthcare facilities and continuing to provide Infection Preventionist expertise to assist SNFs
                       with planning and response; 5) retaining trained employees from other county departments to continue to
                       assist in contact tracing; 6) partnering with community-based organizations serving minorities for outreach,
                       education, and mobile testing; and 7) increased messaging including a public media campaign to promote
                       face covering and social distancing.


                       Tulare County (has variance) is experiencing elevated disease transmission. Drivers of this include
                       outbreaks in skilled nursing facilities and work places and barriers to preventing transmission within
                       households. Increased hospitalizations and ICU utilization have been related to multiple conditions other
                       than COVID19. Key action areas to address concerns include 1) continue to engage with SNFs and
                       businesses and with ongoing collaboration with Licensing and Certification and the HAI program; 2) continue
                       to enhance contact tracing; and, 3) continue public messaging through multiple mediums about actions to
                       prevent community transmission.


                       Ventura County (has variance) is experiencing increasing hospitalizations related to increasing cases in our
                       county. Drivers of this increase include: 1) community transmission due to gatherings; 2) essential workplace
                       transmission followed by household transmission; 3) transmission in overcrowded housing; 4) SNF
                       outbreaks; and 5) increase in widespread community testing through our drive-thru testing locations. Key
                       action areas to address concerns include: 1) engage community leaders, stakeholders, and members in

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                Casetaking actions to prevent community
                     1:20-cv-00966-TLN-AC               transmission;
                                                    Document      3-22) continue prevention messaging
                                                                         Filed 07/12/20     Page 140  through multiple
                                                                                                         of 194
                       mediums including visiting workplaces/residential complexes in areas where we have increased community
                       transmission; 3) continue to enhance case investigation and contact tracing e orts; and 4) continuing to
                       provide Infection Preventionists expertise to assist SNFs on infection control practices, ensure baseline
                       testing, and proper use of PPE.


                       Yolo County (has variance) is experiencing elevated disease transmission and limited hospital capacity.
                       Drivers of this include: 1) community transmission due to social and family gatherings; 2) workplace
                       transmission; and 3) an increase in widespread testing at skilled nursing facilities. Action steps to address
                       concerns include: 1) increase in disease investigation and contact tracing; 2) ongoing support for long-term
                       care and congregate community facilities on infection control practices; 3) public messaging on social
                       distancing and face covering mandates; 4) targeted educational outreach to religious groups and Latino
                       communities; and 5) increased enforcement of mandated health and safety measures.

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                         EXHIBIT 2
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11                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                                   FOR THE COUNTY OF KERN
13

14   IMMIGRANT LEGAL RESOURCE CENTER, Case No:    BCV-20-101507-JEB
     FREEDOM FOR IMMIGRANTS,
15                                    Assigned for all purposes to:
               Petitioners,           Honorable Eric J. Bradshaw
16
            vs.                                    DECLARATION OF JAN MESLIN IN
17                                                 SUPPORT OF PETITIONERS’
     CITY OF MCFARLAND, CITY OF                    APPLICATION FOR TEMPORARY
18   MCFARLAND PLANNING COMMISSION,                RESTRAINING ORDER AND ORDER
                                                   TO SHOW CAUSE
19                 Respondents,
                                                   Date:  July 13, 2020
20   GEO GROUP, INC.,                              Time: 8:30 a.m.
                                                   Dept.: T-2
21                 Real party in interest.         Judge: Eric J. Bradshaw
22

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                          MESLIN DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
     57532104.v1
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 1           I, Jan Meslin, declare as follows:
 2   1.      I am over the age of eighteen and competent to provide testimony. I have personal
 3   knowledge of all information provided herein, except as to those matters stated upon my
 4   information or belief, and as to those matters I believe it to be true. If called upon to testify, I
 5   could and would testify as sworn in this declaration.
 6   2.      I am the Director of Social Change Development with Petitioner Freedom for
 7   Immigrants.
 8   3.      I personally attended the January 21, 2020 and February 18, 2020 hearings of the
 9   McFarland Planning Commission.
10   4.      At the January 21, 2020 Planning Commission meeting, members of the public who
11   wished to address the Planning Commission were required by McFarland staff members to fill
12   out comment cards. On information and belief, these comment cards required individuals to
13   identify themselves by name. City staff did not permit any member of the public who did not fill
14   out a comment card to address the Planning Commission.
15   5.      On information and belief, approximately one hundred and fifty to two hundred members
16   of the public attended the January 21, 2020 Planning Commission Meeting.
17   6.      At the February 18, 2020 Planning Commission meeting, members of the public who
18   wished to comment were required to fill out a comment card before the meeting began at 6:00
19   p.m. On information and belief, these comment cards required individuals to identify themselves
20   by name. City staff did not permit any member of the public who did not fill out a comment card
21   before 6:00 p.m. to address the Planning Commission.
22   7.      I intended to offer public comment at the February 18, 2020 hearing. I asked to fill out a
23   comment card at approximately 6:05 p.m., but was not allowed to by City staff. I was thereby
24   denied a chance to offer public comment to the Planning Commission.
25   8.      On information and belief, approximately three hundred members of the public attended
26   the February 18, 2020 Planning Commission meeting.
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                            MESLIN DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
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                         EXHIBIT 3
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 8

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11                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                                   FOR THE COUNTY OF KERN
13

14   IMMIGRANT LEGAL RESOURCE CENTER, Case No:    BCV-20-101507-JEB
     FREEDOM FOR IMMIGRANTS,
15                                    Assigned for all purposes to:
               Petitioners,           Honorable Eric J. Bradshaw
16
            vs.                                   DECLARATION OF ALEX GONZALEZ
17                                                IN SUPPORT OF PETITIONERS’
     CITY OF MCFARLAND, CITY OF                   APPLICATION FOR TEMPORARY
18   MCFARLAND PLANNING COMMISSION,               RESTRAINING ORDER AND ORDER
                                                  TO SHOW CAUSE
19                 Respondents,
                                                  Date: July 13, 2020
20   GEO GROUP, INC.,                             Time: 8:30 a.m.
                                                  Dept.: T-2
21                 Real party in interest.        Judge: Eric J. Bradshaw
22

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                                               -1-
                        GONZALEZ DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
     57532081.v1
 Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 147 of 194



 1           I, Alex Gonzalez, declare as follows:
 2   1.      I am over the age of eighteen and competent to provide testimony. I have personal
 3   knowledge of all information provided herein, except as to those matters stated upon my
 4   information or belief, and as to those matters I believe it to be true. If called upon to testify, I
 5   could and would testify as sworn in this declaration.
 6   2.      I am a resident of Kern County and an organizer with Faith in the Valley, a faith-based
 7   community organizing group.
 8   3.      I personally attended the January 21, 2020 and February 18, 2020 hearings of the
 9   McFarland Planning Commission.
10   4.      At the January 21, 2020 Planning Commission meeting, members of the public who
11   wished to address the Planning Commission were required by McFarland staff members to fill
12   out comment cards. On information and belief, these comment cards required individuals to
13   identify themselves by name. City staff did not permit any member of the public who did not fill
14   out a comment card to address the Planning Commission.
15   5.      On information and belief, approximately one hundred and fifty to two hundred members
16   of the public attended the January 21, 2020 Planning Commission Meeting. Although the
17   maximum capacity for McFarland City Council chambers, where the January 21, 2020 meeting
18   was held, is fifty, the City provided overflow capacity outdoors.
19   6.      At the February 18, 2020 Planning Commission meeting, members of the public who
20   wished to comment were required to fill out a comment card before the meeting began at 6:00
21   p.m. On information and belief, these comment cards required individuals to identify themselves
22   by name. City staff did not permit any member of the public who did not fill out a comment card
23   before 6:00 p.m. to address the Planning Commission.
24   7.      On information and belief, approximately three hundred members of the public attended
25   the February 18, 2020 Planning Commission meeting. The City again provided overflow
26   capacity outdoors.
27   8.      I personally attended, via the Zoom videoconferencing platform, the April 23, 2020
28   meeting of the McFarland City Council.
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                          GONZALEZ DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
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 1   9.     Although I was able to connect to the City Council meeting through Zoom, I began
 2   receiving text messages from several community members shortly after the meeting began at
 3   6:00 p.m. These individuals wrote to let me know that they were unable to connect to the hearing
 4   through Zoom or the dial-in number the City had provided, and they included McFarland
 5   resident C. Navarro.
 6   10.    McFarland residents G. Santiago and J. Hernandez, both monolingual Spanish speakers,
 7   later informed me that they also were unable to connect. On information and belief, both
 8   intended to offer public comment. As a result of technical difficulties, they were unable to.
 9   11.    At the April 23, 2020 City Council meeting, I addressed the City Council during its open
10   public comment session. I requested that the meeting be postponed given the difficulties that
11   many members of the public were experiencing connecting to the meeting. McFarland Mayor
12   Sally Gonzalez responded that the Zoom platform enabled one hundred members of the public to
13   attend, more than the maximum capacity of the City Council chambers.
14   12.    Shortly after addressing City Council during the open public comment session, my
15   videoconference connection was dropped. I was able to reconnect via videoconference
16   approximately thirty minutes later.
17   13.    During the period for public comments pertaining specifically to the modifications of
18   Conditional Use Permits 01-96 and 02-96, which would allow the Geo Group, Inc. to house
19   federal immigration detainees in McFarland-based facilities, I was not allowed by City staff to
20   offer public comment. I was told by City staff that I had exhausted my time with my earlier
21   comment, which addressed an entirely separate issue.
22                  I declare under penalty of perjury that the foregoing is true and correct and
23   executed this _7th_ day of July, 2020 at Bakersfield, California.
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25                                                        __________________________________
26                                                        Alex Gonzalez
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                         GONZALEZ DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
     57532081.v1
Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 149 of 194




                         EXHIBIT 4
 Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 150 of 194


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 6   Facsimile: 415.398.2438
 7   Attorneys for Petitioners IMMIGRANT LEGAL RESOURCE
     CENTER and FREEDOM FOR IMMIGRANTS
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11                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                                   FOR THE COUNTY OF KERN
13

14   IMMIGRANT LEGAL RESOURCE CENTER, Case No:    BCV-20-101507-JEB
     FREEDOM FOR IMMIGRANTS,
15                                    Assigned for all purposes to:
               Petitioners,           Honorable Eric J. Bradshaw
16
            vs.                                    DECLARATION OF JIM GRANT IN
17                                                 SUPPORT OF PETITIONERS’
     CITY OF MCFARLAND, CITY OF                    APPLICATION FOR TEMPORARY
18   MCFARLAND PLANNING COMMISSION,                RESTRAINING ORDER AND ORDER
                                                   TO SHOW CAUSE
19                 Respondents,
                                                   Date:  July 13, 2020
20   GEO GROUP, INC.,                              Time: 8:30 a.m.
                                                   Dept.: T-2
21                 Real party in interest.         Judge: Eric J. Bradshaw
22

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                          GRANT DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
     57532136.v1
Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 151 of 194
Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 152 of 194




                         EXHIBIT 5
 Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 153 of 194


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11                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                                   FOR THE COUNTY OF KERN
13

14   IMMIGRANT LEGAL RESOURCE CENTER, Case No:    BCV-20-101507-JEB
     FREEDOM FOR IMMIGRANTS,
15                                    Assigned for all purposes to:
               Petitioners,           Honorable Eric J. Bradshaw
16
            vs.                                   DECLARATION OF IVAN SANDOVAL
17                                                IN SUPPORT OF PETITIONERS’
     CITY OF MCFARLAND, CITY OF                   APPLICATION FOR TEMPORARY
18   MCFARLAND PLANNING COMMISSION,               RESTRAINING ORDER AND ORDER
                                                  TO SHOW CAUSE
19                 Respondents,
                                                  Date:  Monday, July 13, 2020
20   GEO GROUP, INC.,                             Time: 8:30 a.m.
                                                  Dept.: T-2
21                 Real party in interest.        Judge: Eric J. Bradshaw
22

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                        SANDOVAL DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
     57532121.v1
 Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 154 of 194



 1           I, Ivan Sandoval, declare as follows:
 2   1.      I am over the age of eighteen and competent to provide testimony. I have personal
 3   knowledge of all information provided herein, except as to those matters stated upon my
 4   information or belief, and as to those matters I believe it to be true. If called upon to testify, I
 5   could and would testify as sworn in this declaration.
 6   2.      I am a resident of McFarland, and I live just one block away from the Central Valley and
 7   Golden State Modified Community Correctional Facilities.
 8   3.      I personally attended the January 21, 2020 Planning Commission meeting.
 9   4.      I personally attended, via the Zoom videoconferencing platform, the April 23, 2020
10   meeting of the McFarland City Council.
11   5.      I intended to address City Council about the proposed modifications of Conditional Use
12   Permits 01-96 and 02-96, which would allow the Geo Group, Inc. to house federal immigration
13   detainees in the Central Valley and Golden State Modified Community Correctional Facilities.
14   6.      During the meeting, I used Zoom’s “hand-raise” function to indicate that I wished to
15   address City Council. Despite this, I was never permitted to address City Council.
16           I declare under penalty of perjury that the foregoing is true and correct and executed this
17   8th day of July, 2020 at McFarland, California.
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20                                                           Ivan Sandoval
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                          SANDOVAL DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
     57532121.v1
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                        EXHIBIT 6
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     Telephone: 415.398.3600
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 7   Attorneys for Petitioners IMMIGRANT LEGAL RESOURCE
     CENTER and FREEDOM FOR IMMIGRANTS
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11                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                                   FOR THE COUNTY OF KERN
13

14   IMMIGRANT LEGAL RESOURCE CENTER, Case No:    BCV-20-101507-JEB
     FREEDOM FOR IMMIGRANTS,
15                                    Assigned for all purposes to:
               Petitioners,           Honorable Eric J. Bradshaw
16
            vs.                                    DECLARATION OF DR. ERIC
17                                                 LOFGREN IN SUPPORT OF
     CITY OF MCFARLAND, CITY OF                    PETITIONERS’ APPLICATION FOR
18   MCFARLAND PLANNING COMMISSION,                TEMPORARY RESTRAINING ORDER
                                                   AND ORDER TO SHOW CAUSE
19                 Respondents,
                                                   Date Action Filed: July 1, 2020
20   GEO GROUP, INC.,
                                                   Date: Monday, July 13, 2020
21                 Real party in interest.         Time: 8:30 a.m.
                                                   Dept.: T-2
22                                                 Judge: Eric J. Bradshaw
23

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                         LOFGREN DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
     57532323.v1
 Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 157 of 194



 1          I, Dr. Eric Lofgren, declare as follows:
 2   1.     I am over the age of eighteen and competent to provide testimony, and I am a resident of
 3   Pullman, Washington. I have personal knowledge of all information provided herein, except as to
 4   those matters stated upon my information or belief, and as to those matters I believe it to be true.
 5   If called upon to testify, I could and would testify as sworn in this declaration.
 6   2.     I am providing this declaration in support of Petitioners’ Application for a Temporary
 7   Restraining Order and Order to Show Cause. Based on my professional experience as an
 8   epidemiologist, I believe that the transfer of detainees to and/or from detention facilities in
 9   McFarland, California would result in immediate and irreparable harm to public health in light of
10   the ongoing COVID-19 pandemic. Based my research concerning this subject, these dangers are
11   not limited to detainees—corrections officers and the surrounding community are also at risk.
12   3.     I have not been and do not expect to be compensated for my time in preparing this
13   declaration.
14   4.     I am an Assistant Professor in Washington State University’s Paul G. Allen School for
15   Global Animal Health, and have been employed in that position since December 2015. I am also
16   an Adjunct Professor in the university’s Department of Math and Statistics, and am affiliated
17   with the university’s Center for Interdisciplinary Statistical Education and Research.
18   5.     I received my PhD in Epidemiology from the University of North Carolina, Chapel Hill’s
19   Gillings School of Global Public Health in 2013.
20   6.     My research primarily concerns the spread and control of infectious diseases through
21   mathematics and computer simulation.
22   7.     My lab has worked on such projects as controlling healthcare-associated infections as
23   part of the CDC’s Modeling Infectious Diseases in Healthcare Network, modeling the spread of
24   infectious diseases between humans and animals, understanding and combatting emerging
25   infectious diseases, and eliminating rabies in Kenya.
26   8.     I was heavily involved in the response to the 2014 West African Ebola epidemic as well
27   as the initial outbreak of Middle East Respiratory Syndrome (MERS), another novel coronavirus.
28   This included leading the creation of a position paper on the role of modeling in public health
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                           LOFGREN DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
     57532323.v1
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 1   response and working closely with federal agencies including the Defense Threat Reduction
 2   Agency (DTRA) and the Biomedical Advanced Research and Development Authority
 3   (BARDA). Additionally, my research group is one of five in the nation funded by the Centers for
 4   Disease Control and Prevention (CDC) to model the spread of healthcare-associated infections,
 5   and we have been actively working on COVID-19 related research.
 6   9.     More details concerning my work, honors, and publications can be found in my
 7   curriculum vitae, a true and correct copy of which is attached hereto as Exhibit A.
 8   10.    In forming the opinions expressed in this declaration, I relied on a mathematical model
 9   that I designed to investigate the epidemiological and public-health consequences of jail
10   operations during the ongoing COVID-19 pandemic.
11   11.    A paper describing this model, and contrasting it with proposed interventions designed to
12   reduce adverse health outcomes, is attached hereto as Exhibit B. I co-authored that paper, The
13   Epidemiological Implications of Incarceration Dynamics in Jails for Community, Corrections
14   Officer, and Incarcerated Population Risks from COVID-19, with statisticians, mathematicians,
15   and biologists.
16   12.    This model uses data from Allegheny County, Pennsylvania, to simulate an urban area of
17   1.2 million people with a jail of 2500 people. While different cities will necessarily have
18   different raw numbers based on the size of the community, the size of their jail, city-specific
19   arrest rates, etc., the results of this model in terms of trends and patterns are broadly
20   generalizable to jails and other types of detention facilities in other communities.
21   13.    The paper provides estimates of the infection risks, and likely loss of life, that arise from
22   current incarceration practices. It also provides estimates for in-custody deaths and shows how
23   the dynamics within the jail create spill-over risks affecting not only incarcerated persons but
24   also corrections officers and the surrounding community.
25   14.    The model shows that, given a typical dynamic between a jail and a community,
26   operating in a business-as-usual way will result in significant and rapid loss of life. Large scale
27   reductions in incarcerations will likely save the lives of incarcerated persons, corrections staff,
28   and the community at large.
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                           LOFGREN DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
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 1   15.     The model also shows that measures taken to reduce COVID-19 transmission outside of
 2   the detention facility do little to reduce its spread inside a detention facility. Even if the
 3   community surrounding a detention facility implements a shelter-in-place or other social
 4   distancing protocol, there is no discernable effect on the individuals incarcerated within or
 5   working at a detention facility.
 6   16.     In general, interventions that do not reduce the population of incarcerated persons are
 7   ineffective to reduce the spread of COVID-19 among incarcerated persons, correctional staff,
 8   and surrounding communities.
 9   17.     Further, detention facilities can re-seed infection into communities working to mitigate or
10   contain ongoing outbreaks, and may reintroduce diseases into otherwise disease-free populations.
11   These adverse effects occur even if no detained persons are released into the community, as
12   corrections staff and vendors move between detention facilities and the surrounding
13   communities.
14   18.     The conditions of detention facilities themselves foster the spread of diseases such as
15   COVID-19. Incarcerated people are shuttled back and forth to court or, where court proceedings
16   are halted due to this pandemic, forced to remain in their cells or dorms. Incarcerated people are
17   also moved between facilities. Incarcerated people occupy shared spaces in which physical
18   distancing is impossible either due to space, overcrowding, or the requirement of constant
19   supervision. Incarcerated people are often not provided with the means to practice good personal
20   hygiene or disinfect their surroundings.
21   19.     Based on this model, the underlying research, and my experience as an epidemiologist, it
22   is my professional judgment that the transfer of detainees into detention facilities within
23   McFarland would increase the severity and duration of the COVID-19 pandemic among the
24   population of detained persons, corrections officers employed at detention facilities, and the
25   community of McFarland at large.
26   20.     Given the contagiousness of COVID-19 and the aforementioned conditions of detention
27   facilities, risks related to COVID-19 would increase immediately upon the transfer of detainees
28   into detention facilities within McFarland.
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                           LOFGREN DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
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 1   21.    Likewise, it is my professional judgment that the transfer of detainees out of detention
 2   facilities within McFarland would increase the increase the severity and duration of the COVID-
 3   19 pandemic among the population of detained persons, corrections officers employed at
 4   detention facilities, and the community surrounding the transferee facilities.
 5   22.    I again emphasize that the health of persons in detention facilities and the health of the
 6   surrounding community are inherently and inextricably linked.
 7   23.    Health in detention facilities is community health. Protecting the health of individuals
 8   who are detained in and work in these facilities is vital to protecting the health of the wider
 9   community.
10          I declare under penalty of perjury that the foregoing is true and correct and executed this
11   9th day of July, 2020 at Pullman, Washington.
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16                                                 Dr. Eric Lofgren
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                          LOFGREN DECL. ISO PETITIONERS’ APP. FOR TRO & OSC
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                        EXHIBIT A
   Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 162 of 194



                   Eric T. Lofgren, MSPH PhD
                  Eric.Lofgren@gmail.com        •   (509) 335-4022

Research Interests
  Computational and mathematical modeling of infectious diseases, with a focus on
  hospital epidemiology as well as emerging, enteric, and respiratory pathogens.

Education
  Virginia Tech, Virginia Bioinformatics Institute, Blacksburg, Virginia
  Network Dynamics and Simulation Science Laboratory
  Postdoctoral Associate: September 2013 to December 2015
  Supervisor: Dr. Stephen Eubank

  University of North Carolina at Chapel Hill, UNC Gillings School of Global Public
  Health, Chapel Hill, North Carolina
  Department of Epidemiology
  PhD: May 2013 Advisor: Dr. David Weber
  MSPH: December 2009 Advisor: Dr. Jennifer Smith
  Tufts University, Medford, Massachusetts
  BA: January 2007
  Major: Biology with Highest Thesis Honors

Professional Appointments
  Assistant Professor, Washington State University, Paul G. Allen School for Global
  Animal Health. December 2015 to present.
  Postdoctoral Research, Virginia Tech, Virginia Bioinformatics Institute,
  Network Dynamics and Simulation Science Lab. September 2013 to December 2015.
  Research Assistant, UNC Gillings School of Global Public Health,
  Department of Epidemiology. January 2009 to May 2009 and August 2011 to May
  2013.
  Teaching Assistant, UNC Gillings School of Global Public Health, Department of
  Epidemiology. August to December 2008, August to May 2010.
  Summer Lab Manager, Rutgers University, Center for Discrete Mathematics and
  Theoretical Computer Science. Fefferman Lab. May 2008 to August 2013.
  Research Assistant, Tufts University, Initiative for the Modeling and Forecasting
  of Infectious Disease. August 2005 to July 2007.
   Case 1:20-cv-00966-TLN-AC Document 3-2 Filed 07/12/20 Page 163 of 194


Teaching Experience
  Instructor, College of Veterinary Medicine, Washington State University. 2018 to
  present.
     - VetPath 571: Methods of Analysis in Epidemiology
     - VetClin 570: Infectious Disease Journal Club
  Session Organizer, “A gentle introduction to mathematical modeling: Lessons
  from the living-dead”, American Public Health Association Annual Meeting
  Learning Institute. November 2011, 2012 and 2014.
  Teaching Assistant, UNC Gillings School of Global Public Health, Department of
  Epidemiology. 2008 – 2010.
     - EPID 722: Epidemiologic Analysis of Time-to-Event Data
     - EPID 750: Fundamentals of Public Health Surveillance

Publications
  Calderwood, M.S., V.M. Deloney, D.A. Anderson, V. Cheng, S. Gohil, J.H. Kwon, L. Mody, E.
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  between vector control and environmental concerns. Journal of Theoretical Biology,
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  Chowdhury, A., E.T. Lofgren, R.W. Moehring, S. Broschat. 2020. Identifying Predictors of
  Antimicrobial Exposure in Hospitalized Patients Using a Machine Learning Approach.
  Journal of Applied Microbiology, 128(3): 688-96
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V. DeGruttola, J.P. Hughes, J. Lessler, E.T. Lofgren, I.M. Longini, J-P. Onella, B. Özler, G.R.
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  Centers for Disease Control and Prevention
  Model-driven Surveillance and Intervention Evaluation in Highly Stochastic Healthcare
  Settings
  Role: PI
  200-2018-96423                  Lofgren, Eric T. (WSU PI)   01/01/2018 – 06/30/19
  Centers for Disease Control and Prevention
  Identifying Predictors of Antimicrobial Exposure for Application in the Standardized
  Antimicrobial Administration Ratio Risk Adjustment Strategy
  Role: PI of WSU Subcontract from Duke University
  1UO1GH002143-01          Njenga, M. Kariuki (PI) 09/30/16-09/29/21
  Centers for Disease Control and Prevention
  Conducting Communicable Disease Research in Kenya
  Role: Co-I
  WSU College of Veterinary Medicine Lofgren, Eric (PI)       07/01/16 – 06/30/17
  Intramural Award
  Modeling Emerging Infections in Frontline Veterinary Care Settings
  Role: PI
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Awards and Honors
  2007 University Merit Assistantship, UNC Gillings School of Global Public Health
  2017 Finalist, Society for Healthcare Epidemiology of America Epi Project Competition


Professional Memberships
  2010 - Member, Society for Epidemiological Research
              2017 – Membership Committee
  2010 - Member, Society for Industrial and Applied Mathematics
  2012 - Member, Society for Healthcare Epidemiology of America
            2017 – Journal Club
            2018 – Research Committee, Publications Committee
  2015 - Member, Association for Computing Machinery
  2017 - Member, American Association for the Advancement of Science


Other Experience and Service
  Manuscript Referee: Epidemiology, American Journal of Epidemiology, Infection
  Control and Hospital Epidemiology, BMJ, BMJ Open, Environmental Health Perspectives,
  Scientific Data, BMC Infectious Diseases, Clinical Infectious Diseases, Bulletin of
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  Print/Online News: ABC News, ABS CBN News, Canadian Press, The Economist,
  Forbes, Fox News, New Scientist, Science News, Reuters, TIME, The Washington Post,
  FiveThirtyEight among others
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                        EXHIBIT B
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                              The Epidemiological Implications of Incarceration Dynamics
                              in Jails for Community, Corrections Officer, and Incarcerated
                              Population Risks from COVID-19
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                              Abstract
                              COVID-19 challenges the daily function of nearly every institution of society. It is the
                              duty of any society to be responsive to such challenges by relying on the best tools and
                              logic available to analyze the costs and benefits of any mitigative action. We here
                              provide a mathematical model to explore the epidemiological consequences of allowing
                              standard intake and unaltered within-jail operational dynamics to be maintained during
                              the ongoing COVID-19 pandemic, and contrast this with proposed interventions to
                              reduce the burden of negative health outcomes. In this way, we provide estimates of the
                              infection risks, and likely loss of life, that arise from current incarceration practices. We
                              provide estimates for in-custody deaths and show how the within-jail dynamics lead to
                              spill-over risks, not only affecting the incarcerated people, but increasing the exposure,
                              infection, and death rates for both corrections officers with whom they interact within
                              the jail system, and the broader community beyond the justice system. We show that,
                              given a typical jail-community dynamic, operating in a business as usual way will result
                              in significant and rapid loss of life. Large scale reductions in arrest and speeding of
                              releases are likely to save the lives of incarcerated people, staff and the community at
                              large.


                              Introduction                                                                                                     1



                              As the COVID-19 pandemic sweeps the globe, one of the critical functions of                                      2

                              epidemiology is to consider how society can transform current practice to increase the                           3

                              health and safety of the public. The widespread risk of infection and the high case                              4

                              fatality rates, especially in older or medically compromised populations, mean that we,                          5

                              as a society, must be willing to consider structural reforms to our institutions to                              6

                              promote an overall greater good. To these ends, we have already seen systemic shifts in                          7

                              institutional practices that would be unthinkable under normal conditions:                                       8




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                              shelter-in-place orders closing businesses and restricting freedom of individual                                 9

                              movement [1], school closures to limit transmission compromising the ongoing education                          10

                              of children [2], etc. Another clearly important institution that affects a substantial                          11

                              portion of the public directly [3] and an even greater portion indirectly [4–7], is our                         12

                              criminal legal system. It would be unpardonable to allow the ongoing function of this                           13

                              institution to continue unchanged without performing rigorous analyses of the costs and                         14

                              benefits to society, including incarcerated people and their families, inherent in                              15

                              maintaining current practices. We therefore explore the epidemiological costs associated                        16

                              with our current system’s functions as a necessary part of the policy conversation that                         17

                              must ensue to decide whether or not they should be maintained or altered in response                            18

                              to a growing global crisis. Analyzing incarcerated populations poses a unique                                   19

                              epidemiological problem. The population experiences high rates of movement and                                  20

                              turnover [8, 9] , incarcerated people are responsible for purchasing their own hygiene                          21

                              products with limited resources, [10, 11] it is difficult or impossible for incarcerated                        22

                              people to practice CDC recommendations such as social distancing [12], the                                      23

                              incarcerated population has a higher expected rate of existing health conditions than                           24

                              the community from which they come [13–15], jails are dependent completely on a                                 25

                              workforce that moves in and out of the jail and the community including vendors,                                26

                              lawyers, corrections officers, medical staff, etc., and there is strong evidence that                           27

                              incarceration itself has profound adverse effects on the health of incarcerated                                 28

                              people [16–18]. These descriptors make jails highly likely not only to place detained                           29

                              people at increased risk of infection and resulting severe outcomes, but also to function                       30

                              as a driver for increased infectivity, adversely impacting attempts to contain and                              31

                              mitigate disease spread in the broader communities in which jails are located. To study                         32

                              the dynamics of this system and provide quantitative metrics for risk to incarcerated                           33

                              populations and the populations with which incarcerated people necessarily interact, we                         34

                              construct and tailor a epidemiological model of COVID-19 transmission, and then use                             35

                              that model to consider how some possible reforms to the system (i.e. reduction in arrest                        36

                              intake, increased rates of returning incarcerated people to their homes, and                                    37

                              improvement of conditions within the jails) will alter these baseline risks.                                    38




                              Model/Methods                                                                                                   39



                              Transmission Model                                                                                              40


                              We begin by tailoring a standard SEIR model to the specific dynamics of COVID-19.                               41

                              We first split our total population into four categories of risk: Children under 18                             42

                              (denoted with the subscript K), Low-risk adults (denoted with the subscript L),                                 43

                              High-risk adults (denoted with the subscript H), and Elderly adults (denoted with the                           44

                              subscript E). We also designate a separate population category for jail staff, O (note:                         45

                              while O was the selected notation, it is meant to capture all staff working at the jail, not                    46

                              only the corrections officers). These populations are then assigned into disease-related                        47

                              health status compartments: Susceptible (S), Exposed (in which individuals are                                  48

                              presymptomatic, but do already produce low levels of infection transmission to others,                          49

                              E), Infected (in which individuals are both symptomatic themselves and fully infectious                         50

                              to others, I), Medically Treated (those infectious individuals whose disease severity and                       51

                              healthcare access results in removal from the population into a medical care facility that                      52

                              prevents any further transmission of infection back into the population, M ), and                               53

                              Removed (those who have either recovered from the infection and are now immune or                               54

                              those who have died, R). We also allow for the possibility that an Infected person with                         55

                              sufficient disease severity to warrant medical treatment is unable to obtain care, and                          56

                              designate rates associated with this case, U . For clarity of the results, we do not                            57




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                              consider death from any non-COVID-19 cause; this is done to highlight the                                       58

                              COVID-19-specific dynamics. Additionally, as a simplifying assumption due to their low                          59

                              rates of both infections and complications, we do not model hospitalizations or deaths                          60

                              in children. Similarly, once hospitalized, patients are assumed not to spread COVID-19                          61

                              further, as additionally modeling the impact of healthcare-associated COVID-19 cases is                         62

                              well beyond the scope of this model. Lastly, we split our population into segments                              63

                              depending on the subsection of the community or jail system in which they are                                   64

                              currently functioning: the community at large, C, the processing system for the jail, P ,                       65

                              the court system T , and the jail system, J.                                                                    66

                                  A schematic for this model can be seen in 1, and the differential equations                                 67

                              comprising the model are in SI Appendix 1. The model was implemented in R 3.6.3                                 68

                              using the deSolve package, with the visualization of results primarily using ggplot2.                           69

                              Statistical analysis of one parameter (see below) was done using the flexsurv package.                          70

                              As this study used only publicly available data and does not involve human subjects,                            71

                              IRB approval was not required.                                                                                  72




                                                                                Community
                                                        Children    S     E       I          R
                                              Low Risk, High Risk
                                               and Elderly Adults   S      E      I          R   S    E      I      R    Jail Staff


                                                                                             M                      M



                                                           Processing and Court
                                              Low Risk, High Risk
                                               and Elderly Adults   S      E      I          R

                                                                                             M


                                                                                          Jail
                                              Low Risk, High Risk
                                               and Elderly Adults
                                                                    S      E          I      R   S    E       I     R    Jail Staff


                                                                                             M                      M


                              Fig 1. Schematic for a mathematical model of COVID-19 in a linked urban community
                              - jail system. The population is represented in one of five possible compartments:
                              Suseptible (S), Exposed (E), Infected (I), Needing Medical Care (M) and
                              Recovered/Removed (R). Additionally, the population is divided into five distinct
                              sub-populations: Children under 18 years of age, Elderly Adults over 65 years of age,
                              Low Risk Adults between 18 and 65, High Risk Adults between 18 and 65 and Jail Staff
                              (assumed to be between 18 and 65 years of age). Arrested adults move between the
                              Community, Processing and the Court System and Jail, while Jail Staff move between
                              the Community and Jail. Children are assumed not to be eligible for arrest.




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                              Population Movement Into, Within, and Out Of the Jail System                                                    73


                              Our model captures movement between the community (denoted with subscript, C),                                  74

                              processing (P ),jail (denoted with subscript, J), and court appointments (denoted with                          75

                              T for trial, though this is meant to encompass all court appointments). It assumes staff                        76

                              move only between the community and jail; they are not arrested in our model. We                                77

                              base the parameters of movement into, within, and out of the jail on Allegheny County,                          78

                              Pennsylvania, where detailed data on the jail population and facilities are available,                          79

                              including an automatically updating dashboard giving statistics for the jail population.1                       80

                              In Allegheny County, the population at large is approximately 1.2 million people. The                           81

                              size of the jail population hovers around 2,500. We use these population figures to                             82

                              initialize our model.                                                                                           83

                                  In our model, individuals in the community are arrested at a rate of approximately                          84

                              100 people per day.2 Arrested individuals are brought to processing. From processing,                           85

                              individuals can either be released back into the community (60%) or taken to jail (40%)3 .                      86

                              This results in an in-flow to the jail of approximately 40 individuals per day, which is                        87

                              consistent with Allegheny County’s reporting. While in jail, individuals transition back                        88

                              and forth between the jail and court appointments. The number of movements between                              89

                              jail and court appointments is described as “well over 100” on the jail’s website. We                           90

                              assume movement of approximately 150 people per day between the jail and court. For                             91

                              each court appointment, we assume individuals spend half a day on average at the court                          92

                              facility. Importantly, we also assume that there is mixing in the court facility between                        93

                              those who are there for processing after arrest and those that are present there for court                      94

                              appointments. From the jail, individuals are released back into the community at a rate                         95

                              that is consistent with the reported 62 day average length of stay. One limitation of our                       96

                              model is that we do not account for post-jail destinations that are not the community,                          97

                              i.e. we do not model people moving from jail to prison. According to [19], the yearly                           98

                              number of admissions to prison is about 600,000 while the yearly number of admissions                           99

                              to jail is around 10.6 million. So, assuming that all prison admissions first had one jail                      100

                              admissions, around 95% of all jail admissions do not go on to prison; they are released                         101

                              back into the community as in our model. Thus, we expect that the omission of prison                            102

                              from our model does not substantially impact the overall findings.                                              103

                                  An online database of public employees salaries in Allegheny County shows a                                 104

                              population of 384 people whose job title is corrections officer, whose job location is the                      105

                              jail, and who are listed as active. Although this is certainly an underestimate of the                          106

                              total number of the jail’s staff, which includes other types of employees, we think this is                     107

                              a useful approximation to the total number of staff. We use this figure as the number of                        108

                              staff members moving between community and jail. Staff transition between community                             109

                              and jail at a rate that assumes 8 hour shift lengths in the jail per day with the                               110

                              remaining 16 hours per day spent in the community.                                                              111




                              Estimation Population Mixing and Contact Rates                                                                  112


                              We estimate parameters that describe the relative rate of transmission between each of                          113

                              the community categories: Children, Low-risk adults, High-risk adults, and Elderly                              114
                                                                 C∗
                              adults from other studies. We use βqr to denote the relative rate of transmission to                            115

                              category q from category r. We estimate this as                                                                 116


                                                                          C∗
                                                                         βqr = mqr cq p−1
                                                                                       q tq .

                                  1 https://perma.cc/93RG-4WZ8
                                  2 https://perma.cc/K992-KHCH
                                  3 https://perma.cc/93RG-4WZ8




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                                  mqr is the number of times a person in category q is in contact with a person in                            117

                              category r. We use the category-category contact rates given in [20]. cq is the                                 118

                              proportion of COVID-19 cases that occurred for people in category q and pq is the                               119

                              proportion of the total population in category q. The ratio of these two terms, cq p−1
                                                                                                                   q , is                     120

                              meant to capture the relative proclivity for people in group q to be infected by the virus.                     121

                              We use case counts and population information for South Korea as reported by                                    122

                              Statista.45 ti is the number of daily contacts for individuals in category q, as reported                       123

                              in [21]. The β ∗ s are normalized such that the Child-Child transmission is equal to one.                       124

                              The resulting values of β C∗ is shown in Table 1.                                                               125



                                                                            child adult elderly
                                                          child              1.00  0.51      0.08
                                                          adult              0.57  2.43      1.05
                                                        elderly              0.02  0.30      0.49
                              Table 1. Relative transmission rates           of COVID-19, scaled so that the Child-Child rate
                              is one.

                                  Within the jail and processing, we assume that mixing patterns are not                                      126

                              category-dependent. We set β J∗ = βqr  J∗     C∗
                                                                        = βLL  cj and β P ∗ = βqr
                                                                                               P∗    C∗
                                                                                                  = βLL             C∗
                                                                                                        cp , where βLL is                     127

                              the low risk adult to low risk adult base transmission rate in the community and cj and                         128

                              cp are factors that denotes how times more contacts per day a person in jail or                                 129

                              processing, respectively, has than a person in the community. We set these values to be                         130

                              cj = 3 and cp = 6, corresponding to an assumption of three and six times more contact                           131

                              in jail and processing, respectively, than take place in the community.                                         132

                                  The β ∗ s are defined on an arbitrary scale. To get simulations that resemble the real                      133
                                                                                                               C∗
                                                                                                  C        c0 βqr   J     c0 β J∗
                              spread of the virus, we calibrated the model. We set               βqr   =     nc ,   β =     nj ,    and       134

                                P     c0 β P ∗
                              β =       np ,
                                           where nc = 1, 200, 000, nj = 2, 600, and np = 250 is the size of the                               135

                              population in the community, jail, and processing, respectively, and c0 is a calibration                        136

                              parameter. Scaling each of the β terms in the model by the population sizes amounts to                          137

                              the assumption that transmission is contact-based. This assumption leads to                                     138

                              conservative estimates of the speed of the spread in the jail system relative to a                              139

                              fomite-based transmission model. To calibrate the model, we then find a c0 such that                            140

                              approximately 80% of the population is ultimately infected by the time the spread dies                          141

                              out in our model. We selected an 80% final infection rate for consistency with                                  142

                              predictions of the spread of COVID-19 under the assumption of no mitigation measures                            143

                              in place from an influential micro-simulation model [22].                                                       144




                              Estimation of Other Model Parameters                                                                            145


                              Parameters concerning the natural history of COVID-19, patient progression, etc. were                           146

                              primarily obtained from existing estimates in the modeling literature, where possible                           147

                              using estimates from as close to the modeled catchment area as possible (i.e. CHIME                             148

                              from UPenn Medicine, https://penn-chime.phl.io/). Citations for specific parameter                              149

                              values may be found in Table 2.                                                                                 150

                                  In one case, γ̂, or the asymptomatic period−1 , the original source reported that their                     151

                              estimate was likely an underestimation due to censoring. However, given that the                                152

                              authors provided the data within their manuscript [23], the data was re-estimated to                            153

                              account for censoring using a parametric survival model assuming an exponential                                 154

                              distribution (the distribution typically implied by the uniform hazard of transitioning                         155

                                 4 COVID-19 case proportions: https://www.statista.com/statistics/1102730/south-korea-coronavirus-

                              cases-by-age/
                                 5.




9, 2020                                                                                                                               5/25
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                              from one compartment to another within a compartmental model). The fit for this                                 156

                              exponential model may be found in SI Appendix 2.                                                                157




                              Modeled Scenarios and Interventions                                                                             158


                              We represented the effects of several policy interventions or failures as changes to various                    159

                              parameters in this model. We consider four categories of scenarios that could vary the                          160

                              rate of spread: in addition to modeling shelter-in-place (reduced mixing) conditions in                         161

                              the community, we modeled scenarios related to reductions in arrest rates, increases in                         162

                              release rates, and changes to within-jail conditions. These scenarios are detailed below                        163

                              in Table 3. Most scenarios are additive; that is, all arrest reduction interventions                            164

                              assume a baseline scenario of shelter-in-place in the community. The scenarios involving                        165

                              faster release of individuals in jail all assume both shelter-in-place in the community,                        166

                              and were each run under each of the ”Arrest Reduction” scenarios to determine the                               167

                              cumulative effects of arrest reduction, increased release rates, and community                                  168

                              shelter-in-place conditions. The mixing reduction scenario in the jail assumes                                  169

                              shelter-in-place in the community as well as a 25% reduction in arrests (equivalent to                          170

                              the ”Bail Eligible” Arrest Reduction scenario), as it is unlikely that jails will be able to                    171

                              effectively reduce contact rates without reducing their average daily population. Finally,                      172

                              in the reduced detection scenario, we assume shelter-in-place, but vary the likelihood                          173

                              that serious cases of COVID-19 is caught and treated in a timely manner.                                        174

                                  Below, vulnerable populations are defined as individuals over the age of 65 or at                           175

                              increased risk of complications form COVID-19 due to other co-morbidities. We                                   176

                              estimate that 40% of the jail population is vulnerable by this definition, according to                         177

                              information from the Bureau of Justice Statistics [29]. We estimate that around 25% of                          178

                              those arrested are bail eligible, based on information from Allegheny county that cash                          179

                              bail was used in 28% of cases between February and June of 2019 [30].                                           180




                              Results                                                                                                         181



                              Unsurprisingly given the epidemiological dynamics of COVID-19, absent any                                       182

                              intervention there is a substantial outbreak in the community, causing 926,402 infections                       183

                              (both symptomatic and asymptomatic) as well as requiring 51,578 hospitalizations and                            184

                              ultimately resulting in 12,161 fatalities over the 180 days of the simulation, with the                         185

                              peak of infections occurring 83 days after the first infective case appeared in the                             186

                              population. Among those incarcerated, the outbreak is considerably more severe,                                 187

                              causing a cumulative 5,311 cases requiring 449 hospitalizations and 134 deaths among                            188

                              those incarcerated, the 2500 person jail being 0.2% the size of the wider community (Fig                        189

                              2). The peak of this within-jail epidemic is also considerably earlier, with the peak of                        190

                              the epidemic occurring 30 days after the first infective case appeared in the community.                        191




9, 2020                                                                                                                             6/25
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                                      Parameter          Value       Description
                                  1   σ                  0.50        Percent reduction in transmission during
                                                                     asymptomatic period (compared to symp-
                                                                     tomatic) [24]
                                2 γ −1           5.1 days            Incubation Period [25]
                                3 γ̂ −1          6.7 days            Asymptomatic Period [23]
                                4 δ −1           10 days             Symptomatic Period [24]
                                     −1
                                5 δDischarge     9 days              Hospitalization Length of Stay (Discharged
                                                                     Alive) [26]6
                                     −1
                                6 δDeath         4.2 days            Hospitalization Length of Stay (Discharge
                                                                     Dead) [26]
                                     −1
                                7 δDeathU        4.2 days-1          Time to Death for Unhospitalized Critical
                                                                     Cases
                                     −1
                                8 ωL             5.9 days * 0.0625   Time from Symptom Onset to Hospitaliza-
                                                                     tion * Probability of Needing Hospitaliza-
                                                                     tion (low risk) [26, 27]
                                     −1
                                9 ωH             5.9 days * 0.118    Time from Symptom Onset to Hospitaliza-
                                                                     tion * Probability of Needing Hospitaliza-
                                                                     tion (high risk) [26, 27]
                               10 ν              95%                 Hospitalized Case Survival Rate (low risk)
                                                                     [28]
                               11 νH             66.6%               Hospitalized Case Survival Rate (high risk)
                                                                     [28]
                               12 νU             0.0%                Unhospitalized Critical Case Survival Rate
                                                                     (low risk)
                               13 νU H           0.0%                Unhospitalized Critical Case Survival Rate
                                                                     (high risk)
                               14 αL             3.57e-06            Per Capita Hourly Arrest Rate (low risk).
                                                                     Equates to 60 arrests per day.
                               15 αE             7.35e-06            Per Capita Hourly Arrest Rate (elderly).
                                                                     Equates to 1 arrest per day.
                               16 αH             1.11e-03            Per Capita Hourly Arrest Rate (high risk).
                                                                     Equates to 40 arrests per day.
                                     −1
                               17 ψC             12 hours*0.60       Processing Time from Arrest to Returning
                                                                     to Community * Probability of Release Af-
                                                                     ter Arrest
                               18 ψJ−1           12 hours*0.40       Processing Time from Arrest to Jail * Prob-
                                                                     ability of Jail After Arrest
                               19 κ              2.60e-03            Per Capita Hourly Probability of Scheduled
                                                                     Court Appearance
                               20 τ              12 hours            Time from Scheduled Court Appearance to
                                                                     Return to Jail
                               21 ρ−1            62 days             Length of Stay in Jail 7
                                     −1
                               22 µC             8 hours             Shift Length for Jail Staff
                               23 µ−1J           16 hours            Time Spent in the Community for Jail Staff
                               24 ζ              1.00                Probability an Incarcerated Person Needing
                                                                     Treatment Will Receive It
                               25 pop            1.22 million people Population of Jail Catchment Area
                              Table 2. Parameter values, meanings and sources for a community-jail transmission
                              model of COVID-19.



9, 2020                                                                                                                             7/25
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                                 Scenario Name                  Parameters          Multiplier          Scenario Description
                                                                                    of Baseline
                                 Shelter in Place               β∗C                 0.625               Effective contact rate in
                                                                                                        the community is reduced
                                                                                                        by a factor of 1/1.65.
                                 Arrest Reduction
                                 Bail Eligible                  αL , αH , αE        0.75               Divert all bail-eligible ar-
                                                                                                       rests (estimated at 25% of
                                                                                                       all arrests)
                                 Vulnerable Only                αH , αE             0.10               Divert arrests of 90% of
                                                                                                       vulnerable populations. [9]
                                 Low Level                      αL , αH , αE        0.17               Divert all low-level arrests
                                                                                                       (estimated at 83% of ar-
                                                                                                       rests).
                                 Arrest Fewer People            αL , αH , αE        0.10               Divert 90% of current ar-
                                                                                                       rests.
                                 Faster Release
                                 Increase Release Speed         ρ−1                 2                   2x rate of release from jail
                                 Vulnerable Only                ρ−1
                                                                 H                  2                   2x rate of release for vul-
                                                                                                        nerable only
                                 In-Jail Scenarios
                                 Mixing Reduction               βT , βP , βJ        0.625
                                                                                        Reduction of baseline con-
                                                                                        tact rates in jails by the
                                                                                        same factor as the commu-
                                                                                        nity under shelter-in-place
                                Reduced Detection        ζ               0.99,0.95,0.90 Reduction in infection de-
                                                                                        tection and timely hospi-
                                                                                        talization in jails by 1-ζ
                              Table 3. Scenarios and parameter adjustments for a number of policy-based
                              interventions to curtail COVID-19 in jail and the community.




9, 2020                                                                                                                             8/25
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                              Fig 2. Epidemic curves from a simulated COVID-19 epidemic in an urban community
                              (right) and the connected population of persons in a jail (left). The magnitude of the
                              peak in the population in jail is much higher and shifted a full 63 days earlier.

                                  Given the dominant approach to controlling COVID-19 in the community and the                                192

                              widespread calls to ”flatten the curve”, for the remaining results we assume the presence                       193

                              of a shelter-in-place order or similar social distancing intervention only in the community                     194

                              as the comparator scenario, represented as a halving in the mixing frequency of all age                         195

                              groups in the community. In line with the experience of communities undergoing such                             196

                              distancing interventions, this decrease in overall contacts results in a substantially                          197

                              delayed epidemic, with 486,193 infections in the community as well as far lower burdens                         198

                              in terms of both hospitalizations and fatalities. In contrast, the early dynamics of the                        199

                              COVID-19 outbreak within the incarcerated population are identical, while in the latter                         200

                              half of the simulation the outbreak dynamics in the incarcerated population are                                 201

                              markedly worse, resulting in 8058 infections after 180 days and proportionately more                            202

                              hospitalizations and COVID-19 related fatalities (Fig 3). Shelter-in-place orders had no                        203

                              discernible impact on the health outcomes of the staff of the jail.                                             204




9, 2020                                                                                                                             9/25
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                              Fig 3. Cumulative infections, hospitalizations and deaths in the community (first
                              column), among persons in jail (second column) and among jail staff (third column) for
                              scenarios with (green) and without (orange) a shelter-in-place social distancing
                              intervention. Such social distancing dramatically reduces the burden of infections and
                              resulting adverse outcomes in the community, but results in a larger and more
                              prolonged outbreak among persons in jail.

                                  All of the four considered arrest deferral scenarios had substantial impacts on the                         205

                              course of the epidemic in the incarcerated population, while also lessening the impact of                       206

                              the epidemic on the community and, to a lesser extent, the jail’s staff. Discontinuing                          207

                              the arrest of bail-eligible individuals, which corresponds to a ≈25% reduction of                               208

                              admissions into the jail, resulted in a 22.1% reduction in infections in the incarcerated                       209

                              population, and a 2.4% reduction in infections within the community.                                            210

                                  Broader, more sweeping arrest deferral programs resulted in correspondingly larger                          211

                              impacts in both the incarcerated population and the community as a whole. The                                   212

                              discontinuation of arresting individuals for low level offenses (≈83.4% reduction) and                          213

                              the blanket reduction of arrests by 90% resulted in a 71.8% and 76.6% reduction in                              214

                              infections within the incarcerated population (with correspondingly fewer                                       215

                              hospitalizations and deaths) respectively. These strategies also resulted in the greatest                       216

                              decrease in infections among staff (2.4% and 3.5%) and in the community at large                                217

                              (12.1% and 13.7%). Finally, a strategy built off deferring the arrest of individuals at                         218




9, 2020                                                                                                                            10/25
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                              high risk of developing COVID-19 related complications by 90%, tailoring the                                    219

                              intervention to groups of epidemiological importance rather than the nature of their                            220

                              offense, resulted in a 27.2% decrease in infections within the incarcerated population                          221

                              and a 56.1% decrease in deaths among the same population.                                                       222

                                  In comparison, a strategy deferring the same number of people with no regard to                             223

                              their underlying risk (≈36.5%), resulted in a 6.8% decrease in overall infections within                        224

                              the incarcerated population, but a 61.7% increase in deaths among incarcerated persons                          225

                              compared to the scenario specifically targeting those at greatest risk of averse outcomes                       226

                              for deferred arrest (Fig 4). The deferral strategy targeting individuals for high risk                          227

                              outcomes caused 4095 more infections in the community compared to the same                                      228

                              proportionately large but broader strategy, and the decreased number of deaths among                            229

                              persons in jail was partially offset by this increase, with the targeted strategy resulting                     230

                              in a combined number of COVID-19 fatalities in both the population of persons in jail                           231

                              and in the community of 5001 compared to 4969 fatalities under the broader strategy.                            232




9, 2020                                                                                                                            11/25
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                              Fig 4. Cumulative infections, hospitalizations and deaths in the community (first row),
                              among persons in jail (second row) and among jail staff (third row) for several
                              incarceration deferment scenarios. More aggressive scenarios, such as a 90% decrease in
                              all incarcerations or discontinuing incarceration for low level offenses result in large
                              improvements in the epidemic within the jail, with a smaller impact among staff and
                              the community. Deferring incarceration for people particularly at risk for adverse
                              outcomes results in a markedly pronounced decrease in deaths among persons in jail.

                                  Pairing increased arrest deferral with a more rapid release of persons who were                             233

                              already incarcerated enhanced the impact of those interventions, reducing infections,                           234

                              hospitalizations and deaths among the incarcerated — as well as the staff of the jails —                        235

                              as the rate of release increased (Fig 5). The one exception to this was the outcomes in                         236

                              the wider community, which, when paired with less aggressive arrest deferral scenarios,                         237

                              experienced a slight increase in the number of infections, hospitalizations and deaths at                       238

                              lower levels of accelerated release schedules. This phenomenon peaks at a release rate 1.5                      239

                              times faster than the default release rate, with a 0.3% increase in community infections.                       240

                              At rates faster than this, the effect is considerably reduced, with a release rate twice as                     241

                              fast as the default release rate resulting in a 0.02% increase in community infections.                         242




9, 2020                                                                                                                            12/25
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                              Fig 5. Cumulative infections, hospitalizations and deaths in the community (first row),
                              among persons in jail (second row) and among jail staff (third row) for several
                              combinations of incarceration deferment and accelerated release. Negative outcomes
                              among persons in jail as well as staff improve with faster levels of release, while the
                              community experiences slightly higher rates of negative outcomes, especially in
                              moderate release scenarios, peaking at a release rate 1.5 times normal.

                                  When accompanied by the deferred arrest of bail-eligible individuals to reduce the                          243

                              incarcerated population, supplementary measures to reduce transmission among                                    244

                              incarcerated persons have a marked benefit in both reducing the amplitude of the                                245

                              epidemic curve in incarcerated people and jail staff, as well as shifting the overall                           246

                              community epidemic curve later (Fig 6). These interventions may be thought of as                                247

                              either measures to reduce mixing — such as allowing greater space between individuals                           248

                              in common areas or the staggering of the use of shared facilities — or the provision of                         249

                              supplies such as soap and hand sanitizer that reduces the level of viral contamination of                       250

                              patient’s hands, physical surfaces, etc. Compared to the baseline mixing rate among                             251

                              persons in jail, a reduction to an equivalent level of mixing as the community while                            252

                              sheltering in place would reduce infections in this population by 10.9% as well as delay                        253

                              the peak of the epidemic by close to two weeks.                                                                 254




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                              Fig 6. Epidemic curves for the community (top panel), persons in jail (middle panel)
                              and jail staff (bottom panel) under a shelter in place order as well as the deferment of
                              bail-eligible persons. The curves show the impact of increased reduction in mixing (e.g.
                              from the ability to physically distance persons in jail while in common areas) from
                              baseline (dark blue) to identical to the community’s shelter-in-place order (green). This
                              shifts the epidemic curve in the community slightly, and results in both a shifted and
                              decreased curve among persons in jail as well as staff.

                                  An increase in the detection of severe COVID-19 cases among incarcerated persons                            255

                              from 95% to 100% (equivalent to the same detection of the need for medical treatment                            256

                              available in the community) unsurprisingly increased the number of hospitalizations, as                         257

                              5 out of every 100 incarcerated persons needing hospitalization were no longer missed,                          258

                              either for lack of access to care, insufficient diagnostic capacity, or other reasons.                          259

                              Similarly, owing to the vast reduction in the case fatality rate between hospitalized                           260

                              (CFR = 5% for low risk and 33.3% for high risk) severe cases and unhospitalized severe                          261

                              cases (CFR = 100% for both groups), the number of deaths dropped by 72.2% when the                              262

                              detection of severe cases rose to the same level as the community. Between these                                263

                              scenarios, the number of infections rose slightly with better detection, increasing by                          264

                              0.6% (Fig 7). This is likely due to the slightly longer time an untreated severe case                           265

                              spends in the incarcerated population before they are removed due to death vs. when a                           266

                              treated case is transferred for hospitalization. This effect will only be present if the level                  267




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                              of viral shedding is constant (or increasing) over the course of a clinical infection. If                       268

                              instead the mechanism by which a severe COVID-19 patient dies is a cytokine storm or                            269

                              other process not involving the virus overwhelming the immune system, we would not                              270

                              expect this effect to be observed. However, even in the pessimistic case wherein viral                          271

                              shedding is constant throughout the clinical course of infection, the slight rise in                            272

                              infections is offset by the decrease in the number of COVID-19 related fatalities.                              273




                              Fig 7. Infections, hospitalizations and deaths from COVID-19 among incarcerated
                              persons under three scenarios of the probability that a severe case will be detected and
                              receive adequate medical care. Increasing this probability results in more
                              hospitalizations, dramatically reduced deaths, and a slight rise in the number of
                              infections among incarcerated persons.


                              Discussion                                                                                                      274



                              Failure to adequately protect jail populations will have a profound impact on the health                        275

                              of incarcerated people, corrections officers, workers in the judicial system, and members                       276

                              of the general population. Our models clearly demonstrate that, in the absence of                               277

                              community mitigation such as strict social distancing, by only 30 days after the                                278

                              introduction of the first infection to the community, we can expect 2886 infections                             279

                              among incarcerated people, resulting in eight in-custody deaths. When contrasted with                           280

                              a baseline model of the general population without interaction with a jail, we see that                         281

                              the existence of jail-driven disease dynamics increase the total number of cases in the                         282

                              population by 922 and the total number of deaths by 301.                                                        283

                                  These results clearly follow from the features of the jail system themselves in                             284

                              challenging ways. While only 1% of the population entering into the jail system are                             285

                              elderly [31], incarceration in jail itself degrades the health of incarcerated people [16–18],                  286

                              leaving them more vulnerable to infection and severe outcomes from infection [32]. As                           287

                              individual robustness to disease decreases, the epidemiological result is the increased                         288

                              vulnerability of the whole jail population.                                                                     289

                                  Beyond the direct implications for the health of incarcerated people, jail populations                      290

                              have high rates of re-entry into the general community and they depend on people who                            291

                              regularly mix with the outside community. Jail populations are largely composed of                              292

                              individuals who have not been convicted of a crime, and therefore will be released                              293

                              quickly back into the general community rather than to further incarceration within the                         294

                              carceral system. Jails with disease prevalence higher than the general populations they                         295




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                              serve will therefore act as sources of infection, re-seeding infection into communities that                    296

                              may be striving to contain or mitigate ongoing outbreaks, or even reintroducing                                 297

                              infection into otherwise disease-free populations. It is important to note that this would                      298

                              happen even if no one were released given the volume of people coming in and out of                             299

                              jails in staff and vendor roles, so should therefore not be construed as an implication                         300

                              that releases should be suspended or impeded.                                                                   301

                                  We are not helpless to effect change. Some obvious potential courses of action                              302

                              suggest themselves immediately. New arrests of people of unknown disease status may                             303

                              be regularly brought into jails, increasing the likely severity of outbreaks both by the                        304

                              plausible continuous introduction of new sources of infection and by the maintenance of                         305

                              higher rates of contact among susceptible incarcerated people due to the density and                            306

                              structure of jail housing arrangements. If jurisdictions across the country reduce their                        307

                              intake by significant percentages, our models demonstrate that we will meaningfully                             308

                              directly reduce the disease incidence in the incarcerated population (as seen in Fig 4).                        309

                              Moreover, these same strategies also clearly produced a reduction in the source of risk                         310

                              to incarcerated people’s families and the broader community (Fig 4). These strategies                           311

                              could be enacted in a number of ways, such as (but not limited to) replacing                                    312

                              misdemeanor arrests with citations, avoiding recommendations for jail time or                                   313

                              prohibitive terms for bail conditions, or refusing to detain anyone for nonpayment of                           314

                              fines or fees during the course of the outbreak.                                                                315

                                  Having considered these potential strategies for categorical reduction in intake into                       316

                              jails, we also considered the case in which the categorical consideration for reduction in                      317

                              intake stemmed instead from the health of the arrested person. In this case, we get the                         318

                              expected reduction in the within-jail outbreak that would have been associated with a                           319

                              general reduction of the same percent intake (≈36.9%, allowing for a small number of                            320

                              incarcerations in these groups), but we fail to achieve any significant reduction in                            321

                              disease burden in the broader community by taking this action. It is therefore more                             322

                              effective to reduce the intake rate across the entire population than to attempt to single                      323

                              out particular categories of individuals due to their likely susceptibility to severe                           324

                              morbidity or mortality from infection. The larger the reduction in overall intake, the                          325

                              greater the reduction in disease achieved for all populations (incarcerated people, the                         326

                              broader community, and jail staff, in decreasing proportion of effect). These broader                           327

                              interventions are also likely to be relatively straightforward to implement                                     328

                              administratively, without knowledge of an individual’s underlying comorbidities, if any.                        329

                                  In addition to reducing rates of intake into the jail system, another obvious, concrete                     330

                              step we might take to reduce disease risks for everyone is to increase the rate of release                      331

                              from jails. This should clearly be coupled with a decreased rate of intake rather than                          332

                              enacted in isolation, since increasing release rates while maintaining the same rate of                         333

                              intake would increase infection risks for incarcerated people, the staff who work at the                        334

                              jails and court systems, and the broader community. This may even still occur when                              335

                              expedited release is coupled with decreased rates of intake if the rate of release is                           336

                              insufficient; see Fig 5. Again, our results clearly demonstrate that the greater the                            337

                              proportion of the incarcerated population we can include in such a policy, the more                             338

                              effective the intervention is at mitigating the outbreak.                                                       339

                                  To be maximally effective, each of these interventions should anticipate, rather than                       340

                              react to, widespread infection incidence in jail populations.                                                   341

                                  Critically, the factors that cause these outbreak dynamics and drive the resulting                          342

                              efficacy of proposed interventions are features implicit in the nature of the jail system                       343

                              itself. The living conditions foster disease spread. Incarcerated people are shuttled back                      344

                              and forth to court or, where court proceedings are halted due to this pandemic, forced                          345

                              to remain in their cells or dorms. Incarcerated people occupy shared spaces in which                            346

                              physical distancing is impossible either due to space, overcrowding, or the requirement                         347




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                              of constant supervision. Incarcerated people are often not provided with the means to                           348

                              disinfect their surroundings or practice all of the hygiene guidelines suggested by the                         349

                              CDC. Improved facility sanitation, access to free personal hygienic care, such as warm                          350

                              water, free soap, free hand sanitizer, and free cleaning products, increased time spent                         351

                              outside, increased physical/social distancing measures, decreased population density                            352

                              achieved by releasing people, increased access to free medical care, and improved                               353

                              nutrition are all factors with instant and obvious resulting improvements in individual                         354

                              health outcomes for people incarcerated within the jail system. Alterations to function                         355

                              and practice of the jail system that can correct for these challenges are unlikely to occur                     356

                              quickly enough or substantially enough to improve the epidemiological risks for the                             357

                              incarcerated people within the jail system. As our results have shown, even when the                            358

                              within-jail transmission rates are improved by interventions such as reduction in intake                        359

                              from new arrests leading to a decrease in the size of the incarcerated population, we                           360

                              cannot effectively reduce the outbreak of infection in either the staff or incarcerated                         361

                              people down to the levels of the broader community.                                                             362

                                  As with all models, the conclusions of this study depend on an accurate                                     363

                              representation of the flow of individuals between the jail system and the wider                                 364

                              community, either due to arrests or due to their employment as jail staff, as well as the                       365

                              values of the parameters used to determine how swiftly this flow occurs. The inherent                           366

                              nature of emerging epidemics makes both of these things uncertain — the clinical and                            367

                              biological aspects of the pathogen might not be fully understood, and the data needed                           368

                              to parameterize these models is often sparse and incomplete. This problem is especially                         369

                              acute in models of this sort, which seek to present a ”what-if” scenario to stave off a                         370

                              public health crisis, rather than analyze how that crisis unfolded after the fact.                              371

                              Nevertheless, while the exact projected magnitudes may be sensitive to these unknowns,                          372

                              in truth, the greatest utility of models such as these in in determining best courses of                        373

                              action and likely magnitudes of the effects that can be gained from those actions, rather                       374

                              than exact predictions of precise numbers of individuals [33]. Due to the logical nature                        375

                              of the processes studied, so long as errors in the parameters used are consistent across                        376

                              scenarios, they will not impact the understanding that results from our projections                             377

                              about which courses of action achieve the best outcomes, even if those errors would alter                       378

                              our understanding of the precise amount of effect achieved by each intervention.                                379




                              Conclusion                                                                                                      380



                              Conditions within jails must be immediately improved to decrease the probabilities of                           381

                              disease transmission and support better health for incarcerated people to protect not                           382

                              only themselves, but also jail staff and the community at large. Decreasing population                          383

                              density both directly decreases disease exposure, interrupting transmission dynamics,                           384

                              and also facilitates many other interventions. It is a natural result of reduced intake.                        385

                              We can achieve/enable many desired benefits with just that one, simple action, but to                           386

                              achieve maximal benefits to society, preventing the greatest burden from disease both                           387

                              within the jails and without, broad actions that include alterations to both intake and                         388

                              release and also many of the within-jail strategies for improving the individual means to                       389

                              enact personal hygiene, protection through social distancing, and access to medical care                        390

                              are all needed.                                                                                                 391




                              Acknowledgments                                                                                                 392



                              EL was supported by the CDC Cooperative Agreement RFA-CK-17-001-Modeling                                        393

                              Infectious Diseases in Healthcare Program (MInD-Healthcare).                                                    394




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                              Supporting information
                              SI Appendix 1. According to the logic presented in the Model/Methods section 1
                              define the following system of equations to capture the epidemiological dynamics of our
                              system:
                                  Within the Broader Community:
                                        C
                                      dSK      C   C  C C     C   C
                                                                    ILC + IO
                                                                           C
                                                                             + σ ELC + EO
                                                                                        C
                                                                                         
                                          = −βKK  SK IK +K − βKL SK
                                       dt
                                               C   C  C C     C   C   C C
                                                                          
                                            − βKE SK IE +E − βKH SK IH  +H
                                          C
                                      dEK       C    C     C       C
                                                                                      C   C       C
                                                                                                          C       C
                                            = βKK   SK   IK  + σEK     + βKL + βKH SK     IH + σEH     − γEK − γ̂EK
                                       dt
                                        C
                                      dIK        C       C
                                            = γEK   − δIK
                                       dt
                                         C
                                      dRK        C        C
                                            = δIK   + γ̂EK
                                       dt
                                      dSLC        C
                                                     SLC IK C C         C
                                                                          SLC ILC + IO
                                                                                     C
                                                                                        + σ ELC + EO C
                                                                                                      
                                            = −βLK            +K − βLL
                                       dt
                                                  C
                                                     SLC IE C       C       C
                                                                              SLC IHC       C
                                                                                                − αL SLC + ψC SLP + ρSLJ
                                                                                             
                                              − βLE           + σEE     − βLH         + σEH
                                      dELC    C
                                                 SLC IKC      C      C
                                                                        SLC ILC + IO
                                                                                   C
                                                                                     + σ ELC + EO C
                                                                                                   
                                           = βLK         + σEK    + βLL
                                       dt
                                                C
                                                   SLC IEC      C      C
                                                                          SLC IHC      C
                                                                                           − γELC − γ̂ELC
                                                                                        
                                             + βLE         + σEE    + βLH         + σEH
                                               − αL ELC + ψC ELP + ρELJ
                                      dILC
                                           = γELC − δILC − ωILC − αL ILC + ψC ILP + ρILJ
                                       dt
                                      dMLC
                                            = ωILC − δDischarge νMLC − δDeath (1 − ν)MLC
                                        dt
                                         C
                                      dRL
                                           = δILC + γ̂ELC + δDischarge νMLC + δDeath (1 − ν)MLC − αL RL
                                                                                                      C       P
                                                                                                        + ψC RL
                                       dt
                                                  J
                                             + ρRL
                                        C
                                      dSE      C   C  C C        C  C
                                                                       ILC + IO
                                                                              C
                                                                                + σ ELC + EO C
                                                                                              
                                          = −βEK  SE IK +K − βEL   SE
                                       dt
                                               C   C  C      C      C    C   C      C         C        P     J
                                                                                     
                                            − βEE SE IE + σEE    − βEH SE   IH + σEH    − αE SE  + ψC SE + ρSE
                                         C
                                      dEE     C   C   C C     C   C
                                                                    ILC + IO
                                                                           C
                                                                             + σ ELC + EO
                                                                                        C       C   C  C C
                                                                                                         
                                           = βEK SE  IK +K + βEL SE                          + βEE SE IE +E
                                       dt
                                             + βC   C   C C
                                                             C     C        C       P       J
                                                EH SE IH +H −E −γ̂EE − αE EE + ψC EE + ρEE




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                                         C
                                      dIE      C      C       C        C         P      J
                                           = γEE − δIE  − ωH IE − αE IE  + ψC IE   + ρIE
                                       dt
                                      dMEC C
                                            =E −δDischarge νM MEC − δDeath (1 − νH )ME
                                        dt
                                         C
                                      dRE      C      C
                                           = δIE + γ̂EE + δDischarge νH MEC + δDeath (1 − νH )MEC − αL RL
                                                                                                        C       P
                                                                                                          + ψC RL +
                                       dt
                                               J
                                             ρRL
                                        C
                                      dSH      C   C  C     C      C   C
                                                                         ILC + IO
                                                                                C
                                                                                  + σ ELC + EOC
                                                                                               
                                          = −βHK  SH IK + σEK   − βHL SH
                                       dt
                                               C   C  C     C      C   C   C      C         C       P     J
                                                                                   
                                            − βEH SH IE + σEE   − βHH SH IH  + σEH    − αH SH + ψC SH + ρSH
                                         C
                                      dEH     C   C   C C      C  C
                                                                     ILC + IO
                                                                            C
                                                                              + σ ELC + EO
                                                                                         C       C   C  C C
                                                                                                          
                                           = βHK SH  IK +K + βHL SH                           + βEH SH IE +E
                                       dt
                                                C   C   C     C
                                                                 C      C        C        P      J
                                             + βHH SH  IH + σEH  −H −γ̂EH  − α H EH + ψC EH  + ρEH
                                         C
                                      dIH        C      C        C       C        P       J
                                            = γEH  − δIH   − ωH IH −αH IH  + ψC IH   + ρIH
                                       dt
                                           C
                                      dMH          C                    C                     C
                                             = ωH IH  − δDischarge νH MH  − δDeath (1 − νH )MH
                                        dt
                                         C
                                      dRH        C       C                   C                    C      C       P
                                             = δIH + γ̂EH  + δDischarge νH MH  + δDeath (1 − νH )MH −αH RH + ψC RH
                                       dt
                                                   J
                                               + ρRH
                                        C
                                      dSO      C   C  C C     C    C
                                                                      ILC + IO
                                                                             C
                                                                               + σ ELC + EO
                                                                                          C       C   C  C C
                                                                                                           
                                          = −βOK  SO IK +K − βOL SO                            − βOE SO IE +E
                                       dt
                                               C   C  C C        C         J
                                                          
                                            − βOH SO IH +H − µJ SO  + µC SO
                                         C
                                      dEO     C   C   C      C      C   C
                                                                           ILC + IO
                                                                                  C
                                                                                    + σ ELC + EOC
                                                                                                 
                                           = βOK SO  IK + σEK    + βOL SO
                                       dt
                                                C   C   C      C      C   C    C      C       C      C       C       J
                                                                                       
                                             + βOH SO  IE + σEE    + βOH SO   IH + σEH    − γEO − γ̂EO − µJ EO + µC EO
                                         C
                                      dIO       C     C      C        C       J
                                           = γEO  − δIO  − ωIO − µJ IO  + µC IO
                                       dt
                                      dMOC        C
                                                    +I JO − δDischarge νMOC − δDeath (1 − ν)MOC
                                                         
                                            = ω IO
                                        dt
                                         C
                                      dRO
                                           =C       C                 C                    C      C       J
                                             O +γ̂EO + δDischarge νMO + δDeath (1 − ν)MO µJ − µJ RO + µC RO
                                       dt

                                  Within the Processing System:

                                      dSLP      P
                                                  SLP ILP + ILT + σ ELP + ELT − βLE P
                                                                                       SLP IE
                                                                                            P    T       P     T
                                                                                                               
                                           = −βLL                                             + IE + σ EE   + EE
                                       dt
                                                P
                                                   SLP IHP     T       P     T
                                                                                  + αL SLC − ψC SLP − ψJ SLP
                                                                               
                                             − βLH         + IH  + σ EH  + EH
                                      dELP    P
                                                 SLP ILP + ILT + σ ELP + ELT + βLE P
                                                                                     SLP IE
                                                                                          P     T       P    T
                                                                                                             
                                           = βLL                                            + IE  + σ EE  + EE
                                       dt
                                                P
                                                    SLP IH
                                                         P     T       P     T
                                                                                  − γELP + αL ELC − ψC ELP − ψJ ELP
                                                                               
                                             + βLH         + IH  + σ EH  + EH
                                      dILP
                                           = γELP − δILP + αL ILC − ψC ILP − ψJ ILP
                                       dt
                                         P
                                      dRL        C         P         P
                                           = αL RL − ψC RL   − ψJ RL   + δILP
                                       dt



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                                         P
                                      dSE       P   P
                                                       ILP + ILT + σ ELP + ELT − βEE P   P  P    T       P    T
                                                                                                              
                                           = −βEL SE                                    SE IE + IE  + σ EE + EE
                                       dt
                                                P    P    P     T       P     T          C        P       P
                                                                                
                                             − βEH SE   IH  + IH  + σ EH  + EH     + αE SE − ψC SE  − ψJ SE
                                         P
                                      dEE     P   P
                                                    ILP + ILT + σ ELP + ELT + βEE P   P  P     T       P    T
                                                                                                            
                                           = βEL SE                                 SE  IE  + IE + σ EE  + EE
                                       dt
                                              P   P   P     T       P     T         P       C        P         P
                                                                            
                                           +βEH  SE IH  + IH  + σ EH  + EH     − γEE  + αE EE  − ψC EE − ψJ EE
                                        P
                                      dIE       P       P         C        P         P
                                           = γEE   − δIE   + αE IE   − ψC IE − ψJ IE
                                       dt
                                         P
                                      dRE         C            P        P     P
                                           = αE RE  − ψC RE      − ψJ RE  + δIE
                                       dt
                                         P
                                      dSH       P     P
                                                          ILP + ILT + σ ELP + ELT − βHE  P   P   P    T       P    T
                                                                                                                   
                                           = −βHL   SH                                      SH  IE + IE + σ EE  + EE
                                       dt
                                                 P     P     P     T       P     T           C        P       P
                                                                                   
                                             − βHH  SH     IH  + IH  + σ EH  + EH      + αH SH − ψC SH  − ψJ SH
                                         P
                                      dEH     P   P
                                                     ILP + ILT + σ ELP + ELT + βHE P  P  P    T      P    T
                                                                                                          
                                           = βHL SH                                  SH IE + IE + σ EE + EE
                                       dt
                                                P   P    P     T       P     T        P
                                                                               
                                             + βHH SH   IH + IH  + σ EH  + EH     − γEH
                                        P
                                      dIH      P     P      C       P        P
                                           = γEH − δIH +αH IH − ψC IH − ψJ I H
                                       dt
                                         P
                                      dRH        C       P        P     P
                                           = αH RH − ψC RH  − ψJ RH + δIH
                                       dt

                                  Within the Trial System:

                                      dSLT      T
                                                  SLT ILP + ILT + σ ELP + ELT − βLE T
                                                                                      SLT IE P     T      P    T
                                                                                                               
                                           = −βLL                                              + IE  + σ EE + EE
                                       dt
                                                T
                                                   SLT IHP     T       P     T
                                                                                  + κτ S JL − κSLT
                                                                               
                                             − βLH         + IH  + σ EH  + EH
                                      dELT    T
                                                 SLT ILP + ILT + σ ELP + ELT + βLE T
                                                                                     SLT IE
                                                                                          P    T         P    T
                                                                                                              
                                           = βLL                                            + IE  + σ EE   + EE
                                       dt
                                                T
                                                    SLT IH
                                                         P     T       P     T
                                                                                  − γELT + κτ ELJ − κELT
                                                                               
                                             + βLH         + IH  + σ EH  + EH
                                      dILT
                                            = γELT − δILT + κτ ILJ − κILT
                                       dt
                                          T
                                      dRL           J       T
                                            = κτ RL   − κRL    + δILT
                                       dt
                                         T
                                      dSE        T     T
                                                          ILP + ILT + σ ELP + ELT − βEE T   T    P    T      P    T
                                                                                                                  
                                            = −βEL    SE                                   SE   IE + IE + σ EE + EE
                                       dt
                                                  T     T    P     T       P     T
                                                                                      + κτ S JE − κSE
                                                                                                    T
                                                                                   
                                              − βEH   SE   IH  + IH   + σ EH + EH
                                         T
                                      dEE     T   T
                                                    ILP + ILT + σ ELP + ELT + βEE T  T  P    T       P    T
                                                                                                          
                                           = βEL SE                                 SE IE + IE + σ EE  + EE
                                       dt
                                                T   T   P     T       P     T        T       J     T
                                                                              
                                             + βEH SE  IH + IH  + σ EH  + EH     − γEE + κτ EE − κEE
                                        T
                                      dIE        T     T       J     T
                                            = γEE  − δIE + κτ IE − κIE
                                       dt
                                          T
                                      dRL          J     T     T
                                            = κτ RE  − κRE + δIE
                                       dt




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                                        T
                                      dSH      T   T
                                                      ILP + ILT + σ ELP + ELT − βHE T      T  P    T      P    T
                                                                                                               
                                          = −βHL SH                                     SH   IE + IE + σ EE + EE
                                       dt
                                               T    T    P     T       P     T
                                                                                  + κτ S JH − κSH
                                                                                                T
                                                                               
                                            − βHH SH   IH  + IH  + σ EH  + EH
                                         T
                                      dEH     T   T
                                                     ILP + ILT + σ ELP + ELT + βHE T  T   P    T       P    T
                                                                                                            
                                           = βHL SH                                  SH  IE + IE + σ EE  + EE
                                       dt
                                                T   T    P     T       P     T        T       J      T
                                                                               
                                             + βHH SH   IH + IH  + σ EH  + EH     − γEH + κτ EH  − κEH
                                        T
                                      dIH       T     T       J     T
                                           = γEH  − δIH + κτ IH − κIH
                                       dt
                                         T
                                      dRL         J     T       T
                                           = κτ RH  − κRH  + δIH
                                       dt

                                  Within the Jail System:

                                      dSLJ      J
                                                  SLJ ILJ + σELJ − βLEJ
                                                                         SLJ IE
                                                                              J       J      J
                                                                                                SLJ IH
                                                                                                     J     J
                                                                                                           
                                           = −βLL                               + σEE     − βLH        + σEH
                                       dt
                                                J
                                                   SLJ IO
                                                        J       J
                                                                    + ψJ SLP − κτ SLJ − ρSLJ + κSLT
                                                                  
                                             − βLO        + σEO
                                      dELJ    J
                                                 SLJ ILJ + σELJ + βLEJ
                                                                       SLJ IE
                                                                            J       J      J
                                                                                              SLJ IH
                                                                                                   J     J
                                                                                                          
                                           = βLL                              + σEE     + βLH        + σEH
                                       dt
                                                J
                                                    SLJ IO
                                                         J      J
                                                                    − γELJ + ψJ ELP − κτ E JL − ρELJ + κELT
                                                                  
                                             + βLO         + σEO
                                      dILJ                                                      J
                                           = γELJ − δILJ − ωζI JL − (1 − νU ) (1 − ζ) δDeathU I L − νU (1 − ζ) δDischarge ILJ +
                                       dt
                                            ψJ ILP − κτ I JL − ρILJ + κILT
                                      dMLJ
                                           = ωζI JL − δDischarge νMLJ − δDeath (1 − ν)MLJ
                                       dt
                                         J
                                      dRL                                                                         J
                                           = δILJ + δDischarge νMLJ + δDeath (1 − ν)MLJ + δDeathU (1 − ν)(1 − ζ)I L
                                       dt
                                             + δDischarge νU (1 − ζ) ILJ + ψJ RLP       J
                                                                                  − κτ RL − ρRL J
                                                                                                  + κRL T

                                         J
                                      dSE       J   J
                                                      ILJ + σELJ − βEEJ   J  J      J       J   J    J     J
                                                                                                           
                                           = −βEL SE                     SE IE + σEE    − βEH  SE   IH + σEH
                                       dt
                                                J   J   J       J         P       J       J       T
                                                                  
                                             − βEO SE IO  + σEO     + ψJ SE − κτ SE − ρSE    + κSE
                                         J
                                      dEE     J   J
                                                     ILJ + σELJ + βEEJ  J   J      J      J   J  J     J
                                                                                                       
                                           = βEL SE                    SE  IE + σEE    + βEH SE IH + σEH
                                       dt
                                                J   J    J      J       J        P
                                                                                   − κτ E JE − ρEE
                                                                                                 J     T
                                                                  
                                             + βEO SE   IO + σEO    − γEE + ψJ EE                  + κEE
                                        J
                                      dIE                                                         J
                                          = γEEJ     J
                                                 − δIE − ωH ζI JE − (1 − νU H ) (1 − ζ) δDeathU I E − νU H (1 − ζ) δDischarge IE
                                                                                                                               J
                                                                                                                                 +
                                       dt
                                               P
                                           ψJ IE − κτ I JE − ρIEJ
                                                                  + κIET


                                      dMEJ
                                           = ωH ζI JE − δDischarge νH MEJ − δDeath (1 − νH )MEJ
                                       dt
                                         J
                                      dRE      J                                                                         J
                                           = δIE + δDischarge νH MEJ + δDeath (1 − νH )MEJ + δDeathU (1 − νU H )(1 − ζ)I E
                                       dt
                                                                        J       P         J      J       T
                                             + δDischarge νU H (1 − ζ) IE + ψJ RE − κτ RE   − ρRE  + κRE
                                        J
                                      dSH      J   J
                                                     ILJ + σELJ − βHEJ   J   J     J       J   J    J     J
                                                                                                          
                                          = −βHL SH                     SH  IE + σEE   − βHH  SH   IH + σEH
                                       dt
                                               J   J   J       J         P       J       J       T
                                                                 
                                            − βHO SH IO  + σEO     + ψJ SH − κτ SH − ρSH    + κSH




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                                         J
                                      dEH     J   J
                                                     ILJ + σELJ + βHEJ  J   J      J      J   J   J      J
                                                                                                         
                                           = βHL SH                    SH  IE + σEE    + βHH SH  IH + σEH
                                       dt
                                                J   J    J      J       J        P         J     J      T
                                                                  
                                             + βHO SH   IO + σEO    − γEH + ψJ EH  − κτ EH   − γEH  + κEH
                                        J
                                      dIH                                                          J                             J
                                          = γEH J     J
                                                  − δIH − ωH ζI JH − (1 − νU H ) (1 − ζ) δDeathU I H − νU H (1 − ζ) δDischarge I H +
                                       dt
                                                P       J     J       T
                                           ψJ I H − κτ IH − ρIH   + κIH
                                          J
                                      dMH
                                            = ωH ζI JH − δDischarge νH MHJ
                                                                           − δDeath (1 − νH )MHJ
                                       dt
                                         J
                                      dRH       J                    J                     J                              J
                                            = δIH + δDischarge νH MH   + δDeath (1 − νH )MH  + δDeathU (1 − νH ) (1 − ζ) IH
                                       dt
                                                                       J         P        J      J        T
                                              + νH (1 − ζ) δDischarge IH + ψJ RH   − κτ RH   − ρRH + κRH
                                         J           J
                                      dSO       J
                                                   S ILJ + IE
                                                            J    J
                                                                   + σ ELJ + EE
                                                                              J    J       J   J  J     J         C
                                                                                                        
                                           = −βOL             + IH              + EH    − βOO SO IO + σEO   + µJ SO
                                       dt            O
                                                   J
                                             − µC SO
                                         J
                                      dEO     J    J
                                                      ILJ + IE
                                                             J     J
                                                                     + σ ELJ + EE
                                                                                J    J       J   J  J     J
                                                                                                          
                                           = βOL SO             + IH              + EH    + βOO SO IO + σEO
                                       dt
                                                    C         J      J
                                             + µJ EO  − µC EO   − γEO
                                        J
                                      dIO         C        J      J      J     J
                                            = µJ IO  − µC IO + γEO   − δIO − ωIO
                                       dt
                                          J
                                      dRO           C        J      J
                                            = µJ RO   − µC RO  + δIO
                                       dt

                              SI Appendix 2. The exponential survival model fit to Hu et al., 2020 estimated a
                              mean asymptomatic shedding period of 11.79 days (95% CI: 7.86, 18.61), which is
                              indeed a higher estimate than that found in the original manuscript, which did not
                              account for censoring. As 5.1 of those days are already accounted for in the original
                              estimate for γ − 1, this yielded an estimate for γ̂ −1 of 6.7 days. Compared to a
                              Kaplan-Meier fit of the available data, the exponential model fit well, and adequately
                              models underlying survival function (Fig 8).




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                              Fig 8. Proportion of patients with viral shedding among a cohort of asymptomatic
                              COVID-19 patients in China. Original data from Hu et al., 2020. Dashed black line
                              depicts a non-parameteric Kaplan-Meier fit, while the solid blue line depicts the fit of
                              an exponential survival function.




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